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                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

                                                ) Case No.: 2:20-cv-02303-CBM-MAA
  CHRIS HASHEM, individually and                )
  on behalf of all others similarly situated,   )
                                                  (Consolidated with Case No. 2:20-cv-
                      Plaintiff,                )
                                                ) 02895-CBM-MAA)
        v.                                      )
                                                )
  NMC HEALTH PLC, PRASANTH                      )
  MANGHAT, KHALIFA BIN BUTTI,                   )
  PRASHANTH SHENOY, H.J. MARK                   )
  TOMPKINS, and B.R. SHETTY,
                                                )
                      Defendants.               )
                                                )
                                                )


                          EXHIBIT 8
         TO SECOND REQUEST FOR JUDICIAL NOTICE AND
    INCORPORATION BY REFERENCE IN SUPPORT OF MOTION TO
              DISMISS OF DEFENDANT B.R. SHETTY
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   HOPE OF A
   HEALTHY
   AND HAPPY
   LIFE
   NMC Health plc
   ANNUAL REPORT & ACCOUNTS 2014




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       VISION                                                                                                                                                                                  Overview
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       At NMC Health, we guarantee personalized care,                                                                                                                                          2    Our Key Assets
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       genuine concern and a sincere commitment to                                                                                                                                             7    Financial Summary and Highlights
       the overall well-being of the society. We believe
       that healthcare is simply not about detecting,                                                                                                                                          Group Strategic Report
       diagnosing, informing or treating an individual                                                                                                                                         10   Executive Vice Chairman & CEO Review
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       but it is about helping people to lead a wholesome                                                                                                                                      14   Our Strategy
       and healthy life. We are committed to serve                                                                                                                                             18   Business Overview
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       the communities where we do business and                                                                                                                                                26   Principal Risks and Uncertainties
       pledge to provide our customers with hope                                                                                                                                               27   Corporate Social Responsibility

       – Hope of a Healthy and Happy Life.
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       S                                                                                                                                      S                                                S
       Learn where we operate on p2.                                                                                                          Read about our hospitals throughout              Read more about our business model on p12.
                                                                                                                                              this report.




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                                                      Hospital                                                                                                                                                                    THE NMC                             FLEET OF
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                                                                                                                                                                                                                                DISTRIBUTION
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                                                                                                                                                                                                                                                    WAREHOUSE SPACE
                                                                                                                      Community




       S                                                                                                                                      S                                                S
       Discover our healthcare strategy on p14.                                                                                               Learn about our Centres of Excellence on p15.    Read more about our distribution value chain
                                                                                                                                                                                               on p17.




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       HEALTHCARE




       Providing the UAE with                    Our facilities range from the larger
                                                 specialty hospitals to medical centres.
       a range of high quality                   In addition, we have retail pharmacies
       outpatient and inpatient                  mainly selling pharmaceuticals
       services through hospitals,               prescribed by our doctors to our
                                                 patients either within, or in the
       day surgery centres,                      immediate vicinity of, our healthcare
       medical centres and                       services facilities. Our comprehensive
       pharmacies.                               care approach maximises patient
                                                 convenience and increases revenue
                                                 contribution to our business.




       Healthcare Revenue                        Healthcare EBITDA                         Doctors across the group
       (US$m)                                    (US$m)

       332.2                                     88.2                                      603
       Healthcare Revenue                        Healthcare EBITDA                         Total number of Nurses
       Growth                                    Margin                                    across the group

       14.8%                                     26.6%                                     1,266
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   DISTRIBUTION




   Offering products across                   We supply our customers with
                                              a portfolio of globally and locally
   several wholesale                          established brands and products with
   segments including                         end-user demand in the UAE. Our
   FMCG1, Pharmaceuticals,                    distribution capabilities are supported
                                              by a network of strategically located
   Scientific Equipment                       warehouses and a fleet of vehicles.
   and Food.




   1
       Fast moving consumer goods




   Distribution Revenue                       Distribution EBITDA                       Absolute number of staff
   (US$m)                                     (US$m)

   338.9                                      34.1                                      1,882
   Distribution Revenue                       Distribution EBITDA                       Warehouse space (Sqft)
   Growth                                     Margin

   12.9%                                      10.1%                                     500,000
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   GROUP OVERVIEW

   NMC Health is the largest private healthcare
   operator in the UAE and one of the largest
   product distribution and wholesale
   companies in the country.




   2 main lines                                  TURNOVER                            2014     EBITDA                               2014


   of business:
   HEALTHCARE:
   Owns and operates                                                                                         EBITDA
   hospitals, day surgery                                 Revenue                                            (US$m)
   centres, medical centres                               $643.9m                                              102.5
   and pharmacies
   DISTRIBUTION:
   Wholesale of
   pharmaceutical,                                  Distribution 50%       Healthcare 50%        Distribution 25%        Healthcare 75%

   scientific equipment,
   FMCG, food, veterinary
   and education products




   NMC Health plc Annual Report 2014                                                                                                     1

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Overview


OUR KEY ASSETS


Map of group assets




     Healthcare                        Distribution
     01. NMC Specialty Hospital        A. NMC Warehouse
         Abu Dhabi                        Mina, Abu Dhabi
     02. NMC Day Surgery               B. NMC Sales and
         Mohammed Bin Zayed               Marketing Office
         City                             Abu Dhabi
     03. Brightpoint Royal             C. NMC Warehouse
         Women’s Hospital                 Al Ain
         Abu Dhabi                     D. NMC Sales and
         (Opened July 2014)               Marketing Office
     04. NMC Specialty Hospital           Al Ain
         Khalifa City (H1, 2015)       E. NMC Warehouse                                                     10
     05. NMC General Hospital             DIP, Dubai
         Dubai Investments Park        F. NMC Warehouse                                                       Umm Al Quwain
         (Opened July 2014)               Al Quoz, Dubai
     06. B R Medical Suites            G. NMC Sales and                                             09 Sharjah
         DHCC                             Marketing Office                                           G
                                                                                              H
     07. NMC General Hospital             Dubai and
         Deira, Dubai                     Northern Emirates                                       07 08
     08. NMC Specialty Hospital        H. NMC Warehouse                                             06
         Dubai                            DIC, Dubai                                          F
     09. NMC Medical Centre                                                          E 05
         Sharjah                                                                              Dubai
     10. Sheikh Khalifa
         General Hospital (Operator)
         Umm al Quwain
     11. NMC Specialty Hospital
         Al Ain                                                                   UNITED ARAB EMIRATES
     12. NMC Medical Centre
         Al Ain                                                                                                                         OMAN
                                                                   B
         (Opened December 2014)
                                                              A
                                                                   03                                            Al Ain
                                                              01             04
                                                                        02                                         11
                                                                                  Abu Dhabi
                                                                                                                   12      C   D




Healthcare division patients                      Distribution Division
                                                  SKU’s

2.4m                                              83,635
2                                                                                                                       NMC Health plc Annual Report 2014

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   Selection of our assets




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CHAIRMAN’S 2014 REPORT TO SHAREHOLDERS
A YEAR OF CONTINUED
GOOD PROGRESS

Economic conditions, and the anticipated                                Dear Shareholder,
growth in private healthcare, in the UAE                                I am delighted to be able to report to
continue to be favourable.                                              shareholders that good progress has
                                                                        again been made in 2014. The Company
                                                                        continues to perform well as we enter
                                                                        the final stages of implementation of our
                                                                        initial growth strategy set out at the time
                                                                        of our IPO in April 2012. Group Revenue
                                                                        increased from US$550.9m in 2013 to
                                                                        US$643.9m in 2014. Consolidated EBITDA
                                                                        also improved by 10.2% from US$92.9m to
                                                                        US$102.5m in the latest financial year.

                                                                        CONTINUED GROWTH
                                                                        I wrote last year that the Group had faced
                                                                        a number of challenges in relation to the
                                                                        Group’s capital development programme,
                                                                        with construction delays encountered
                                                                        in relation to both the Brightpoint Royal
                                                                        Women’s Hospital and NMC General
                                                                        Hospital in DIP. The Board are delighted
                                                                        that these problems have been resolved
                                                                        and that both facilities were opened in
                                                                        the first few days of H2, 2014. Work at our
                                                                        biggest development, the 250 bed
                                                                        hospital being built on a green field site
                                                                        in the expanding Abu Dhabi suburb of
                                                                        Khalifa City, has continued to progress
                                                                        well during the year and we expect to
                                                                        commence operations towards the end
                                                                        of H1, 2015, following receipt of required
                                                                        approvals. Our new medical centre
                                                                        in Al Ain opened on time in Q4, 2014.
                                                                        These facilities will be key to the Group’s
                                                                        continued growth in the UAE.

                                                                        The roll-out of mandatory health
                                                                        insurance for all residents in Dubai
                                                                        which commenced in 2014 is expected
                                                                        to be a further catalyst for growth. The
                                                                        estimate by Dubai Health Authority that
                                                                        this will result in the addition of 2 million
                                                                        individuals to the population of insured
                                                                        residents in the emirate of Dubai confirms
                                                                        the case for continued investment in
                                                                        the UAE private healthcare market.
                                                                        Our existing presence providing
                                                                        healthcare services in Dubai for many
                                                                        years leaves the Group well placed to
                                                                        benefit from this anticipated growth.

                                                                        FINANCIAL STABILITY
                                                                        During any period of substantial growth
                                                                        and capital development, it is vital that this
                                                                        can be undertaken against a background
                                                                        of a strong financial base. In June 2013,
                                                                        the Company completed the replacement
                                                                        of its existing Syndicated Bank Loan which
                                                                        enabled the Company to restructure
                                                                        existing loans, reduce its cost of funds



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   and create additional headroom to             BOARD CHANGES                                  The structure of your Board has changed
   ensure that the Group was more                During the year there were a number            significantly in 2014. Your new Board
   conservatively financed. This financial       of Board changes. H.E. Saeed Bin Butti         now has:
   planning benefited the Company in the         and Mr Khalifa Bin Butti, two of the
   year, with a significant positive effect on   Company’s substantial shareholders,            •   A wider cultural and ethnic mix
   the Group’s net profit and EPS.               stepped down from the Board in                     benefitting Board discussions given
                                                 February 2014 and March 2014 respectively.         the Company’s listing in the UK and
   On 16 February 2015, the Company              Both H.E. Saeed and Khalifa were integral          operations in the UAE;
   announced a new US$825m financing             to the Company’s growth plan and its           •   Significant female representation (33%)
   facility which was made up of two             successful IPO in London in April 2012.            on the Board;
   elements, namely a US$350m facility           As previously reported, NMC Health plc,        •   More than half of its number resident
   which will be used to repay existing debt     as a result of this flotation, became the          in the UAE, the Company’s home
   and for general corporate purposes            first UAE business to list on the premium          market; and
   reducing the Group’s cost of capital in the   segment of the London Stock Exchange.          •   A wide range of skills and experience,
   current financial year, and a US$475m         Their leadership and focus during the              including more than half of the Board
   facility to facilitate NMC’s next phase of    Company’s first two years of growth on             having significant operational or
   growth by making phased acquisitions.         the public markets was invaluable.                 regulatory experience of healthcare
   This facility leaves the Company well                                                            services from different parts of
   financed to take advantage of                 The year also saw a number of additions            the world.
   improvements in global markets.               to the Board. Mr Abdulrahman Basaddiq
                                                 joined the Board as a Non-Executive            Your Board is diverse in terms of experience,
   DIVIDEND                                      Director in February 2014 and Dr Ayesha        gender and culture and well-structured to
   As a result of the continued good             Abdullah, Mrs Salma Hareb, Dr Nandini          oversee the achievement of the Company’s
   performance and financial stability of        Tandon, as Independent Non-Executive           strategic objectives.
   the Company, your Board plans to submit       Directors, and Mr Keyur Nagori, as a
   a resolution to shareholders at the 2015      Non-Executive Director, in June 2014.          GOVERNANCE
   Annual General Meeting authorising            In addition, Mr Prasanth Manghat and           The changes to the Board have also
   payment of a cash dividend of 5.4 pence       Mr Binay Shetty were promoted from             resulted in a restructure and diversification
   per share. For the third year running this    the Senior Management Team to                  of the Company’s Board Committees.
   is approximately 20% of profit after tax,     become Executive Directors, also in            Each of the Board Committees have
   within the range which the Board              June 2014.                                     retained the same Chair Person, but now
   indicated at the time of the Company’s                                                       have a different membership structure
   IPO would be their dividend target.                                                          to the other committees benefiting the




      Brightpoint Royal
      Women’s Hospital
      www.brightpoint.ae



      1st
      Private mother and child
      hospital in Abu Dhabi


      July 2014
      First open to patients




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Overview


CHAIRMAN’S 2014 REPORT TO
SHAREHOLDERS CONTINUED


work, focus and oversight of each               EXECUTIVE REMUNERATION
Committee and therefore the Company’s           As the Group develops, the Remuneration
overall governance structure.                   Committee, under the chairmanship of
                                                Lord Clanwilliam, has continued to roll
Work has continued during the year              out its intended Executive remuneration
on the establishment of integrated IT           structure; this is now complete within
systems; a new Hospital Information             the parameters of the Directors’
System and the Group’s new Enterprise           Remuneration Policy which shareholders
Resources Planning (“ERP”) financial            approved at the 2014 Annual General
system. The implementation of new               Meeting with 97.5% of votes in favour of
IT infrastructure is always a significant       the proposals. Long Term Incentive Plan
challenge to all organisations, and the         awards were granted to the Executive
Company’s experience in this respect            Directors and Senior Management Team
is no different to that of others. The          for the first time in 2014 which, alongside
implementation of both new systems              the existing Short Term Incentive Plan,
will continue on a phased basis to ensure       focus and incentivise management
that the new IT infrastructure is solid         on the long term value enhancement
and relevant for the Company’s future.          of your Company and align them with
The HIS became operational in our new           any value change experienced by
facilities in 2014 but implementation in        shareholders in the Company over
the existing facilities is planned over the     the longer term.
next two financial years; the ERP system
implementation will be completed in 2015.       MANAGEMENT AND STAFF
Alongside new IT systems and controls,          The Company’s human capital continues
during the phasing in period the core           to be vital to the success of your
internal controls under which the Group         Company, particularly during a period of
has been operating successfully for many        significant change and growth. Dr Shetty,
years, will remain in place as an important     his management team and staff across
part of the Group’s governance structure.       the Group have worked extremely hard
                                                through the year to achieve strong
MANAGEMENT CHANGES                              results on your behalf. The Board greatly
The Company announced a number of               appreciates the continued commitment,
senior management changes in October            energy and goodwill which they have
2014. The Board would like to express their     shown in 2014 and would like to thank
appreciation to Binay Shetty for the very       them all for their respective contributions.
significant contribution that he has made
to NMC Health in his Executive role over        OUTLOOK
many years. We wish him well in his new         Economic conditions, and the anticipated
role and are delighted that he remains on       growth in private healthcare, in the UAE
the Board as a Non-Executive Director.          continue to be favourable and your Board
                                                continues to view the outlook for the
The Board are also delighted that               Group with confidence and enthusiasm.
Prasanth Manghat and Suresh
Krishnamoorthy have taken up positions
as Deputy Chief Executive Officer and           H.J. Mark Tompkins
Chief Financial Officer respectively. We        Non-Executive Chairman
wish them well in their new roles during
the Company’s next phase of growth.

Finally, subsequent to the year end,
the Board appointed Dr B.R. Shetty to an
enhanced role of Executive Vice Chairman
and Chief Executive Officer. This new
role reflects Dr Shetty’s position as a
founder of the Group and his key role in
the formulation of the Group’s strategic
thinking and its operational performance.




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   FINANCIAL SUMMARY
   AND HIGHLIGHTS


   Financial Summary
   US$m (unless stated)                                                                                                                     FY2014        FY2013          Growth

   Group
   Revenue                                                                                                                                 643.9          550.9            16.9%
   Gross profit                                                                                                                            209.2          185.5            12.8%
   Gross profit margin                                                                                                                     32.5%          33.7%         -119bps
   EBITDA                                                                                                                                   102.5          92.9            10.2%
   EBITDA margin                                                                                                                           15.9%          16.9%         -96bps
   Net Profit                                                                                                                                 77.5          69.1            12.1%
   Net Profit margin                                                                                                                       12.0%          12.6%          -51bps
   Earnings per share (US$)                                                                                                                 0.412         0.367            12.3%
   Dividend per share (GBP pence)                                                                                                              5.4           4.4           22.7%
   Net cash from operating activities                                                                                                        85.7           85.1             0.7%
   Total Capital Expenditure additions in the year                                                                                           112.3         82.7           35.8%
   Capital Expenditure relating to four capital projects announced at IPO                                                                    86.4          72.2            19.7%
   Total cash and short term bank deposits                                                                                                 263.2          268.7             -2.1%
   Total debt                                                                                                                               376.1         332.4            13.2%
   Net Debt                                                                                                                                  113.0         63.7            77.3%
   Divisional performances
   Healthcare revenue                                                                                                                      332.2          289.3             14.8%
   Healthcare EBITDA                                                                                                                        88.2            81.7             8.0%
   Healthcare EBITDA margin                                                                                                                26.6%          28.2%         -168bps
   Healthcare net profit                                                                                                                     73.1          74.3              -1.7%
   Healthcare net profit margin                                                                                                            22.0%          25.7%            -14.4%
   Healthcare occupancy                                                                                                                     71.3%         64.7%          660bps
   Distribution revenue                                                                                                                    338.9          300.2            12.9%
   Distribution EBITDA                                                                                                                       34.1          29.9             14.1%
   Distribution EBITDA margin                                                                                                               10.1%         10.0%           11bps
   Distribution net profit                                                                                                                  28.4           27.8             2.0%
   Distribution net profit margin                                                                                                           8.4%           9.3%         -89bps


   Notes:
   •   Net Profit is a non-IFRS term which is the same as profit before tax as shown in the Consolidated Statement of Comprehensive Income.
   •   EBITDA is the same as Profit from operations before depreciation and impairment as shown in the Consolidated Statement of Comprehensive Income.
   •   Net cash from operating activities is equivalent to Net cash from operating activities as shown in the Consolidated Statement of Cash Flows.
   •   Total cash is represented by short term bank deposits and bank balances and cash.
   •   Total debt is a non-IFRS line item and includes term loans and bank overdrafts and other short term borrowings shown on the face of the Consolidated Statement
       of Financial Position.
   •   Net Debt is a non-IFRS line item and is total cash less total debt, both as defined above.



   FY2014 FINANCIAL HIGHLIGHTS                                •   Total capital expenditure for the year                 •   Distribution division increased
   • Group revenues increased by 16.9%                            reached US$112.3m, 35.8% higher                            its product portfolio by 17.4% to
     to US$643.9m                                                 compared to FY20134                                        83,635 stock keeping units (SKU)
   • Healthcare division revenue increased                    •   Net debt reached US$113.0m as the                      •   Sales and marketing personnel at
     by 14.8% to US$332.2m1                                       Group continued to advance its                             the Distribution division grew 6.1%
   • Distribution division revenue grew                           on-going healthcare projects                               to 642
     by 12.9% to US$338.9m2                                                                                              •   NMC General Hospital in Dubai
   • EBITDA increased by 10.2%                                FY2014 BUSINESS HIGHLIGHTS –                                   Investment Park and Brightpoint Royal
     to US$102.5m                                             A YEAR ON YEAR (YOY) COMPARISON                                Women’s Hospital in Abu Dhabi
   • EBITDA margin declined by 96bps                          • Healthcare division’s patients                               commenced operations in July 2014
     to 15.9%                                                    increased by 15.6% to 2.4m                              •   NMC Medical Centre in Al Ain
   • Net profits increased by 12.1%                           • Revenue per patient from healthcare                          commenced operations in Dec 2014
     to US$77.5m                                                 services increased by 2.6% to reach                     •   Dubai Emirate rolled out the first
   • Net profit margins declined by 51bps                        US$114.5                                                    phase of mandatory healthcare
     to 12.0%                                                 • Hospital bed occupancy rates reached                         insurance in October 2014
   • Earnings per share (EPS) amounted                           71.3%, an improvement of 660bps,
     to US$0.412                                                 despite a 10.0% increase in operational
   • Proposed dividend pay-out ratio is                          beds to 287                                             1

                                                                                                                         2
                                                                                                                           Before inter-company elimination
                                                                                                                           Before inter-company elimination
     maintained at 20% of profit after tax,                   • Doctors’ employed reached 603,                           3
                                                                                                                           British Pound
     amounting to GBP3 5.4 pence                                 an increase of 19.9%                                    4
                                                                                                                           Includes US$112.3m on capital projects
     per share


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                                                                                                                                             Corporate Social Responsibility




   2014 AT A GLANCE
   REVENUE (US$M) AND ANNUAL GROWTH
       700                                                 20%
                                             643.9
       600
                               550.9         16.9%          15%
       500
                  490.1
       400                      12.4%
                                                            10%
                  10.4%
       300

       200
                                                             5%
       100
                 2012          2013         2014

         Revenue                       Growth
   •     NMC Health reports revenues of US$643.9m in 2014
   •     Top-line growth was 16.9% in 2014 year on year
   •     Both the healthcare and distribution divisions
         delivered double digit growth


   EBITDA (US$M) AND MARGIN                                           SHAREHOLDERS EQUITY (US$M)                                       NET DEBT (US$M)
       120                                                 20%            500                                                              120
                               16.9%         15.9%                        450                                                                                                  113.0
                  16.2%                                                                                          449.0
       100                                                                                                                                 100
                                                            15%           350
                                92.9         102.5                                                  386.2
       80                                                                 300                                                              80
                  79.6                                                                  329.7
                                                                          250
       60                                                   10%                                                                            60                      63.7
                                                                          200
        40                                                                150                                                              40         46.2
                                                             5%
                                                                          100
       20                                                                                                                                  20
                 2012          2013         2014                           50          2012         2013         2014                                2012         2013         2014

                                                                      •         NMC shareholders equity increased by 16.3% year on     •     Net debt as of 2014 year-end amounted
         EBITDA                         EBITDA margin
                                                                                year to close 2014 at US$449m                                to US$113.0m
   •     EBITDA reached US$102.5m in 2014, exceeding 2013                                                                              •     Capital expenditure during the year reached
         by 10.2%                                                                                                                            US$112.3m
   •     EBITDA margins dropped to 15.9%, mainly as a result
         of the initial financial impact from the Group’s three
         new healthcare assets
   •     Depending on a number of variables, it takes new
         healthcare assets between 12-24 months to reach
         EBITDA breakeven
   •     NMC opened two hospitals in July 2014 and
         a medical centre in December 2014


   NET PROFIT (US$M) AND MARGIN                                   NET WORKING CAPITAL AS % OF SALES                                    ADJUSTED OPERATING CASH FLOW (US$M)
       100                                                  14%       40%                                                                  100
                               12.6%
                  12.2%                      12.0%                                      37.8
                                                            12%                                                                                                   88.4
       80                                                                                           33.8                                   80                                   81.8
                                                                      30%                                        32.4
                                             77.5           10%
                                69.1
       60                                                   8%                                                                             60
                  59.8
                                                                      20%
        40                                                   6%                                                                            40         42.0
                                                             4%
                                                                          10%
       20                                                                                                                                  20
                                                             2%
                 2012          2013         2014                                       2012         2013        2014                                 2012         2013         2014

                                                                  •         More effective management of working capital               •     Group adjusted operating cash flow reached
         Net profit                      Net profit margin
                                                                            reduced the net working capital to sales ratio by                US$81.8m in 2014, slightly below last year on
   •     Net profit reached US$77.5m, representing                          142bps in FY2014.                                                account of the increased working capital levels
         a year on year increase of 12.1%                                                                                                    in-line with the increased business. Adjusted
   •     Net profit margin (NPM) declined to 12.0% from 12.6%                                                                                operating cash excludes changes in amounts
         in 2013, mainly due to the introduction of three new                                                                                due from/to related parties
         healthcare assets during the second half of 2014


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Group Strategic Report


EXECUTIVE VICE CHAIRMAN & CEO REVIEW
STRONG PERFORMANCE
CONTINUED IN 2014

We continued to make progress on the                                      The past year proved to be a major
                                                                          milestone in our nearly forty year old
roll-out of new corporate and operations                                  UAE operations with progress delivered
management tools to further enhance                                       at several of our capital developments.
our planning and operational effectiveness                                I am particularly proud of the completion
                                                                          and opening of three healthcare assets;
for our growing company.                                                  the Brightpoint Royal Women’s Hospital
                                                                          in Abu Dhabi, NMC General Hospital in
                                                                          Dubai Investment Park (DIP) and NMC
                                                                          Medical Centre in Al Ain. With these
                                                                          accomplishments we have increased our
                                                                          licensed bed capacity by 52% in the UAE,
                                                                          a strong foundation for our long-term
                                                                          growth prospects in our rapidly expanding
                                                                          country and a determined contribution
                                                                          from the NMC team towards the UAE’s
                                                                          vision of better availability and quality of
                                                                          healthcare for all its residents.

                                                                          With Brightpoint Royal Women’s Hospital,
                                                                          we introduced the first private sector
                                                                          women’s hospital in Abu Dhabi – focused
                                                                          on gynaecology and obstetrics
                                                                          specialities with a very strong patient
                                                                          demand outpacing expansion of
                                                                          specialist capacity. Opening the NMC
                                                                          General Hospital in DIP, was a pioneering
                                                                          healthcare investment in the area – with
                                                                          NMC being one of the first and largest
                                                                          investors in this strategic area of the
                                                                          Dubai market. The DIP hospital is located
                                                                          within the investment park surrounded
                                                                          by large corporates and growing
                                                                          residential areas and a short drive
                                                                          from the new Al Maktoum Airport,
                                                                          Jebel Ali Port and the Dubai Expo area.

                                                                          The Al Ain Medical Centre is a welcome
                                                                          addition to our capabilities in the strongly
                                                                          performing Al Ain market. It will expand
                                                                          our primary care services to a new
                                                                          community and act as a referral point
                                                                          back to the NMC Specialty Hospital in
                                                                          Al Ain City for secondary and tertiary care.

                                                                          The Group’s healthcare division now
                                                                          manages and operates a total of
                                                                          11 healthcare services assets with
                                                                          11 in-hospital pharmacies including, the
                                                                          205 bed Sheikh Khalifa General Hospital
                                                                          in Umm Al Quwain which is operated
                                                                          by NMC on behalf of the UAE government
                                                                          in return for an annual management fee.
                                                                          We also made substantial progress on
                                                                          our largest project, the 250 bed NMC
                                                                          Super Specialty Hospital in the Khalifa
                                                                          City suburb of Abu Dhabi, with the
                                                                          completion of the building and external
                                                                          façade followed by commencement of
                                                                          work on the internal fit-out. We expect
                                                                          construction at this NMC flagship asset
                                                                          to be completed and commence

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   operations towards the end of H1 2015,           challenging and will be phased over the            his executive role at NMC Health to
   subject to receiving the required                next two years to ensure a tested and              pursue a role within the Shetty Family
   regulatory approvals.                            seamless transition. The Enterprise                Investment Office. Binay has played
                                                    Resource Planning (ERP) implementation             a major role in advancing the Group’s
   NMC Health received almost 2.4m patients         is on-going and we expect implementation           operations and he was instrumental in
   in 2014, a year on year growth of 15.6%. Group   to be completed in 2015.                           the success of our expansion program
   hospital occupancy increased by 660bps                                                              including the above mentioned hospitals.
   to 71.3%. We continued to strengthen our         Group financial performance in 2014 was            He will stay on NMC Health’s Board, as
   human resources with the addition of 100         good, with revenue growth amounting                a Non-Executive Director. Mr Prasanth
   new doctors in the past year.                    to 16.9% and EBITDA appreciating by                Manghat was promoted from Chief
                                                    10.2% despite the initial negative earning         Financial Officer (CFO) to the new role
   In the Distribution division we made             impact by the new healthcare asset                 of Deputy CEO. His new role will include
   strong progress in terms of increasing           additions. Revenues reached US$643.9m              the responsibilities previously held by
   the availability of our products across the      with an EBITDA of US$102.5m in 2014.               the COO and working closely with me
   fast expanding UAE retail market through         We expect a considerable growth in both            on strategy and operations. Prasanth
   our strengthened product portfolio and           top-line and EBITDA contribution from              has been working within NMC related
   accomplished wholesale operations with           Brightpoint Royal Women’s Hospital and             businesses for nearly 12 years and he
   the associated sourcing and logistics            NMC General Hospital in DIP in future              was a key driving force behind our
   capabilities. The number of Stock Keeping        periods. Excluding the impact from the             achievements to date and the successful
   Units (SKU’s) reached 83,635 in 2014,            new assets, the group EBITDA would                 initial public offering of NMC. Mr Suresh
   an increase of 17.4% compared to 2013.           have been US$108.2m.                               Krishnamoorthy was promoted from
   Meanwhile, we continued to strengthen                                                               Deputy CFO to become the new CFO.
   the division with the recruitment of             On 16 February 2015 we announced
   additional staff to grow this successful         a new US$825m financing facility had               I would like to thank our shareholders
   team of professionals. Divisional staff          been secured by NMC which will serve               and my fellow members of the Board
   expansion during the period was 4.2%,            to improve our funding efficiency                  of Directors for their continued support
   with a particular focus on new personnel         and strategic capabilities. This loan is           throughout the past year.
   within our front-line sales, promotion and       comprised of two tranches, i) a US$350m
   marketing capabilities.                          facility used to replace existing debt with        Finally, NMC Health’s successful journey
                                                    this lower cost loan, leading to expected          of growth and prosperity would not have
   We continued to make progress on the             annual savings of US$2.75-3.75m, ii)               been possible without the vision and
   roll-out of new corporate and operations         a US$475m delayed draw acquisition                 drive of the founders and leaders of the
   management tools to further enhance              facility that will further enhance our ability     United Arab Emirates (UAE). On behalf of
   our planning and operational                     to complement NMC’s growth through                 the Board and management, I would like
   effectiveness for our growing company.           inorganic opportunities.                           to extend our gratitude to the UAE.
   Our new Hospital Information System
   (HIS) was implemented at the recently            During 2014 we also announced
   opened hospitals; however, the                   management changes effective from
   implementation across operational                1 January 2015. Mr Binay Shetty, Chief             Dr B.R. Shetty
   assets with legacy systems is more               Operating Officer (COO), decided to leave          Executive Vice Chairman and CEO



      NMC HOSPITAL
      Dubai Investment Park



      60
      Beds


      US$96
      Revenue per patient



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Group Strategic Report


OUR BUSINESS MODEL



NMC Health plc is the leading private sector
healthcare operator in the United Arab
Emirates, with a nationwide network of
hospitals and operations founded in 1975.
The group also operates a UAE wide product
distribution and wholesale business.




                                           HEALTHCARE SERVICES




                                                              PRODUCT DISTRIBUTION




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   HEALTHCARE SERVICES                            Our Healthcare division also provides           Only registered domestic distributors,
   Through our healthcare services division       operational and management services             a locally established company like NMC,
   we provide people in the UAE with              to third party owned healthcare services        are entitled by customs authorities
   a range of high quality outpatient and         assets. In return for our services, we          to import products into the country.
   inpatient services across our facilities.      receive a contracted management fee             Principals (suppliers) contract NMC as
   Our facilities range from the larger           by the asset owner. Typically the fee           their distributor to gain access to the
   specialty hospitals to medical centres.        received is partially tied to a set of          UAE market through a reputable partner
   In addition, we have retail pharmacies         pre-agreed performance metrics                  with a long track-record, established
   mainly selling pharmaceuticals prescribed      incorporating either qualitative and/or         distribution channels and infrastructure
   by our doctors to our patients either          quantitative operational targets. We            and strong financial standing. Every
   within, or in the immediate vicinity of,       currently have one management                   individual brand and product has to go
   our healthcare services facilities.            contract with the UAE Ministry of               through an approval and registration
   Our comprehensive care approach                Presidential Affairs pertaining to a            process with local authorities before
   maximises patient convenience and              general hospital in Umm al Quwain               being allowed to be sold in the country.
   increases revenue contribution to              in the Northern Emirates.                       NMC facilitates this process and ensures
   our business.                                                                                  local requirements are met. The majority
                                                  PRODUCT DISTRIBUTION                            of agreements with our Principals are
   While we serve both insured and                AND WHOLESALE                                   on exclusive basis. All agreements
   self-paying patients, the overwhelming         NMC’s Distribution Division is now one          are registered with the government.
   majority of our healthcare division’s          of the largest in the UAE and it offers
   revenue is generated through insured           products across several segments                NMC procurement is on a principal basis.
   patients. In return for the services           including FMCG5, Pharmaceuticals,               In the majority of cases, NMC takes the
   rendered to insured patients, we submit        Scientific Equipment and Food.                  inventory and collection risk of the product
   claims to insurance companies to collect                                                       that it buys and sells. Acting as a Principal
   the remainder of our fees (usually insured     NMC counts among its clients UAE                rather than an agent enhances NMC’s
   patients have some co-pay element,             Government entities, the largest UAE            margins at the expense of increasing
   which is paid directly when services           retailers, pharmacies and hospital              the Group’s risk profile. Our agreements
   are delivered to them at our facilities).      operators. We supply our customers              are almost exclusively operated on a
                                                  with a portfolio of globally and locally        credit basis, with the number credit days
   Pricing of our healthcare services is          established brands and products with            agreed with our Principals.
   typically negotiated on an annual basis        end-user demand in the UAE. We ensure
   with the insurance companies we work           our customers receive quality products
   with and may differ between the various        in a timely manner with the required
   insurance plans offered in the market.         support services.
   In contrast, prices of the majority of
   pharmaceutical products sold in our            Our distribution capabilities are supported
   pharmacies are regulated and set by            by a network of strategically located
   the UAE Ministry of Health.                    warehouses and a fleet of vehicles
                                                  ensuring timely delivery to our customers
   NMC Hospitals are currently covered            across the country. Products are
   by the majority of the approximately           overwhelmingly sold on credit, with
   40 insurance companies operating in            payments collected based on agreed
   the UAE, including the largest market          terms. Our pricing of these products
   participants. These companies have             includes a mark-up over the product
   either a direct relationship with us or        cost to generate a profit and to cover
   through the 13 Third Party Administrators      import costs and duties, registration
   (TPAs) who currently provide private medical   administration and fees, distribution
   insurance into the Abu Dhabi market.           expenses, credit costs and, in certain
                                                  cases, marketing costs. Pharmaceuticals
                                                  are the only segment where pricing
                                                  is widely regulated by the UAE Ministry
                                                  of Health.




   5 Fast moving consumer goods




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Group Strategic Report


OUR STRATEGY



Over the past 40 years we have grown             committed to continue exploring organic          2014 we have 83,635 (+17.4% YoY) Stock
from being a pharmacy and clinic                 and inorganic investment opportunities.          keeping units (SKUs) in our portfolio (71,215
combined in a very small space for the           While our priority is to expand within the       SKU’s as of 31 December 2013), making
service of our patients, to be the largest       UAE, we are also increasingly interested         NMC one of the leading distributors in
private healthcare group and one of              in expanding outside our current home            the UAE. We see potential in the UAE and
the leading product distribution and             market and into the wider gulf region            the gulf region for organic and inorganic
wholesale traders in our home market             by leveraging on our growing platform,           growth of our operations and product
of the UAE.                                      experience and funding capabilities.             portfolio. Our distribution division is well
                                                 NMC may also bolster its participation           positioned with its extensive human
The UAE and the gulf region as a whole,          in local and regional growth by targeting        capital capabilities, substantial logistical
is one of the most attractive healthcare         top-in-class institutions outside the gulf       platform of strategically located
markets in the world for investments             region deemed capable of supporting              warehouses and vehicle fleet, established
in high quality healthcare to the service        its regional strategic objectives with           track-record and financial standing.
of a growing and increasingly affluent           transferable specialist medical know-how,
population with unparalleled support             long track-record and regionally scalable        HEALTHCARE DIVISION
from the leadership and local                    business models.                                 Since our IPO our strategic focus has
governments. Since our Initial Public                                                             been on advancing in the UAE through
Offering (IPO) in 2012 we have committed         The positive economics and demographics          expanding our healthcare network and
over US$320m to grow our network of              in the UAE and wider gulf region also            most specifically the core hubs, the
healthcare assets and bring our services         serve as a favourable environment for            hospitals, onto which we could eventually
and capabilities closer to a growing             growth in consumption and by extension           ‘plug & play’ additional medical centres
number of the people of the UAE and              in our strongly performing distribution          and day surgeries and thus expand
eventually the region.                           and wholesale division. We continue to           our addressable market further through
                                                 add new product ranges and brands to             relatively lower per asset capital
In July 2014, we proudly entered into a          our line-up in key segments like FMCG,           expenditure. With the opening of the
new phase of growth with the addition            pharmaceutical and food. As of year-end          Brightpoint Royal Women’s Hospital
of two hospitals to our growing portfolio
of six. We start the 2015 financial year
with a total of 470 licensed beds – a year       Our hub-and-spoke model consists of primary to tertiary care facilities across the UAE:
on year growth of 52% in bed capacity.
The hard work in recent years to bring
this expansion to market and to the                                                               Dubai
service of our country, people, patients                                                         General
and shareholders – has been tremendous.                                                          Hospital
                                                                                                              Sharjah
This dedication continues to manifest                                             re
                                                                                nt                            Medical
itself through the commitment to open
                                                                            l Ce                              Centre
our largest hospital in H1 2015 in Abu Dhabi                               a
                                                                                                     Dub
                                                                       c




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– the 250 bed NMC Khalifa City Super
                                                                                      ial               a
                                                                   Me




                                                                                                                         Medical
Specialty Hospital, bringing the total                                              c
                                                                                   e al               Ho i S             Suites
                                                                in




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                                                                           Ho Sp




licensed bed capacity available to the
                                                            Al A




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                                                                              sp




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Group to 720 beds later this year. We also
                                                                                                              cia
                                                                             in




continue to successfully operate and
                                                                                           Super                                Dubai
                                                                         Al A




                                                                                                                  lty




manage the 205 bed Sheikh Khalifa                                                                                            Investment
General Hospital in Umm Al Quwain
on behalf of the UAE government. In
                                                                                         Specialty                           Park General
                                                                                                                               Hospital
tandem with our hospital developments,
we grew our network of day surgeries
                                                                                          Hospital
                                                                                                                         l




                                                                                          Khalifa
                                                                                                            H o R o ya




and medical centres to four from only
                                                                                                                  i ta l
                                                                      Spe




one at the time of our IPO in 2012. The
                                                                       A b i alt y




                                                                                            City
                                                                                                               sp




most recent addition was the medical
                                                                          c
                                                                          u




                                                                                                             nt




centre in Al Ain’s industrial area which
                                                       Mo




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                                                                             D
                                                        Da




opened in December 2014.
                                                                                  Ho a bi                   po ’
                                                         ha




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                                                                                                 B ri g h m e n
                                                             m




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                                                              ur




Despite large investments by both the
                                                                                        i ta l
                                                               m




                                                                                                   Wo
                                                                ge




public and private sectors over the past                                 ry
40 years in the local and regional                                  in      Ce
                                                                   B




healthcare infrastructure, the region,                                   Za ntre
                                                                            ye
which has one of the fastest extended                                          dC                                               Regional (UAE)
rates of population growth in the world,                                          it y
mainly due to the influx of expatriates,                                                                                        Local/City
has considerable opportunities for further                                                                                      Community
investments. At NMC Health we are

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   and the NMC General Hospital in DIP             Centres of Excellence – Raising the bar         and investment in these areas to allow
   in July 2014 followed by the expected           Outpatient services are by far the largest      the level, quality and capacity of care
   opening of the NMC Super Specialty              contributor to the UAE healthcare market        in the UAE to be advanced even
   Hospital in Khalifa City (Abu Dhabi) by         by volume and total value. This is              further through the joint contribution
   the end of H1 2015 – we would have              particularly evident in the private sector,     of the private and public sectors – to the
   concluded our core organic investment           which continues, with varying degrees of        ultimate benefit of the patient.
   program and delivered the largest and           success to evolve from its primary care
   most challenging elements of our                focused origins in the pre-mandatory            Along with our large investment program
   network. These core assets should serve         insurance era, towards secondary, tertiary      and the growing network of state-of-the-
   as the platform for NMC’s future growth.        and to a lesser degree quaternary care.         art healthcare facilities NMC offers today,
                                                   In general, the entry barriers to general       we are also increasingly raising the level,
   Hence the key strategic objective behind        outpatient services have always been            quality and focus of our healthcare
   NMC’s organic expansion is to build an          lower than specialist inpatient services,       services – effectively seeking to advance
   inter-connected, interacting and                which are by definition more complex            our competitive advantage through
   identifiable private healthcare network.        and require even higher investments             offering better and more specialised
   The objective is to supply a continuously       in both human capital and facilities.           services. To accumulate higher levels
   evolving and increasingly effective quality                                                     of clinical expertise and experience, our
   of care to our patients, in what remains        Both specialist out and inpatient services,     vision is to ensure that all service delivery
   a developing healthcare market with             in the UAE, historically originated in          is done around the specialties.
   an overwhelmingly fragmented private            government owned healthcare facilities.
   sector dominated by single asset and            To date the public sector remains the           More secondary and tertiary care surgeries
   mostly outpatient focused operators.            largest provider, especially on the             will contribute to higher inpatient revenues.
                                                   inpatient side. However, a key objective of     Successfully operated centres of
   With all the key components of our core         the insurance reform is to encourage the        excellence will attract and retain highly
   network expected to be in place by H1           private sector’s increased participation        qualified physicians and surgeons, by
   2015, we see considerable opportunities                                                         offering: patient concentration, higher
   to elevate the level and complexity                                                             number of surgeries and a highly
   of care available within the UAE and              The current centres of                        qualified and experienced peer group
   eventually the regional healthcare sector.        excellence include:                           as colleagues.
   Going into the next phase of growth in            Ophthalmology
   the Healthcare Division, the Group intends                                                      Our long term goal for each of the
   to expand both organically and via                                                              existing and prospective branded centres
   acquisitions to achieve the objectives of                                                       of excellence is to occupy the top slot in
   the updated Group Strategy, which include:        www.nmceyecare.ae                             the UAE and eventually the gulf residents’
                                                                                                   minds for the particular service line.
   •   Accelerate the establishment of               Urology and Andrology                         By developing our core competitive
       Centres of Excellence in key specialties                                                    advantages in quality healthcare around
       within its existing hospitals;                                                              branded and highly identifiable centres,
   •   Increase its participation in the rapidly                                                   we are also allowing for enhanced
       growing medical tourism industry                                                            scalability of the respective centres of
       within the UAE by establishing its            www.nmcurocare.ae                             excellence across the UAE and the
       facilities as a destination of choice                                                       gulf region. This specialisation driven
       for medical tourists;                         Orthopaedics                                  expansion of the service offering at NMC
   •   Grow its medical specialty offering                                                         may also be enhanced and strengthened
       and clinic network within the UAE                                                           by acquisition of specialist entities and/or
       and maximising operational synergies                                                        formation of partnerships with top-in-
       in the region;                                                                              class international centres of excellence.
   •   Selectively establish a strategic             www.nmcorthocare.ae
       presence outside the UAE via                                                                Rebranding for the future
                                                     Cardiology
       acquisitions of, or collaborations with,                                                    In 2014, NMC also undertook a rebranding
       leading global medical institutions in                                                      exercise and now has a new logo,
       order to further enhance and expand                                                         brand colours and brand guidelines.
       the technological know-how and                                                              This exercise was undertaken with the
                                                     www.heartcare.ae
       medical expertise available across                                                          objective of broadening the appeal of
       all of NMC’s facilities; and                  Surgery                                       NMC among a wider section of the target
   •   Increase its footprint in Saudi Arabia                                                      audience, especially the Arab speaking
       and the broader Gulf Cooperation                                                            residents and to an extent the gulf
       Council (GCC) region via organic                                                            population, while at the same time not
       initiatives and acquisitions.                                                               doing it at the cost of the NMC brand
                                                     www.nmcsurgery.ae                             equity that has built up over the last four
                                                                                                   decades. The new brand guidelines have



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OUR STRATEGY
CONTINUED


been well received and are currently                DUBAI INSURANCE PENETRATION                           Healthcare division staff
being implemented across all our assets,                                                                  One of the most critical success factors
outdoor signage, uniforms, digital assets                                                                 through the years has been our
and other collateral.                                                                                     consistent recruitment ability, without
                                                                                                          which we would have been unable to
                                                                                                          meet the growing demand for healthcare
                                                                                                          services in the UAE. As mentioned in
                                                                                                          previous sections, the UAE’s population
                                                                                                          growth has consistently been one of the
                                                                                                          highest in the world and, together with
                                                                                                          the stepped growth in per capita
Healthcare insurance reform                                                                               utilisation derived from healthcare
– A key driver for growth                                                                                 insurance reform in Abu Dhabi and now
Abu Dhabi adopted mandatory healthcare                                                                    commencing in Dubai, this has led to
insurance in 2007, leading to the coverage                                                                tremendous growth in demand.
of nearly all of the Emirate’s residents and
                                                       Insured 33%                        Uninsured 67%
rapidly expanding the healthcare market                                                                   Over the past year we have continued
size with strong encouragement by the               Source: World Bank, DHA                               to execute our recruitment strategy
government for increased private sector                                                                   by focusing on the hiring of skilled and
participation in the provision of care.             Discussions are also ongoing at the                   highly experienced healthcare personnel.
The results have been very positive for             authority level to eventually adopt                   We have increasingly prioritised the
residents and the private sector which              mandatory insurance in Sharjah the third              hiring of specialists to meet both general
increased investments in capacity.                  largest Emirate in the UAE, where NMC                 demand growth and introduce more
                                                    today operates a medical centre, and                  sub-specialties as we increase the
Dubai adopted a mandatory healthcare                eventually in the rest of the UAE.                    sophistication of our service offering to
insurance law in 2013 and started                                                                         the growing number of patients visiting
the implementation and roll-out to                  This sector reform will have an                       the expanding NMC Health network of
the uninsured part of the population                undeniably positive effect on the size of             assets across the UAE.
in Q4 2014. Based on Dubai Healthcare               the UAE healthcare market by increasing
Authority’s (DHA) communication,                    domestic healthcare revenue pool. This                The number of doctors employed by the
it is estimated that around 66% of                  step is expected to spur investments in               Group increased to 603 as at 31 December
the Emirate’s around three million                  healthcare assets and elevate the quality             2014, a 19.9% increase year on year. The
residents were uninsured before the                 of care in the country to make the UAE                total number of nursing staff increased
implementation. By 2016 all Dubai                   a more competitive medical services                   by 27.1% to reach 1,266 at 2014 year end.
residents should have healthcare                    destination in the region. With the
insurance. This would imply that two                extensive growth of our hub and spoke                 Select medical staff employed
million additional people stand to benefit          healthcare network across the UAE and
from the mandatory medical insurance                our experience from the roll-out in Abu               TOTAL DOCTORS AND ANNUAL GROWTH
and that the number of healthcare                   Dhabi in 2007 to date, we believe we are
insurance members in Dubai could triple             well positioned to compete for a share                800                                          25%
over the coming years.                              of this market growth.
                                                                                                                                 19.8%      19.9%
                                                                                                                                                        20%
                                                                                                          600
LOW MEDICAL INSURANCE PENETRATION                   In Dubai, NMC already operates an                                                       603
IN DUBAI AND NORTHERN EMIRATES                      extensive network of three hospitals with                                    503                    15%
                                                    a total of 170 beds and a separate day                400       420
MOST OF UAE POPULATION RESIDES IN                   surgery. The 100 bed NMC Specialty Hospital                                                         10%
DUBAI AND NORTHERN EMIRATES (M)                     in Al Nahda being the prime asset, around                      9.9%
                                                    which we own a connected land plot with               200
                                                                                                                                                        5%
     8                                              capacity to house an additional building                       2012          2013      2014
     7                                              with up to 100 bed capacity. In short, we
     6
                                                    have the capacity to reap the rewards
                                   6.1
                                                    of the upcoming stepped growth in the                   Doctors                    Growth
     5
                                                    Dubai healthcare market through our
     4                                              sizeable and scalable operations.
     3
                3.1
     2
                                                    We expect the growing medical
                                                    insurance penetration and the associated
     1
                       13                           growth in demand for locally delivered
                        0
                                                    healthcare services to promote
          Abu Dhabi     Dubai & Northern Emirates   advancement in the clinical services
                                                    within our centres of excellence to the
      Mostly                Mostly                  benefit of all market segments.
      insured               uninsured

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   TOTAL NURSES AND ANNUAL GROWTH                  program in 2015, the company’s hospital         This division has continued to perform
                                                   bed capacity would have increased by            well during the year on brand and
   1,400
                                   27.1%
                                             30%   around 132%.                                    product line expansions, positive macro
                                                                                                   environment and growth in the retail
   1,200                           1,266     25%
                        20.9%
                                                   It was reported in the 2013 Annual Report       space across the UAE.
   1,000
                                             20%
                                                   that the Company planned to implement
    800
                        996                        a new financial IT system in the first half     Our strategy in the distribution division
                824
                                             15%   of 2014. Implementation of the new              continues to focus on investing in our
    600                                            system was delayed following challenges         people, logistical management
                                             10%   in the integration and customisation of         capabilities and in existing and new
    400
                                                   the modules. The company has put in             relationships across the world with
    200         6.6%                         5%
             2012      2013       2014             place a new project management team             current and prospective principals. We
                                                   and now expects the implementation of           aim to leverage on these assets within a
                                                   the new ERP system to be completed              market benefitting from strong economic
       Nurses                 Growth               in 2015.                                        and population growth coupled with high
                                                                                                   GDP per capita, growing consumption
   Enterprise Resource Planning (ERP) –            DISTRIBUTION DIVISION STRATEGY                  and rapidly expanding flow of tourists and
   Advancing business management                   NMC Health’s product distribution and           last but not least the introduction of
   NMC’s pursuit of increased integration          wholesale business is one of the largest        mandatory insurance with associated
   and efficiency in the use of our growing        in the UAE in terms of product portfolio        positive effect on pharmaceutical
   organisation’s business resources made          and sales. This portfolio of international      demand (previously in Abu Dhabi, starting
   us determined to pursue the set-up of           and regional brands, sold mainly on             now in Dubai and in the future it is likely
   a best-in-class Enterprise Resource             exclusive basis by NMC to local retailers,      that the rest of UAE will follow).
   Planning (ERP) system – we believe that         has been built over the past 40 years
   this is an instrumental step in the growth      across diverse product areas, including         We also believe the business is well-
   of our company and the strengthening            key segments such as FMCG,                      placed to expand its product range
   of management and institutionalisation          Pharmaceuticals and Scientific                  beyond its traditional healthcare
   of information, knowledge and resource          Equipment. Today NMC has 83,635 SKU’s           spectrum and potentially beyond the
   planning. This objective is important           sold across the UAE through its over 1,800      UAE and into the gulf region, which is
   in the planning and implementation              divisional staff, six warehouses with a         also benefitting from high consumption
   of strategic, operational and financial         total of over 500,000 sq feet and 207           growth supported by positive macro-
   initiatives, especially now that NMC            delivery vehicles. Around 98% of our SKU’s      economics. We are exploring potentially
   has almost completed most of the                are imported and sold exclusively in the        attractive organic and inorganic growth
   investment program announced during             UAE by NMC to retailers.                        opportunities to accelerate growth in
   IPO. On completion of our IPO investment                                                        the Distribution division. A process of
                                                                                                   enhancing the division’s management
                                                                                                   capabilities and structure has been
                                                                                                   initiated to ensure that it is optimised
                                                                                                   for the opportunities ahead.
           01
           IMPORT OF
           PRODUCTS
           FROM AROUND
           THE WORLD




                                                                                          02
                                             THE NMC                                      FLEET OF
                                                                                          DISTRIBUTION
                                           DISTRIBUTION                                   VEHICLES
                                           VALUE CHAIN                                    COVERING
                                                                                          THE ENTIRE
    04                                                                                    COUNTRY
    DISTRIBUTION TO:
    GROCERIES
    HYPERMARKETS
    SUPERMARKETS
    PHARMACIES
    PETROL STATIONS

                                                                       03
                                                                       500,000 SQFT OF
                                                                       WAREHOUSE SPACE



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BUSINESS OVERVIEW



OPERATIONAL REVIEW                               Consolidated group EBITDA reached                 HEALTHCARE DIVISION
NMC Health’s business spans across               US$102.5m with a year on year growth of           Our healthcare division operates in the
the UAE through its healthcare and               10.2%. The group EBITDA margin retreated          major emirates and cities of the UAE
distribution divisions. The Group reported       to 15.9% and was down by 96bps year on            including Abu Dhabi, Al Ain, Dubai, Sharjah
consolidated revenues of US$643.9m               year due to the initial negative impact           and Umm Al Quwain. Together these
in FY2014 (+16.9% YoY)) with approximately       from new hospital openings. If we adjust          Emirates and cities account for nearly
49.5% (49.1% FY2013) coming from its             group revenue and EBITDA by excluding             85% of UAE residents. We operate six
healthcare business and 50.5% (50.9%             the impact from recent healthcare asset           hospitals, two day surgeries, two medical
FY2013) from the wholesale product               openings, EBITDA growth would be 15.6%            centres and eleven in-hospital pharmacies.
distribution.                                    and the margin 17.1% (FY2013 margin: 17.1%).      In addition, the Group operates a seventh
                                                                                                   hospital on behalf of the UAE Ministry
NMC Health Group revenues                                                                          of Presidential Affairs, the 205 bed
                                                                                                   Sheikh Khalifa General Hospital in Umm
REVENUE US$M AND ANNUAL GROWTH                   EBITDA US$M AND MARGIN                            Al Quwain, under an operations and
                                                                                                   management contract initiated in Q4 2012
 700
                                643.9
                                           20%    120                                        20%   with a five year duration.
                                                                      16.9%       15.9%
 600                                                          16.2%
                                                  100
                                16.9%                                                              This division reported revenues of
                      550.9                15%                        92.9        102.5      15%
 500                                                                                               US$332.2m in FY2014 (+14.8% YoY),
            490.1                                 80
                                                              79.6
 400                   12.4%
                                                                                                   including US$273.7m from healthcare
             10.4%
                                           10%    60                                         10%   services, US$52.8m from hospital
 300
                                                                                                   pharmacies and US$5.7m from the
                                                  40
 200                                                                                               operation and management of
                                            5%                                               5%
                                                  20
                                                                                                   third-party healthcare assets.
 100
            2012      2013      2014                      2012        2013        2014

      Revenue              Growth                   EBITDA                   EBITDA margin         Healthcare Revenue & Patients

                                                                                                   HEALTHCARE REVENUE US$M
2014 REVENUE CONTRIBUTION                        2014 EBITDA CONTRIBUTION                          AND YOY GROWTH

                                                                                                   400                                       15.50%


                                                                                                                                   332.2
                                                                                                   300                                       15.25%
                                                                                                             15.1%      289.3

                                                                                                            251.6       15.0%
                                                                                                   200                                       15.00%

                                                                                                                                   14.8%

                                                                                                    100                                      14.75%

                                                                                                            2012        2013      2014

                                                                                                      Revenue               Growth

      Distribution and Services 50%                 Distribution and Services 28%                  PATIENTS (‘000)
      Healthcare 50%                                Healthcare 72%
                                                                                                   3000                                        20%

In contrast, the healthcare division             Depending on a number of variables,                                               15.6%
accounted for 72% (73% FY2013) of Group          reaching EBITDA breakeven for the                                                             15%
EBITDA with the balance of 28% (27%              group’s new healthcare assets is                                       2,069
                                                                                                                                   2,390
                                                                                                   2000
FY2013) coming from the comparatively            estimated to take:                                         1,889
lower margin distribution business.              • 12-18 months for medical centres                                                            10%
                                                                                                             10.4%
                                                                                                                         9.5%
With the expansion in NMC’s healthcare              and day surgeries
                                                                                                   1000
network, healthcare revenue growth               • 18-24 months for hospitals                                                                   5%
will continue to outpace the distribution
division to eventually exceed its top-line                                                                  2012        2013      2014
contribution, however, the short-to-
medium term effect of the new hospital
                                                                                                      Total patients        Growth
openings will be negative on the
divisional margin.

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   A total of 2.4m patients visited our                         price increase and service mix. This figure              We typically guide on full occupancy
   healthcare network in FY2014, an increase                    was slightly subdued due to the initial                  equivalent in the UAE of around 75%, Abu
   of 15.6% compared to FY2013.                                 out-patient only operations of Brightpoint               Dhabi Specialty reached 81% during 2014.
                                                                Royal Women’s Hospital and the NMC                       We also highlight that NMC’s occupancy
   The average revenue per patient from                         General Hospital in DIP. A further factor                calculation is based on overnight stay
   healthcare services amounted to                              was the relative exhaustion of inpatient                 only, in other words, day patient surgery
   US$114.5, 2.6% higher than FY2013 with                       capacity at Abu Dhabi Specialty Hospital                 without overnight stay is not accounted
   growth derived from a combination of                         due to the near full occupancy at the facility.          for in the occupancy rates.

   Table with per asset indicators
                       NMC Abu                                      NMC Sp.
   Detail                Dhabi      NMC Al Ain       B. Point         Dubai   NMC Dubai            DIP       BR Med.         MBZC          AAMC NMC Sharjah             Total

   Established             1975         2008           2014           2004         1999          2014           2011         2013          2014          1996           N/A
                          Abu           Abu           Abu                                                                   Abu           Abu
   Emirate               Dhabi         Dhabi         Dhabi          Dubai        Dubai         Dubai         Dubai         Dhabi         Dhabi       Sharjah            N/A
                          Abu                         Abu                                                                   Abu
   City                  Dhabi         Al Ain        Dhabi          Dubai        Dubai         Dubai         Dubai         Dhabi         Al Ain      Sharjah            N/A
                         City          City                                                                                                             City
   Location            centre        Centre        Muroor Al Nahda                Deira           DIP        DHCC          MBZC         Saniya        Centre            N/A
   Owned/
   Leased             Leased        Leased        Leased           Owned       Leased        Leased        Leased         Leased       Leased        Leased             N/A
                    Specialty Specialty Specialty Specialty                   General       General           Day            Day           Day       Medical
   Category          Hospital Hospital Hospital Hospital                      Hospital      Hospital      Surgery        Surgery       Surgery       Centre             N/A
   Accreditation            JCI           JCI              –           JCI             –             –             –              –             –             –             –
   Revenue
   (USD ‘000)           111,062       57,980            929         65,599       13,902         2,496         3,608         5,342              3       12,785       273,706
   Growth, YoY             10.1%       20.5%           N/A            17.3%       13.7%           N/A         40.0%        489.7%           N/A         24.2%          18.5%
   Revenue/
   patient                  109            121          122             175          65            96           262             65            99          74.9            115
   Growth, YoY             1.3%          3.2%          N/A            6.5%          4.7%          N/A         -2.5%         36.3%           N/A           11.0%         2.6%
   Capacity
   Licensed
   beds                     100           100          N/A              100           10          N/A           N/A           N/A           N/A           N/A            310
   Operational
   beds                     100            83          N/A              94            10          N/A           N/A           N/A           N/A           N/A           287
   Growth, YoY               0%          38%           N/A              3%           0%           N/A           N/A           N/A           N/A           N/A          10.0%
   Spare
   capacity
   (beds %)                  0%           17%          N/A              6%           0%           N/A           N/A           N/A           N/A           N/A           7.4%
   Staff                  1,448          808             83            727          269           322             47           191            60           174        3,895
   Patients
   Inpatients            21,620        10,380          N/A           10,096       1,348           N/A           N/A           N/A           N/A           N/A        43,444
   Outpatients        996,653        470,685          7,636        365,492     213,384         26,044        13,760        82,372             27      170,727     2,346,780
   Total              1,018,273      481,065          7,636       375,588       214,732        26,044        13,760        82,372             27      170,727     2,390,224
   Growth, YoY             8.7%         16.8%          N/A            10.1%        8.6%           N/A         43.6%        332.6%           N/A          12.0%         15.6%
   Bed
   Occupancy                81%          69%           N/A             66%          45%           N/A           N/A           N/A           N/A           N/A          71.3%
   Change, YoY         170bps        876bps            N/A         1166bps      129bps            N/A           N/A           N/A           N/A           N/A       660bps


   Note: Revenue per patient is based on contribution from our healthcare services, excluding the contribution from the operation & management contract on the Sheikh Khalifa
   Hospital in UAQ. It also excludes the contribution from four out of our eleven pharmacies, specifically those located around the hospitals rather than within them..




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Abu Dhabi Emirate                                 near full occupancy on the higher           3. Brightpoint Royal Women’s Hospital
NMC treated a total of 1.59m patients             revenue inpatient services. The                Brightpoint Royal Women’s Hospital
in 2014 (+16.2% YoY) within the Abu Dhabi         utilisation of this 100 bed facility, in       opened its doors to the first patients
Emirate across its facilities in both Abu         terms of bed occupancy, amounted               in July 2014 with the intention to
Dhabi City and Al Ain City. As of year-end        to 81% during the year compared                gradually introduce its service capacity
2014, the Group had a total licensed              to 79% in 2013.                                to market. We commenced operations
capacity of 300 hospital beds, a 50%                                                             with outpatient services and plan to
increase year on year resulting from the       2. Al Ain Specialty Hospital                      open our inpatient services in Q1 2015.
addition of Brightpoint Royal Women’s             NMC Health inaugurated the Al Ain              In the first few months of ‘soft’ start
Hospital during the period.                       Specialty Hospital in the second               outpatient operations, our focus was
                                                  largest city within the emirate of             on ensuring the best possible patient
1. Abu Dhabi Specialty Hospital                   Abu Dhabi in 2008. This expansion              experience with priority to initial
   Despite being the longest serving              was encouraged by the adoption                 patient feedback as opposed to
   and most mature asset within                   of mandatory healthcare insurance in           volume and business ramp-up. This
   our healthcare portfolio, Abu Dhabi            Abu Dhabi Emirate in the immediately           patient feedback has overwhelmingly
   Specialty Hospital had another strong          preceding years. Al Ain Specialty              confirmed our strategic direction and
   year in 2014 – delivering relatively           Hospital had the JCI accreditation of its      positioning of this premium women’s
   high growth in revenues, patients,             quality and service levels renewed for         hospital, and as a result we have
   occupancy and revenue per patient.             a further three year period in 2012.           recently launched our marketing
   This remains the largest patient                                                              campaign and expect to commence
   recipient within the NMC network.              This hospital has 100 licensed beds, but       a higher ramp-up in business and
   The facility continues to provide a            started its inpatient operations in 2008       patient volumes from 2015 onwards.
   wide range of specialties and has              with 12 operational beds. As of FY2014
   Joint Commission International (JCI)           year end the number of operational            During the same period we
   accreditation for its service levels.          beds had increased to 83 beds. Despite        accelerated the hiring of medical
   It is located in the densely populated         a 38% rise in operational beds YoY,           professionals with international
   centre of Abu Dhabi City.                      occupancy increased by 876bps to              experience to meet the anticipated
                                                  69% in 2014.                                  growth in demand from the Abu Dhabi
     Revenues reached US$111.1m, with                                                           market, which currently has only one
     a year on year growth of 10.1%, on 8.7%      Al Ain Specialty Hospital has continued       maternity hospital. Brightpoint is the
     growth in patients compared to 2013          to deliver strong growth since opening,       first private sector women’s hospital
     and with the total number of patients        with 2014 revenues reaching US$58.0m          in the Emirate of Abu Dhabi. We also
     received rising to 1.02m. The revenue        (+20.5% YoY) on 0.48m patients (+16.8%        plan to seek JCI accreditation for
     per patient increased by 1.3% to reach       YoY). Revenue per patient amounted            Brightpoint and will commence
     US$109, with the growth diluted by the       to US$121 (+3.2% YoY).                        preparations for this in 2015.




     NMC Specialty
     Hospital
     Abu Dhabi



     100
     Beds


     US$109
     Revenue per patient




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      Revenues from the initial months of         Dubai Emirate                                        and with the total number of patients
      operations reached US$0.93m on 7,636        NMC treated a total of 0.63m patients                received rising to 0.21m. The revenue
      out patients. The revenue per patient       in 2014 (+14.9% YoY) across its facilities in        per patient increased by 4.7% to reach
      was US$122.                                 the Dubai Emirate. As of year-end 2014,              US$65. The utilisation of this 10 bed
                                                  the Group had a total licensed capacity              facility, in terms of bed occupancy,
   4. Mohammad bin Zayed City                     of 170 hospital beds, a 55% increase year            amounted to 45% during the year
      Day Surgery                                 on year resulting from the addition of               compared to 44% in 2013.
      NMC Day Surgery in Mohammad bin             NMC General Hospital in DIP in July 2014.
      Zayed City is strategically located on                                                        8. NMC General Hospital, DIP
      the peripheries of Abu Dhabi City close     6. Dubai Specialty Hospital                          NMC General Hospital in DIP opened
      to both the Mussafah industrial area           Opened in 2004, the 100 bed Dubai                 in July 2014 and has a licensed bed
      and the Khalifa City suburb. In addition       Specialty Hospital is located in the              capacity of 60 beds. Initial operations
      to serving the growing population              growing residential area of Al Nahda              started with outpatient services. The
      in its surroundings it is also a strong        on the Dubai-Sharjah border, which                first phase of inpatient services will
      referral base to existing and upcoming         enables the hospital to take                      commence in Q1 2015 and it consists
      NMC hospitals.                                 advantage of referrals from NMC’s                 of 30 beds out of the total available
                                                     assets in Dubai and our Medical Centre            capacity in the facility. We plan to
      This day surgery opened in July 2013           in Sharjah. This location has helped              roll-out the rest of the bed capacity
      and subsequently gradually ramped              the hospital grow significantly since             over future periods along with the
      up its operations, with FY2014 being           opening. The facility continues to                growth in demand for this hospital’s
      the first full year of operations.             provide a wide range of specialties.              services from the surrounding area.
      Revenues reached US$5.3m, with a               Dubai Specialty Hospital had its JCI              We plan to seek JCI accreditation
      year on year growth of 490%, on 333%           accreditation for its quality and service         for NMC General Hospital, DIP, and
      growth in patients compared to 2013            levels renewed for a further three year           will commence preparations for
      and with the total number of patients          period in 2012.                                   this in 2015.
      received rising to 82,372. The revenue
      per patient increased by 36.3% to              NMC owns a connected land plot                    This asset is located in a strategic
      reach US$65.                                   to this hospital which could house                region of Dubai within a key
                                                     a building with up to 100 bed additional          investment park with substantial
   5. Al Ain Medical Centre                          capacity. Should the growth in                    presence of large companies, in the
      Al Ain Medical Centre opened in                demand in Dubai from the mandatory                vicinity of Dubai’s new Al Maktoum
      December 2014, in line with our                insurance adoption require us to add              Airport, the Dubai Expo area not too
      guidance, and received a few patients          further capacity in the Emirate we are            far from Jebel Ali Port and Freezone.
      from the surrounding areas in the              well positioned to organically scale-up
      city. The centre is located in the             our capacity with limited exposure                Revenues from the initial months of
      Sanaiya area in Al Ain City, an area           to the sharp rise in real estate prices           operations reached US$2.5m on 26,044
      with considerable concentration                in recent years.                                  patients. The revenue per patient
      of businesses and industries with                                                                was US$96.
      surrounding residential areas.                 Revenues reached US$65.6m, with
      This facility will serve the primary           a year on year growth of 17.3%, on 10.1%       9. BR Medical Suites
      healthcare needs of people working             growth in patients compared to 2013               BR Medical Suites is a high-end
      and living in the area and act as a            and with the total number of patients             specialty day surgery, located in Dubai
      referral point for secondary and tertiary      received rising to 0.38m. The revenue             Healthcare City. It is specifically
      care needs to the NMC Al Ain Specialty         per patient increased by 6.5% to reach            designed to attract highly experienced
      Hospital located in the city centre.           US$175. The utilisation of this 100 bed           surgeons from around the world to
                                                     facility, in terms of bed occupancy,              carry out minimally invasive surgery
      While the revenue contribution of this         amounted to 66% during the year                   and other highly specialised
      facility was immaterial in 2014 given          compared to 54% in 2013.                          procedures with limited availability
      the opening in December, this facility                                                           in the UAE. Increasingly over the past
      is expected to deliver considerable         7. Dubai General Hospital                            two years we have worked to diversify
      growth in future periods on full year          Dubai General Hospital was                        the business model of this facility
      operations and as we ramp up                   established in 1999, this 10 bed facility         to include NMC clinics and allow for
      patient flow to the facility from the          is located in the highly populated area           improved utilisation of the facility.
      surrounding area – where NMC is                of Deira. The hospital acts as a                  This has had a very positive impact on
      a highly recognised and reputable              referral centre to the NMC Dubai                  both the top-line and patients figures;
      name in the minds of residents and             Specialty Hospital which is a short               however, this growth is partially offset
      the work force.                                distance away.                                    by a decline in revenue per patient.
                                                                                                       The Group acquired BR Medical Suites
                                                     Revenues reached US$13.9m, with                   for a consideration of US$9m paid in
                                                     a year on year growth of 13.7%, on 8.6%           cash on 1 July 2012.
                                                     growth in patients compared to 2013



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Group Strategic Report


BUSINESS OVERVIEW
CONTINUED


     Revenues reached US$3.6m, with a           in the major cities and a fleet of 207           The FMCG segment (+11.7% year on year)
     year on year growth of 40.0%, on 43.6%     vehicles ensuring timely distribution.           remained the largest contributor to the
     growth in patients compared to 2013                                                         distribution division, however, the fastest
     and with the total number of patients      Division revenues reached US$338.9m              growth came from the Food and Catering
     received rising to 13,760. The revenue     in 2014, 12.9% higher than the preceding         (+32.4% year on year) and Education
     per patient decreased by 2.5% to           year. Meanwhile, EBITDA increased by             material (+29.3% year on year) segments.
     become US$262.                             14.1% to US$34.1m with a resulting EBITDA        Pharmaceutical revenue increased by
                                                margin of 10.1%.                                 15.7%, in contrast, Scientific Equipment
     Unlike our healthcare assets, this day                                                      sales declined by 7.3%.
     surgery is overwhelmingly focused on
     utilisation by external doctors.           Distribution Division’s revenue and              Distribution division segment
     Consequently, its revenues are             EBITDA contribution                              contribution change
     accounted for net of the external
     doctor’s share.                            REVENUE US$M AND ANNUAL GROWTH                   SEGMENT CONTRIBUTION 2014

Sharjah Emirate                                 400                                        18%
10. Sharjah Medical Centre                                                                 16%
    This multi specialist medical centre                                        338.9      14%
                                                300
    was opened in 1996 and is located on                           300.2
                                                                                           12%
                                                           271.1                12.9%
    the busy commuter route along the
                                                                    10.7%                  10%
    Corniche in Sharjah. Since the facility     200
                                                                                           8%
    was upgraded in 2010 from a clinic to a
    medical centre offering increased                      7.0%                            6%
                                                 100                                       4%
    specialities such as radiology and
    minor procedures, revenue has                        2012      2013         2014       2%
    increased significantly. The Group also
    benefits from referrals made from this
    facility to the Dubai Specialty Hospital.      Revenue                 Growth
    Revenues reached US$12.8m, with a                                                              Scientific   12.0%      Education 4.1%
    year on year growth of 24.2%. The                                                              Re-Exports    0.0%      FMCG     38.6%
                                                EBITDA US$M AND MARGIN
    number of patients reached 0.17m,
                                                                                                   Pharma        31.1%     Food      13.8%
    12% higher than 2013. The revenue
    per patient increased by 11% to              40                                        12%     Veterinary    0.4%
                                                                    10.0%       10.1%
    reach US$75.                                           9.7%
                                                                                           10%
                                                                                 34.1
                                                                                                 SEGMENT CONTRIBUTION 2013
                                                 30
                                                                    29.9
Umm Al Quwain Emirate                                                                      8%
                                                           26.2
11. Sheikh Khalifa General Hospital
    Since Q4 2012 NMC Health has                 20                                        6%

    operated and managed on behalf
                                                                                           4%
    of the UAE Ministry of Presidential           10
    Affairs this 205-bed hospital in Umm                                                   2%
    Al Quwain. The agreement is based                    2012      2013         2014
    on a five year contract in return for an
    annual management fee based on                 EBITDA                  EBITDA margin
    qualitative metrics. We believe this
    is the first such contract to manage
    a large Government healthcare facility
    awarded by a Government
    Department to a local UAE business.
    This demonstrates confidence
    in NMC’s significant healthcare                                                                Scientific 14.6%        Education 3.6%
    experience and capabilities.                                                                   Re-Exports 0.4%         FMCG      39.0%
                                                                                                   Pharma     30.3%        Food       11.8%
DISTRIBUTION DIVISION                                                                              Veterinary 0.4%
NMC has over the past 40 years amassed
                                                                                                 Recent additions to our product portfolio
one of the largest product portfolios in
                                                                                                 include SuperMax, one of the leading
the UAE with 83,635 SKU’s (+17.4% YoY).                                                          disposable razor blade manufacturers
Our distribution division operates across                                                        in the world and a very well established
the entire UAE through a network of                                                              brand in India, Everyuth fairness creams,
five warehouses and three sales and                                                              Anchor toothpaste and Kuwait Danish
marketing offices strategically located                                                          Dairy (KDD) juices.


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      NMC Hospital
      Deira, Dubai



      10
      Beds


      US$65
      Revenue per patient




   IT                                                  The new system requires                       However, the management team and
   The Group has operated in recent                    customisation and integration of              the Board realises the importance of
   years with legacy IT systems which,                 certain modules before being rolled           implementing a new IT infrastructure as
   as a smaller private company, were                  out completely, which is expected             the Group prepares for significant growth
   appropriate for the needs of the Group.             to be completed by early 2016. The            in the coming years. This investment
   Following a review of the Group’s IT                Company feels that the new system             in new technology will help to reduce
   requirements, the Board agreed                      will be robust enough to deal with            an element of manual intervention and
   capital investment in two new primary               the demands of significant growth             improve reporting and therefore the
   Group systems:                                      of the business.                              company’s internal control environment.

   A. Hospital Information System (HIS).            B. Enterprise Resources Planning (ERP)           The company has spent a total amount
      The current HIS system operating                 financial system                              of US$3.2m as of 31 December 2014 on
      within NMC is a home-grown system                It was reported in the 2013 Annual            the Enterprise Resources Planning (ERP)
      which has been operating successfully            Report that the Company planned to            financial system and the Hospital
      over many years. Continuing                      implement a new financial IT system           Information System (HIS).
      developments in the regulatory                   in the first half of 2014. Implementation
      framework in the UAE healthcare                  of the new system was delayed
      system, as well as additional                    following challenges in the integration
      monitoring and reporting requirements            and customisation of the modules.
      which the Group feels that it requires           The company has put in place a new
      as the business grows, has resulted              project management team and now
      in a decision to implement a new HIS.            expects the implementation of the
                                                       new ERP system to be completed
      The Group has chosen to implement                in 2015.
      a third party system which is already
      operating successfully within the UAE         The Company has been aware of the
      regulatory structure. The new system          need to improve its IT infrastructure.
      has been implemented in the three             The implementation of new IT systems
      new facilities which commenced                always presents organisations with a
      operations during the year as part of         significant challenge, and implementing
      the plan for a phased implementation          two new primary systems within the
      before rolling out in the major facilities.   Group, especially with two divergent
                                                    business models, will be no different.




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FINANCIAL REVIEW



NMC Health delivered a strong                                The Company was able to capitalise                           The company has spent a total amount
performance in 2014 at both the Group                        certain expenses, in accordance with                         of US$3.2m as of 31 December 2014 on
and divisional level. Consolidated Group                     IFRS and the Company’s accounting                            the Enterprise Resources Planning (ERP)
Revenues increased from US$550.9m in                         policies. We expect this to continue                         financial system and Hospital Information
FY2013 to US$643.9m in FY2014, a growth                      in relation to costs (for example lease                      System (HIS).
of 16.9%. After elimination of US$27.2m of                   costs) arising during the construction of
intra-group trading revenue, Consolidated                    future projects. Although pre-operating                      The company has reviewed all significant
Group EBITDA improved from US$92.9m                          expenses were nil in the year to                             capital expenditure projects including the
in FY2013 to US$102.5m in FY2014, a growth                   31 December 2014, we expect a small                          delayed projects for impairments and
of 10.2%.                                                    level of pre-operating costs which will                      have concluded that the projects have
                                                             be expensed in the 2015 financial year as                    sufficient headroom and concluded that
Group Net profit reached US$77.5m in                         a result of the opening of new facilities.                   none of the assets are impaired.
FY2014, yielding Earnings per share (EPS)
of US$0.412 compared to US$0.367 for the                     As a result of the delays in the opening                     CASH
same period in 2013.                                         of certain facilities discussed in “Business                 Net cash inflow from operating activities
                                                             overview”, additional costs in respect                       for the 2014 financial year was US$85.7m,
HEALTHCARE DIVISION                                          of loan interest and leases have been                        compared with US$85.1m for the
Revenue in the Healthcare division                           capitalised. Had these facilities opened in                  comparative period in 2013. This was
increased from US$289.3m in FY2013 to                        line with original plan these costs would                    mainly due to the improved performance
US$332.2m in FY2014, a growth of 14.8%.                      have been expensed. Other than these                         of the Group and effective management
EBITDA increased from US$81.7m in                            items the delays have not resulted in an                     of working capital, despite an increase
FY2013 to US$88.2m in FY2014, a growth                       increase in budgeted capital costs..                         in the revenues.
of 8.0%. EBITDA margin declined from
28.2% in FY2013 to 26.6% in FY2014, as a                     A table outlining original estimated capital                 Including funds held on deposit, cash as
result of the losses from the three new                      expenditure and other budgeted costs for                     at 31 December 2014 was at US$263.2m
facilities opened during the year.                           each of our current development projects                     compared to US$268.7m at the end of
                                                             is set out in table below.                                   FY2013. The company had allocated the
DISTRIBUTION DIVISION                                                                                                     funds raised through the IPO as well
Within the Distribution division, revenues                   Apart from the projects mentioned in the                     as through the JP Morgan syndicated
increased from US$300.2m in FY2013 to                        table below, the Group had spent US$9m                       loan against the capital cost of the five
US$338.9m in FY2014, a growth of 12.9%.                      on the acquisition of BR Medical Suites                      expansion projects announced during
EBITDA increased from US$29.9m in                            during 2012 as part of the projects                          the IPO. As a result, together with positive
FY2013 to US$34.1m in FY2014, a growth                       announced during the IPO.                                    operating cashflow, the Company is well
of 14.1%. EBITDA margin was at 10.1% in                                                                                   financed to complete its capital
FY2014 (10.0% during FY2013).                                In addition to the above, the Group                          expenditure program.
                                                             has spent US$7.7m from its internal
CAPITAL EXPENDITURE                                          funds towards the development of the
Capital expenditure incurred for the year                    Al Ain Medical Centre which commenced
was US$112.3m (FY2013: US$82.7m). This                       operations on 07 December 2014.
encompassed US$96.0m on the Group’s
capital projects. The Group also incurred
US$13.5m on equipment required across
the existing operations.


(All US$m)                                                        Budget                                                         Actuals

                                                                                                                                               Accounting
                                                              Budgeted                      Capital               Capitalised              adjustment for                    Total
Project                                                     Capital Costs                    Costs                 Expenses1                 lease rentals          Capital Costs

Brightpoint Royal Women’s Hospital                                    70                      75.8                        6.1                       25.5                   107.4
Khalifa City Specialty Hospital                                      200                      95.0                       6.8                            –                   101.9
Day Surgery Centre LLC                                                 15                      10.4                        1.1                        2.8                    14.3
Dubai Investment Park LLC                                             30                      27.0                        2.5                         5.8                   35.3
Total                                                                315                    208.2                        16.5                        34.1                 258.9

Notes:
1: Prior to commencement of development of the existing four capital projects, management had an expectation that there would be an element of expense incurred before
   the new facilities were opened which would be written off through the Income Statement. Following a review certain of these costs have been capitalised in line with the
   Company’s accounting policies (for example lease rent paid and finance costs). The Group expects such costs will continue to be capitalised on these projects during the
   construction phase.
2: The lease in respect of Brightpoint contains a rent free period as well as specified rent increases. In line with IFRS and the Company’s accounting policies, the rental cost of
   the lease has been adjusted to appropriately account for these items over the length of the lease. Accounting policies stipulate that the total lease value for the full lease
   period is divided evenly over the years.

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   As expected, the Group had a net debt           timing of receipt of debtors and the               FINANCE COSTS AND INCOME
   position of US$113.0m at 31 December            timing of payment of creditors as well             Total finance costs for 2014 were
   2014 compared with US$63.7m at                  as inventory flow during the year and the          US$14.4m compared to US$14.3m in 2013.
   31 December 2013. As the Group continues        timing of re-imbursement of promotional            This was mainly on account of the
   with its capital project development            expenses agreed with our Principals                savings from the JP Morgan facility which
   program, and the Company’s cash is              in relation to the sale and marketing of           carried a relatively lower finance charge
   committed to such projects, the level           their products. The Distribution division          as the LIBOR rate softened during the
   of net debt is expected to increase             requires external working capital facilities       year. Apart from this the efficient
   during FY2015.                                  throughout the year, the level of which            utilization of working capital lines also
                                                   is dependent on business seasonality.              contributed to the savings.
   MOVEMENT IN NET DEBT                            These working capital facilities are
   The movement in cash and the level of           arranged through a number of banking               As part of the Group’s capital expenditure
   capital expenditure have had a significant      providers and in general terms the level           programme, borrowing costs of US$4,068,000
   effect on the movement in net debt              of working capital required is between             (2013: US$4,886,000) net of finance income
   during the 2014 financial year. A summary       30%-40% of the Group’s total debt facilities       of US$NIL (2013: US$54,000) have been
   of the principal drivers is shown in the                                                           capitalised during the year. The rate used
   table below.                                    LONG TERM DEBT FACILITIES                          to determine the amount of borrowing
                                                   In 2013, the Group had raised a five year          costs eligible for capitalisation was 3.15%
   WORKING CAPITAL                                 debt facility of up to US$300m through             (2013: 3.40%) which is the effective rate of
   Working capital for our two operating           a syndicate of lenders led by J.P. Morgan          the borrowings used to finance the
   business divisions is funded differently        Chase Bank, to refinance high interest             capital expenditure.
   due to the nature of their business             bearing credit lines. A total of US$225m
   models. The Group is able to fund its           has been drawn down from this facility             DIVIDEND
   working capital requirements for its            to date. The cost of funds for this facility       The Board is proposing to continue with
   Healthcare division from operational cash       is 3.0% over one month LIBOR.                      its policy of annual dividend payments
   flow, and we do not expect this position                                                           of between 20% and 30% of profit after tax,
   to change in the 2015 financial year.           The total debt of the Group, excluding             outlined in the Company’s IPO prospectus
                                                   accounts payable and accruals, was                 in 2012. The Board is therefore
   In relation to our Distribution division, the   US$376.1m as at 31 December 2014                   recommending that a final dividend of
   working capital requirement is dependent        compared to US$332.4m as at                        5.4 pence per share be paid in cash in
   on a number of factors including the            31 December 2013.                                  respect of the year ended 31 December
                                                                                                      2014 (FY2013: 4.4 pence per share).



   Movement of Net Debt (amounts in US$m)
   Total Debt as at 1 January 2014      332.4      Total Cash as at 1 January 2014        268.7      Net Debt as at 1 January 2014          63.7


   Add:                                            Add:
   Other Bank facilities & refinancing
   (Net Movement)                      93.7        Operational cash inflow                  85.7
                                                   Finance Income                            3.6
                                                   Other Bank facilities & refinancing
                                                   (Net Movement)                           93.7
                                                                                           183.0
   Less:                                           Less:
   JP Morgan Loan Repayments            50.0
                                                   JPM Loan Repayments                      50.0
                                                   Additions & Disposals to Property        111.2
                                                   Finance Costs                            13.6
                                                   Dividends Paid                           13.8
                                                                                           188.6
   Total Debt as at 31 December 2014       376.1   Total Cash as at 31 December 2014       263.1     Net Debt as at 31 December 2014        113.0




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PRINCIPAL RISKS
AND UNCERTAINTIES


The Board consider the identification                      of 2014 the management team, assisted                 oversight over the Register and the risk
and mitigation of material risks and                       by an independent third party, PwC,                   management process.
uncertainties faced by the Group as a key                  undertook a review the Group’s key
issue to be monitored at all levels of the                 risks alongside the macro-economic                    These risks, the potential effect of these
organisation. The senior management                        environment within which the Group                    risks on the Group and the mitigation of
team ensure that operational management                    operates to establish a Strategic                     those risks is analysed in the following
consider risk as part of their day to day                  Risk Register.                                        table. It should be noted that the order
activities. This is considered to be                                                                             that these risks are expressed in the
particularly key for NMC as a Group                        The Strategic Risk Register, which is                 table do not reflect an order of magnitude
working in a regulated environment.                        the basis for the list of principal risks             as regards their potential impact on
                                                           and uncertainties will be reviewed and                the Group.
In order to enhance the Group’s risk                       maintained on an on-going basis by
management process, towards the end                        management, with the Board retaining


 Risk Class       Description and Potential Impact                                                 Current Mitigations
 Investments      Delays in completion, or errors in assessing the impact, of new strategic        • Board oversight in approving and monitoring strategic projects
                  expansion projects may result in                                                 • Project management controls
                  •   lower Return on Investment (ROI);                                            • Detailed market and business appraisal processes
                  •   lower revenue than expected;
                  •   decreased margins and market share;
                  •   potential for impairment of assets;
                  •   reputational issue leading to difficulty in raising future finance.


 Competition      Increased competition due to high private and public investments in              •   Integrated Hub-Spoke model
                  the UAE healthcare sector and to associated investments coming from              •   Growing healthcare network
                  new entrants or existing player partnerships would lead to market                •   Government Partnership for managing Government hospitals
                  share loss and potential reduction in access to future growth in UAE             •   Diversification of patient base
                  healthcare spend.


 Financial        Potential inability to improve NMC’s earnings due to medical related cost        •   Diversification of the revenue streams
                  inflation and potential changes in insurance environment may directly            •   Frequent monitoring of both fixed and variable cost
                  impact the top line and profit margin.                                           •   Insurance sector is highly regulated
                                                                                                   •   Good relationships with insurance providers
                                                                                                   •   Strategy to increase patient volumes and focus on
                                                                                                       clinical specialisms


 Macro-           Potential instability in revenue impairing cash flow and working capital         •   UAE is a traditionally stable market
 economic         health as a result of demographic and geopolitical factors both globally         •   Diverse business and revenue streams
                  and in the region will significantly impact NMC revenue.                         •   Long Term debt facilities and unutilised working capital limits
                                                                                                   •   Strong banking and supplier relationships


 Human            Shortage of medical staff due to talent acquisition challenges, scarcity in      •   Partnership with education institutes
 Capital          medical professionals and competitive market and any lack of depth and           •   Effective sourcing strategies and
                  breadth in management structure during the period of significant growth          •   Recruitment campaigns
                  could potentially lead to inability to deliver the Company’s strategy and        •   Ongoing review of senior management resource.
                  required healthcare services and potential loss of reputation.                   •   Competitive salary packages, patient growth and good working
                                                                                                       conditions act as a good retention tool


 Technology       Data Security breach or a lack of up to date integrated IT infrastructure        • ISO 27001 certified framework for IT policies
 and              may result in hindered operations and reputation damage.                           and controls.
                                                                                                   • Strict measures towards clients’ data and records
 Innovation                                                                                        • Investment in new Hospital Information System and ERP financial
                                                                                                     system approved by the Board and implementation in progress


 Compliance       Failure to comply with multi regulatory and standards bodies’                    •   Quality & Standards Department monitoring regulatory changes
 and              requirements could result in financial fines, inability to renew licences,       •   Partnership with government
                  as well as NMC reputation damage.                                                •   Good relationships with regulators and accrediting organisations
 Regulation                                                                                        •   Continuous focus on delivering high levels of service


 Product and      Failure to comply with internationally recognised clinical care and quality      • Doctors subject to rigorous licensing procedures which operate
 Services Risk    standards, clinical negligence, the mis-diagnosis of medical conditions or         in the UAE
                  pharmaceuticals and the supply of unfit products across both divisions           • Healthcare division is a regulated business and the Group’s three
                  could result in regulatory sanction, licence removal, significant reputational     principal hospitals have international quality standards accreditation
                  damage, loss of patient and customer confidence and potential criminal           • Many aspects of the operation of the Distribution division, including
                  proceedings.                                                                       the sale of pharmaceuticals, is regulated in the UAE
                                                                                                   • Board oversight and integrated governance structure
                                                                                                   • Medical malpractice insurance to cover any awards of
                                                                                                     financial damages




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   CORPORATE SOCIAL
   RESPONSIBILITY


   Caring for the health of UAE’s residents for nearly 40 years is
   an important responsibility that NMC takes very seriously.
   Equally important is our responsibility in utilizing the resources
   provided by the natural environment in a sustainable manner.
   Within this Corporate Social Responsibility report we focus
   on our responsibilities to both the environment and also the
   rights of individuals and the wider community with whom
   the Group comes into contact.

   ENVIRONMENTAL MATTERS                             to enable central despatch to track              cardboard boxes. NMC has put in place
   Protecting our Environment                        the whereabouts of the fleet of                  a collection and disposal facility for
   and using natural resources                       almost 200 vehicles. This will enable            recycling and re-use of cartons.
   in a sustainable manner                           more efficient route planning,
   We recognise the importance of                    optimizing routes and times based            •   NMC is fully in compliance with the
   environmental stewardship. The UAE is             on traffic patterns and thus help the            Environment, Health and Safety (EHS)
   a country of extremes when it comes to            Distribution division reduce delivery            requirements of Health Authority
   natural resources. Being a country with           time to the benefit of customers,                of Abu Dhabi (HAAD), Dubai Health
   a significant proportion of desert, there         save fuel and minimize CO2 emissions             Authority (DHA), Ministry of Health
   is a shortage of vegetation and water.            to the benefit of the company’s                  (MOH) and local city municipalities
   However, there is a surplus of hydrocarbon        expenses and the environment                     in whose jurisdictions we operate
   resources. As a stakeholder in the long           respectively. Regular maintenance of             including for the safe disposal of
   term future of the UAE, NMC believes              the transport fleet is also done to keep         medical waste.
   it should be a steward of the UAE                 vehicle engines running efficiently and
   environment, achieving a balance                  curtail CO2 emissions.                       •   NMC provides housing facilities to a
   between growth driven by energy                                                                    significant number of its employees,
   consumption, while conserving resources       •   NMC purchases large volumes                      usually very close to their place of
   that are scarce. Some of the initiatives          of medical consumables and                       work. This is advantageous to both the
   undertaken by NMC towards the cause               pharmaceuticals including gloves,                employees, who save on commute
   of a healthy environment are:                     syringes, plastic bags, toilet rolls,            time and cost and the company, since
                                                     tablets, syrups etc which come packed            our specialist doctors who are on call
   •   Delivery vehicles in NMC’s Distribution       in cardboard cartons. Once the                   can respond to emergency patients
       division have been equipped with an           contents are unpacked, we are left               very quickly. This results in NMC
       automated vehicle tracking system             with large quantities of these                   boasting some of the best response



       NMC Specialty
       Hospital
       Al Ain



       100
       Beds


       US$121
       Revenue per patient




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     time indicators, such as “Door to                          Greenhouse Gas Emissions                                        The primary sources of our GHG
     Balloon” time for primary angioplasty                      As a UK listed company, the Group is                            emissions relate to the use of fuels in
     cases. Across our significant number                       required to report its greenhouse gas                           vehicles in our Distribution division and
     of doctors, nurses and other clinicians,                   (GHG) emissions under the Companies                             electricity consumption in our hospitals.
     this adds up to a lot of fuel saved.                       Act 2006 (Strategic and Directors’ Reports)                     We take our role as a corporate citizen
                                                                Regulations 2013. For the first time during                     seriously and therefore we continually
•    Complementing the efforts in                               2014, we have gathered data on the GHG                          review our operations and the impacts
     developing Environment, Health and                         emissions of NMC Health plc. As this is the                     they have in the communities we
     Safety (EHS) policies and procedures,                      first year that the Company has collected                       operate. As we develop new facilities and
     the quality teams in NMC Healthcare                        all of the relevant information on GHG                          re-design existing operations, we look for
     and NMC’s Distribution division conduct                    emissions, there is no comparative data                         opportunities to increase the efficiency of
     regular audits, inspections and incident                   for the previous financial year. Our data is                    the resources we consume and
     investigations, ensuring continuous                        set out in the table below.                                     minimise the level of GHG emissions.
     improvement of the NMC EHS
     management system and processes.                           We have prepared our GHG emissions                              RESPONSIBILITIES TO OUR EMPLOYEES,
     The Distribution division has received                     reporting in line with the GHG Protocol                         PATIENTS AND THE WIDER COMMUNITY
     the EHS certification (ISO 14001:2004),                    developed by the World Business Council                         NMC Health was initiated with the motto
     EMS certification and OHSAS                                for Sustainable Development, and                                of ‘affordable quality healthcare for all’
     (Occupational Health & Safety                              additional guidance issued by the UK                            and has been delivering the best medical
     Advisory Services) certification.                          Government Department for Energy,                               care to UAE residents since 1975. We
                                                                Food and Rural Affairs (“DEFRA”). The                           adhere to ethical human rights policies
•    The implementation of e-claims for                         emissions have been calculated using                            at all levels including our employees,
     health insurance has significantly                         carbon conversion factors published by                          our patients and our wider stakeholders.
     reduced the amount of printed paper                        DECC/Defra in May 2014. A conversion                            NMC employs without discrimination and
     submitted in our monthly invoices to                       factor for Sevoflurane was not available                        offers world class medical treatment
     insurance paying companies. We also                        from DEFRA so an epa.govghg reporting                           across varied specialists accessible to
     encourage recycling of paper used                          figure was used. Conversion factors                             over 90% of the UAE’s population. We
     internally to reduce consumption                           applicable to the UAE for Scope 2 have                          welcome patients from all segments of
     of paper.                                                  been obtained from the publication IEA                          society, nationalities and income levels.
                                                                CO2 Emissions from Fuel Combustion                              We treat over two million patients a year
•    NMC has undertaken a company-wide                          (2012 edition).                                                 across five cities and four Emirates of
     survey and study to evaluate its                                                                                           the UAE.
     greenhouse gas emission and energy                         We have applied an operational control
     consumption during business                                approach in presenting our GHG emissions,
     processes. The findings of this study,                     and have reported on all material
     which has been conducted with the                          emission sources within scope 1
     assistance of an independent third                         (combustion of fuel and operation of
     party, PwC, is published below.                            facilities) and scope 2 (purchased
     Commencing in 2014, this exercise will                     electricity and cooling). Gas and electricity
     be carried out annually along with                         usage information has been obtained
     the company’s initiatives to become                        from purchase invoices. Vehicle fuel
     more efficient and a less intensive                        usage is based upon purchase invoices.
     greenhouse gas emitter and                                 Where NMC is not directly billed for the
     energy consumer.                                           consumption of power and therefore
                                                                does not have full visibility the data, an
                                                                estimation using average consumption
                                                                from other similar sites has been applied.


For the 12 months to 31 December 2014                                                                                                  GHG emissions (tonnes CO2e)

                                                                                                                        Healthcare                 Distribution                      Total

Scope 1 emissions (fuel use in generators and vehicles)                                                                     3,687                       4,634                      8.321
Scope 2 emissions (purchased power, including electricity and cooling)                                                     21,965                       4,859                    26,824
Total GHG emissions                                                                                                        25,652                       9,493                     35,145
GHG emissions intensity                                                                                                      9.6              25.0                     0.05 (tonnes
                                                                                                                       (tonnes            (tonnes                    CO2e/US$1,000)
                                                                                                                     CO2e/1,000 CO2e/1,000 orders)
                                                                                                                       patient)

Scope 1 = direct emissions from fuel combustion and industrial processes. At these sites, this takes the form of gas for heating, diesel and petrol for the fleet and diesel for generators.
Scope 2 = indirect emissions from the generation of purchased electricity.



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   RESPONSIBILITIES TO INDIVIDUALS                              -   All female employees over the age                    •     Diversity and discrimination
   Employees                                                        of 40 are offered free mammogram                           - Our commitment to diversity and
   NMC’s employees are its greatest                                 screening at all our hospitals during                         anti-discrimination policies are
   resource in serving its customers every                          the breast cancer awareness                                   reflected in the profile of our
   day. Some of NMC’s doctors have been                             month every year.                                             employees. As at 31 December 2014,
   with the organization for over three                                                                                           the Group had grown its employee
   decades and have treated different                           -   Employees are eligible for                                    base across all its business
   generations from the same family. We                             discounted rates for most services                            operations to over 6,000 employees.
   consider our employees as ambassadors                            within our medical facilities, and can                        We employed individuals of 54
   of NMC and take great care in providing                          also take advantage of discounted                             different nationalities. In addition
   them with a healthy, safe and positive                           prices for products that are distributed                      41% of our workforce is female and
   work environment.                                                by the Distribution division.                                 59% male.

   •   Benefits offered to NMC employees                        -   NMC Health celebrates community                            -     We have adopted an anti-
       include:                                                     events and festivals and conducts                                discrimination policy to ensure
       - Free company accommodation                                 cultural and social gatherings for its                           that there is no discrimination or
          or an accommodation allowance.                            employees including Eid, Onam,                                   harassment of any person
          Employees can stay in the vicinity                        Diwali and Christmas celebrations                                employed or seeking employment
          of their workplace and also spend                         as well as commemoration of                                      on the basis of their race, colour,
          less time commuting. Our patients                         International Nurses’ Day, NMC                                   religion, gender, age or citizenship.
          also benefit from arrangement                             Annual Day and UAE National Day
          as on-call doctors can be at the                          among many other such occasions.                           -     A comparison of the split of
          patient’s side within minutes in                                                                                           employees by gender within
          case of an emergency.                                 -   NMC runs a number of fitness                                     the different business groups
                                                                    events and sports clubs including                                and different levels within the
                                                                    cricket and volleyball teams.                                    NMC Group is set out in the
                                                                                                                                     following table:


   Gender Comparision Study
                                                                                                                                   31 December 2014

                                                                                                                             Gender                       Percentage

    Facilities                                Categories                                        Total            Male                  Female          Male         Female

   Board of Directors & Senior
   Management Team                            NMC Board of Directors                              12                8                        4         67%             33%
                                              Senior Management Team                               6                5                        1         80%             20%
                                              Grand Total                                     6,388             3,757                    2,631         59%             41%

   Corporate Office                           Total – Corporate Office                          186               143                       43         77%             23%
                                              Corporate Management*                               44               39                        5         89%             11%
                                              Corporate Staff                                    142              104                      38          73%             27%

   Reliance Infotech                          Total – Reliance Infotech                           64               56                        8         88%             13%
                                              Reliance Management                                  7                6                        1         86%             14%
                                              Reliance Staff                                      57               50                        7         88%             12%

   Healthcare                                 Total – Healthcare                              4,320             1,997                   2,323          46%             54%
                                              Healthcare Management                               45                12                     33          27%             73%
                                              Doctors                                           603               394                     209          65%             35%
                                              Staff Nurse                                      1,266              218                    1,048          17%            83%
                                              Technicians & Pharmacist                          547               277                     270           51%            49%
                                              Healthcare – Others                              1,859            1,096                     763          59%             41%

   Distribution                               Total – Distribution                             1,818             1,561                    257          86%             14%
                                              Distribution Management                            122              109                       13         89%             11%
                                              Distribution Staff                               1,696            1,452                     244          86%             14%

   * Corporate Management Staff includes six Senior Management Personnel, three of whom were Executive Directors also, but excludes Non-Executive Directors.



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PATIENTS                                           of quality that permeates every                     Our approach to delivering high
Patient base                                       aspect of care and encourages the                   quality care to our patients is also
NMC is one of the few large private                group’s employees and clinical staff to             enhanced by our voluntary
hospital chains in the UAE that accepts            continuously strive to improve patient              accreditation to quality standards
patients from virtually all health insurance       care and patient safety.                            bodies such as Joint Commission
plans, from top end plans for higher                                                                   International. Our three Specialty
income groups to the lowest end                  Our clinical operations are monitored                 Hospitals are JCI accredited and
plans meant for blue collar workers.             in a number of ways:                                  it is our intention to seek JCI
                                                                                                       accreditation for our new hospital
The UAE is a culturally diverse country            •   Internal oversight                              facilities also..
with a significant expat resident                      The Group Medical Director, along
population alongside Emirati nationals.                with the Quality Management              •   Quality framework
As well as treating patients from all                  Team and Hospital and Nursing                NMC Healthcare’s quality framework
aspects of society, our patient profile                Administrators, provide internal             is broadly based on the following key
confirms the wide breadth of our                       oversight and direction to these             ‘Principles’ of:
multi-cultural healthcare services offering.           efforts at each facility. A number           - Patient safety
                                                       of important hospital committees             - Clinical excellence
QUALITY OF CARE AND STANDARDS                          are in place with multidisciplinary          - Current evidence based clinical
Healthcare division                                    team membership to review and                    practices, clinical pathways
NMC Healthcare is committed to providing               recommend suitable guidelines                    and protocols
quality healthcare and aspires to be                   in respect of patient safety and             - Clinical care monitoring
regarded as the most respected and                     quality, medication management,              - Patient experience
trusted provider of healthcare services                infection prevention and control,
by patients, families, doctors, nurses and             medical record documentation                 The group has placed huge emphasis
other professional staff.                              and facility management.                     on patient safety as this is the basic
                                                                                                    tenet of healthcare quality.
Our business is about improving the                •   Independent oversight
health and quality of life of individuals.             To ensure that there is independent      •   International Patient safety goals
The health and safety of our patients                  oversight to the key area of clinical        Across the Group, facilities monitor
therefore is the core of our business.                 governance and safety, the Board             the compliance with the International
                                                       created a Clinical Governance                Patient Safety Standards such as
Desired best clinical outcomes can only                Committee which is constituted               correct patient identification, improved
be possible through infrastructure of the              of Non-Executive Directors, the              communication between care givers
highest standard and care processes that               majority of whom are independent             and preventing patient falls. Surgical
are standardized, reliable and free of                 Non-Executive Directors. In addition         safety standards to prevent wrong
errors. To this end, our clinical governance           to the internal and regulatory               patient, wrong side and wrong surgery
and quality framework, oversight and                   oversight which exists over our              are diligently practised through right
initiatives are designed to ensure the                 healthcare operations, we believe            patient identification, surgical site
highest possible international healthcare              that this is a key additional control.       marking and calling of “time out”
standards on quality of care.                          Details of the work of the Clinical          before every procedure. The data on
                                                       Governance Committee is set out              patient safety goals is regularly
•    Clinical Governance and Quality                   on pages 59 to 60.                           monitored and is consistently
     Focus on quality healthcare is                                                                 matching to best international
     reflected in the robust clinical              •   External oversight                           benchmarks.
     governance and oversight structures               NMC Healthcare is a regulated
     created for ensuring the delivery of              business. Our facilities are regulated   •   Medication errors
     safe and high quality of care                     by the respective regulatory bodies          As part of quality monitoring,
     consistently across the group facilities.         in the UAE of:                               important metrics on patient safety
                                                       - Ministry of Health                         and quality are regularly monitored,
     By focusing on a patient-centred team             - Health Authority of Abu Dhabi              reported, analyzed and improvements
     approach to improve quality of care,              - Dubai Health Authority                     made. Standard protocols in terms of
     the Group has encouraged a culture                - Dubai Healthcare City Authority            procurement, storage and usage are


                                                                                                                              % of NMC patients
                                                                                                                                         in 2014

Emiratis                                                                                                                                    7.7
Indian sub-continent                                                                                                                       65.1
Asia (excluding Indian sub-continent)                                                                                                       4.5
Arab Expats                                                                                                                                 9.3
Western Expats and others                                                                                                                  13.4

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       in place in terms of category of                active infection control program.                reviews the patient experience
       medications called “High Alert                  The result of all these is reflected in          gathered through satisfaction surveys,
       Medications”, as any errors in this area        extremely low HAI rates across the               feedback and complaints. This
       can lead to serious patient harm.               group facilities. This ensures patients          feedback is used to analyze and
       Globally medication errors are a regular        go home early after any surgery/                 improve performance.
       concern across healthcare                       interventions and are free from
       organizations. NMC monitors them                any complications.                           •   The Way Forward
       and they are lower than the globally                                                             Going forward, our JCI Accreditation
       recorded rate of approximately 2 per        •   Clinical excellence                              will certainly be a high focus area for
       100 admissions. Staff are regularly             Clinical excellence, through                     consistent compliance on standards.
       trained and oriented to standard                multidisciplinary team work and based            This apart, to improve the quality of
       protocols and best practices in                 on current evidence based clinical               care further, NMC believes in the
       improving the medication safety                 guidelines and pathways, is the                  building of positive and productive
       such as the ordering, storage and               foundation on which NMC has created              relationships with clinical professionals
       administration of drugs.                        its Healthcare provision. To reduce              and in developing an increased culture
                                                       variation and increase standardization           of quality and safety. We believe that
   •   Infection Prevention and Control                of care, clinical specialties of group           to be really successful, quality has
       Infection prevention and control is a           facilities have adopted current                  to be more of a cultural legacy and
       very high priority area for quality as          evidence based clinical guidelines/              transformational rather than just a
       this could result in serious patient            pathways, especially on the most                 transactional activity.
       safety issues with adverse outcomes.            commonly treated, complex and high
       This activity is monitored by a team            risk procedures. This ensures patients       Distribution division
       of multidisciplinary medical, nursing           are provided the most appropriate            NMC’s distribution division has a number
       and other professionals at each                 and safe care. The compliance with           of pharmaceutical medical representatives
       facility. Active surveillance is in place       guidelines/pathways is audited               and medical equipment salespersons
       to identify any developing risks of             quarterly and reported. The key              who remain in close contact with the
       infections. Stringent norms and                 performance indicators are regularly         doctors and bio-medical and
       monitoring tools are in place for               tracked, reported and monitored for          administrative teams in hospitals,
       environmental sanitation and                    improving clinical care and the              medical centres and pharmacies across
       sterilization/disinfection of equipment.        outcomes of clinical care.                   the UAE. The business imports and
       Hand hygiene in the form of                                                                  distributes essential pharmaceuticals
       appropriate hand wash is proved to          •   Patient experience                           including controlled medicines, medical
       prevent the majority of the Hospital            Acknowledging that every patient             equipment and consumables of high
       Acquired Infections (HAI). Regular              visit is a high stake interaction which      quality and ensures they are readily
       education and training apart, hand              patients might perceive as a positive        available to healthcare institutions.
       hygiene guidelines are part of an               or negative experience, NMC consistently




       NMC Super
       Specialty Hospital
       Khalifa City



       250
       Beds


       H1 2015
       Open




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The Group has sufficient controls and            World Heart Day (September 2014)              HalaBaby
processes over the stocking and                  NMC Healthcare conducted one of the           Brightpoint Royal Women’s Hospital has
distribution of medicines. Its warehouses        largest public awareness and education        initiated the HalaBaby programme for
are all compliant with the relevant              drives in the UAE on heart diseases           educating, coaching and training of
regulatory standards stipulated by the           and cardiac care where almost 15,000          pregnant women. It is aimed at preparing
respective authorities.                          people (a significant increase on 2013        the patient for their pregnancy journey,
                                                 levels) received free health check-ups        health education, safety and understanding
RESPONSIBILITIES TO COMMUNITY                    comprising of Blood Pressure, Body Mass       how to deal with unexpected events.
NMC Health is always at the forefront            Index (BMI), Blood glucose and cholesterol    The initiative also includes interactive
of building a healthier society and              measurements. The week-long initiative        counselling sessions and group education
a safer future for generations to come.          from 22 -29 September 2014 was held at        with an opportunity to interact with other
Community outreach programmes are                selected NMC Healthcare hospitals and         families as well as advice on a healthy
one of the ways we contribute towards            centres across Abu Dhabi, Dubai, Sharjah      diet provided by a specialised nutritionist.
enhancing the health of the society and          and Al Ain.
the nation. Quality medical care is always                                                     BUSINESS ETHICS
a priority but we also undertake hundreds        NMC Healthcare also launched a ‘Dedicate      The Group is proud of the values with
of community initiatives over the year           a Beat’ campaign which allowed users          which it conducts its business activities
including the NMC Health Index, blood            to dedicate-a-beat on social media. For       and encourages all of its employees to
donation camps, health awareness                 each dedication, NMC Healthcare pledged       uphold these values and the highest
programs, free health screenings and             to offer free heart check-ups to people       levels of business ethics and personal
hygiene workshops among others. The              in need.                                      integrity in all types of transactions and
following section will provide a few                                                           interactions. In this respect the Group has
examples of our Community Health                 NMC also sent its teams to private            the following policies in place which all
Awareness program.                               companies and government ministries to        employees of the Group are subject to:
                                                 perform health checks for their employees.
NMC Health Index (April 2014)                                                                  Code of Business Conduct and Ethics
NMC Healthcare launched the UAE’s first          Blood Donation Camp                           This Code sets out how employees
health index (www.healthindex.ae) in April       NMC Healthcare organised a blood              should act in a range of different
2014. By evaluating the physical, social         donation camp at NMC’s Distribution           areas including:
and emotional aspects of the overall             facilities in Al Ain on 2 August 2014 and     • potential conflicts of interest;
health of UAE residents, NMC Health Index        Abu Dhabi on 3 August 2014 as part of         • dealing with matters fairly as regards
is aimed at strengthening NMC’s efforts          the birthday celebrations of Dr B.R. Shetty      competitors, suppliers, customers
to create a healthier society.                   – Executive Vice Chairman & CEO, NMC             and colleagues;
                                                 Health. NMC believes that there is no         • maintaining confidentiality in all areas
NMC Health Index gives a deeper insight          greater gift than the gift of life and such      of the business;
of the health conditions of the residents        initiatives help in spreading awareness       • compliance with all laws and
of UAE and raises awareness about the            within the community on the importance           regulations; and
country’s health issues. NMC Health Index        of blood donation and how even a drop of      • the protection and proper use of
was launched at a press conference held          blood can be instrumental in saving a life.      Group assets.
in Dubai Healthcare City with an audience
comprising of over 50 journalists from
varied media outlets, including major daily
newspapers, TV channels, radio stations
and online publications.




S                                                S                                             S
NMC Healthcare launched the UAE’s first health   World Heart Day – NMC Healthcare sent teams   Blood Donation Camp – NMC Healthcare
index in April 2014.                             to perform health checks for employees.       organised a blood donation camp at NMC’s
Source: The Gulf Today (23 April 2014)           Source: Khaleej Times (23 September 2014)     Distribution facilities.


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   Anti-Bribery, Anti-Corruption, Gifts            Given the principal activities of the Group,
   and Entertainment Policy                        NMC Healthcare employees are issued                The Group Strategic Report set out
   This Policy sets out the rules and              with specific guidance in relation to              on pages 9 to 33 has been approved
   obligations of employees in relation to:        attendance at pharmaceutical conferences           by the Board and is signed on its
                                                   and clinical training events. Employees            behalf by:
   •   the offer or acceptance, or the             of NMC’s Distribution division are also
       engagement in any activity that             specifically made aware, as part of their
       gives the appearance of accepting           training activities, of the potential issues
       or accepting, a bribe;                      which may arise ethically in their dealings        Dr B.R. Shetty
   •   the offer or acceptance of gifts or         with the division’s Principals and Customers.      Executive Vice Chairman & CEO
       entertainment;
   •   prohibition of facilitation payments;       The Group also has in place a
   •   any payment of charitable                   Whistleblowing procedure which is made
       contributions or political donations; and   aware to all employees of the Group and
   •   the procedure for engaging any              is available on the Company’s Employee
       third parties.                              intranet site.

   All employees have been provided with
   a copy of these policies, as well as
   guidelines relating to them, and are
   aware of the significance of these policies
   to the Group. The Company also ran
   a series of workshops to explain these
   policies to employees in more detail.
   New employees receive training on all
   company policies and procedures as part
   of their induction program. A copy of the
   policies is included on the Company’s
   employee intranet.




       NMC Specialty
       Hospital
       Dubai



       100
       Beds


       US$175
       Revenue per patient




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   Governance                                                                                In this section:
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                                                                                                  Senior Management
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   The Board is responsible for, and committed to, ensuring that      COMPLIANCE WITH THE UK CORPORATE GOVERNANCE CODE
   procedures are in place so that good standards of corporate        The Board has reviewed the Company’s compliance against the
   governance are operated at all levels in the Group in accordance   provisions of the Code. There is only one set of Code provisions
   with the guidance and principles set out in the UK Corporate       with which the Company has not complied with in 2014, and one
   Governance Code. In this report, the Board reviews its             code provision which was not complied with for a short period
   compliance against the UK Corporate Governance Code                of the 2014 Financial Year. This is significantly less than when
   published by the Financial Reporting Council in September 2012     compared with non-compliance experienced in the first full year
   (the “Code”). The Code can be found on the Financial Reporting     following the Company’s IPO in April 2012. These provisions are
   Council website, frc.org.uk.                                       stated and an explanation of non-compliance provided below.

   The Board, supported by its Committees and the Senior              •   Provision A.4.1 of the Code.
   Management team, have in place a governance and control                The Company did not have a Senior Independent Director for
   environment which they believe is appropriate for the NMC              the period from 1 January 2014 to 20 January 2014. Jonathan
   Group and that would be expected of a FTSE 250 Company                 Bomford was appointed as Senior Independent Director on
   listed on the Premium Segment of the London Stock Exchange.            21 January 2014 and continues to serve in that role. The
   The Board ensures that governance processes are documented             Company was therefore compliant with this provision of
   and implemented and, where appropriate, continue to be                 the Code for the majority of the 2014 financial year.
   improved. This Corporate Governance report describes how the       •   Board appraisals and evaluation process.
   Board has applied Corporate Governance principles during the           Provisions B.6, B.6.1 and B.6.3 of the Code. The Board has not
   2014 financial year.                                                   to date undertaken a formal and rigorous annual evaluation
                                                                          of its own performance and that of its committees and
                                                                          individual directors. The Company therefore did not comply
                                                                          with provisions B.6, B.6.1 and B.6.3 of the Code during 2014.
                                                                          The Board will assess a preferred process for proceeding
                                                                          with such an appraisal and evaluation in 2015, but given the
                                                                          significant change in the membership of the Board during
                                                                          2014, such an evaluation was considered to be inappropriate
                                                                          in the year under review.

                                                                      Unless otherwise stated above or in the Corporate Governance
                                                                      Report, the Board believes that it has been compliant with the
                                                                      remaining provisions of the Code for the 2014 Financial Year.




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BOARD OF DIRECTORS




H.J. MARK TOMPKINS                                                        DR B.R. SHETTY
Independent Non-Executive Chairman, aged 74 (NC)                          Executive Vice Chairman & CEO, aged 72
Mr H.J. Mark Tompkins was appointed to the Board of NMC Health            Dr B.R. Shetty is the founding partner of NMC and was appointed to
plc in March 2012 and is the Chairman of the Board and of the             the Board of NMC Health plc in July 2011. Dr Shetty has been involved
Nominations Committee. Mr Tompkins has significant public                 in the private healthcare and pharmaceutical sectors since these
company experience having previously served on a total of 11              were established in the UAE nearly 40 years ago.
publicly listed company boards, including five on NYSE, NASDAQ
or junior market U.S. exchange boards and four London Stock               Born in India, Dr Shetty arrived in the UAE in 1973 shortly after the
Exchange Primary Market or AIM boards. A number of these listed           country’s formation. As a trained pharmacist, he opened his first
companies operated in various aspects of the Healthcare sector.           pharmacy in 1975. In 1975 he established the New Medical Centre
                                                                          (NMC), which also included a dedicated dental department.
Mr Tompkins was Non-Executive Chairman of Allied Healthcare
International Inc, one of the UK’s leading providers of domiciliary       NMC has since grown to become the UAE’s largest private sector
care and healthcare staffing services, from 2007 to 2009, serving         healthcare provider. Today, it has hospitals and clinics across the
as a Director from 2005 to 2009. From 2005 to 2008 he also served         UAE and treats almost two million patients a year.
as Non-Executive Chairman of Healthcare Enterprise Group Plc,
an international healthcare products company which was listed             Dr Shetty’s other business activities include UAE Exchange, a leading
on the AIM market in London. Mr Tompkins served as Conseiller             global money transfer and foreign exchange provider, of which he is
Special aupres du Conseil D’Administration of Sodexo S.A. from            Managing Director and CEO, and investments in hospitality, food and
November 2010 to August 2012 after serving as a Non-Executive             beverage, pharmaceutical manufacturing and real estate.
Director from 2002 to 2010 and a member of its Audit Committee
for six of those eight years. Other previous directorships have           Dr Shetty received the Order of Abu Dhabi in 2005, the country’s
included Abbey Healthcare Group Inc., and Apria Healthcare Group          highest civilian award, for contribution to the development of the
Inc. Prior to his non-executive director roles, Mr Tompkins served as     community and the cause of the Emirate, as well as the Padma Shri
the Chief Executive Officer of Compagnie Financiere Haussmann, a          Award from the government of India in January 2009.
publicly listed company in France involved in property development,
investment and management.                                                In addition to his business activities, Dr Shetty is involved in several
                                                                          philanthropic causes. He has supported the development of
Mr Tompkins began his career in investment banking in 1964 with           a medical institution in the north Indian state of Uttaranchal and
Samuel Montagu & Company (now HSBC). From 1965 to 1971, he                is the founder and patron of the Indian Pharmaceutical Association
was a Management Consultant with Booz Allen Hamilton, Inc.,               in the UAE.
working on assignments in the UK, continental Europe and the U.S.
Mr Tompkins returned to investment banking joining Slater Walker          He is a member of the Advisory Board of the Dubai Economic
Securities group from 1972 to 1974. He subsequently entered into          Department’s Financial Sector, Chairman of the Abu Dhabi Indian
international real-estate development from 1974 to 1987 investing in      School, Founder and Vice President of the Swiss Business Council,
both residential and commercial assets across the Middle East, the        and Founder of the Australian Business Council, the Canadian
United States and Europe.                                                 Business Council, the Netherlands Business Group and the Philippines
                                                                          Business Council.
Since 1987, he has been focussed on financing small and medium
sized enterprises whilst also contributing at board level of a number     Dr Shetty is also a member of the Executive Panel of Dubai’s
of listed companies.                                                      Pharmaceutical and Health Equipment Trading Business Group under
                                                                          the Dubai Chamber of Commerce and Industry. A passionate cricket
                                                                          fan, Dr Shetty is the former President of the Abu Dhabi Cricket Council
                                                                          and was the Managing Director of the Abu Dhabi Cricket Club from
                                                                          its inception in 1989 until 2006.

                                                                          Dr B.R. Shetty received a Doctorate from Georgia State University,
                                                                          Atlanta, USA and was invited by the Harvard Business School
                                                                          to attend its Owner/President Management program. He is also
                                                                          a member of the International Advisory Board of Boston
                                                                          University, USA.




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   DR AYESHA ABDULLAH                                                        ABDULRAHMAN BASADDIQ
   Independent Non-Executive Director, aged 48 (AC, CGC)                     Non-Executive Director, aged 66 (RC, NC)
   Dr Ayesha Abdullah was appointed to the Board of NMC Health plc           Mr Abdulrahman Basaddiq was appointed to the Board of NMC
   in June 2014 and is a member of the Audit Committee and Clinical          Health plc in February 2014 and is a member of the Remuneration
   Governance Committee. Dr Abdullah is an industry professional             Committee and Nominations Committee. He has significant
   with more than 20 years of experience in the healthcare industry.         business experience across a number of business sectors in the
                                                                             Middle East.
   Dr. Ayesha Abdullah has recently been appointed the Executive
   Dean of Health Sciences and Business at Higher College of                 Mr Basaddiq is a fellow of the Institute of Chartered Accountants in
   Technology. In her capacity as the Executive Dean, she is responsible     England & Wales (FCA) and a licensed auditor and consultant in the
   for academic excellence and advancing linkage with industry.              UAE. He trained and qualified as a chartered accountant with Ernst
   Dr Abdullah is also the Chief Executive Officer of Centre of Excellence   & Young (EY), London and spent over 25 years with EY in the UK and
   for Applied Research and Training and her role is to advance Applied      the GCC, 15 of those as an equity partner. During his period at EY,
   Research and technology innovations.                                      Mr Basaddiq served as the Managing Partner of their Riyadh and
                                                                             Abu Dhabi offices, in addition to responsibilities as UAE Country
   Prior to her current roles, she was responsible for overseeing an         partner in charge.
   independent regulatory authority for all healthcare providers,
   medical educational and research institutions and other businesses        During his tenure in Riyadh with EY, he oversaw the development
   operating within the Dubai Healthcare City Free Zone.                     and implementation of the only Saudisation program within
                                                                             the profession in the Kingdom at the time. He also served as an
   Dr Abdullah previously held the position of the Managing Director         elected member of the firm’s executive committee for eight years,
   of the Science Cluster. She was responsible for managing and              in addition to serving on the human resources committee for a
   formulating the strategic direction of the three major companies          number of years.
   in Dubai for the development of the knowledge based economy-
   namely Dubai Healthcare City Cluster and its subsidiaries, Dubai          Mr Basaddiq spent over 12 years with a number of Gulf based
   Biotechnology & Research Park- Dubiotech and Enpark, a Business           diversified groups across multiple jurisdictions and sectors including
   Park facilitating the growth of energy and environmental businesses.      healthcare, global public and private equities, venture capital, real
                                                                             estate investment, development and construction, steel trading
   Prior to that Dr Abdullah held the position of CEO of Dubai Healthcare    and fabrication, in addition to food manufacturing, retail and
   City (DHCC). Under her leadership, DHCC rapidly gained a status as        packaging. He also spent over five years serving on two audit
   an internationally recognised location of choice for quality healthcare   committees, chairing one of them, in addition to oversight
   and an integrated centre of excellence for clinical and wellness          responsibilities in the development of audit committees and the
   services, medical education and research. In 2008, DHCC won the           related internal audit functions of other entities, which have grown
   Dubai Quality award and the ‘DHCC Out-Patient Quality Standards’          in size and complexity, to comply with the ever increasing
   were the first Middle Eastern standards to be accredited by The           governance and other regulatory demands.
   International Society for Quality in Healthcare (ISQUa).

   Prior to this, as Chief Executive Officer at the Center for Healthcare
   Planning and Quality (CPQ), Dr Abdullah was responsible for setting
   up and upholding healthcare standards within DHCC. She also
   played a key role in establishing CPQ into a premier regulatory body
   in the industry.

   In October 2009, Dr Abdullah received the prestigious ‘Leading
   Woman CEO’ Award, marking a milestone in her achievements and
   recognizing her strategic management and leadership acumen that
   significantly contributed to the healthcare cluster’s growth. She was
   also awarded the L’ Officiel Arab Women of the Year in 2010.

   She holds a bachelor’s degree in Biomedical Engineering from
   Marquette University in Wisconsin, USA, an MBA with an emphasis
   on Finance and a PhD in Strategy Management & Planning Studies
   from Sheffield University in the UK.




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BOARD OF DIRECTORS CONTINUED




JONATHAN BOMFORD FCA                                                      LORD CLANWILLIAM
Senior Independent Non-Executive Director, aged 66 (AC, RC)               Independent Non-Executive Director, aged 54 (RC, NC)
Mr Jonathan Bomford was appointed to the Board of NMC Health              Lord Clanwilliam was appointed to the Board of NMC Health plc in
plc in June 2013 and is the Chairman of the Audit Committee. He is a      March 2012 and is the Chairman of the Remuneration Committee.
Chartered Accountant and has significant accounting, financial and        He has significant business experience in the Middle East and
audit experience gained principally in the Middle East and East Africa.   on the Boards of overseas companies listed on the London
Mr Bomford is the Company’s Senior Independent Director                   Stock Exchange.

Mr Bomford is a qualified Chartered Accountant who spent 24 years         Lord Clanwilliam is an international businessman and high-level
with EY in a number of roles in the Middle East and East Africa           government and financial communications specialist possessing
including Abu Dhabi, Riyadh, Dubai and Jeddah. For his last 15 years      over 30 years of business and political experience across a broad
with EY, he was a partner with a number of international clients          range of sectors, including mining, drilling, oilfield services and
across a range of sectors including healthcare, oil, banking and          operational management and consultancy. During his career, Lord
construction.                                                             Clanwilliam has established an extensive network of senior level
                                                                          governmental and institutional contacts across the Middle East,
In 2000, Mr Bomford retired from EY and since then has undertaken         the United Kingdom and Eastern Europe. He is currently Chairman
a number of roles including a Board Member of an Agricultural             of Eurasia Drilling Company, a drilling and work-over company
Trust funding agricultural projects and an Official Mentor providing      operating in Eurasia and listed on the Premium Segment of the
Business Advice and Services to clients of the Prince’s Trust.            London Stock Exchange. He is also a Non-Executive Director of
                                                                          Polyus Gold OJSC, a Russian gold mining company listed on the
                                                                          Premium Segment of the London Stock Exchange. Lord Clanwilliam
                                                                          is the Founding Partner and Chairman of Gardant Communications
                                                                          Limited, a political, strategic, financial and litigation communications
                                                                          company based in London and Senior Advisor to Milio International
                                                                          Limited, a British owned and operated commodities and logistics
                                                                          company.

                                                                          Lord Clanwilliam graduated from Eton College in 1978 and from
                                                                          The Royal Military Academy, Sandhurst in 1979 after which he
                                                                          served for four years with the 1st Battalion Coldstream Guards.




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   SALMA HAREB                                                               HEATHER LAWRENCE OBE
   Independent Non-Executive Director, aged 49 (RC)                          Independent Non-Executive Director, aged 65 (AC, CGC)
   Mrs Salma Hareb was appointed to the Board of NMC Health plc              Mrs Heather Lawrence OBE was appointed to the Board of
   in June 2014 and is a member of the Remuneration Committee.               NMC Health plc in March 2012 and is the Chairman of the Clinical
   She has significant business experience business and is a                 Governance Committee. Mrs Lawrence has significant operational
   recognized leading businesswoman in the Middle East.                      experience in the healthcare sector as well as operating on a
                                                                             number of UK Governmental Boards.
   Mrs Salma Hareb, is the CEO of Economic Zones World (EZW) and
   spearheads innovative product development to provide greater              Mrs Lawrence has over 20 years’ experience as a Chief Executive
   value to EZW customers. She has been instrumental in the creation         Officer in the hospital and healthcare sector. From 2000 to July 2012
   of the Dubai Logistics Corridor, which quadruples Dubai’s logistics       she served as CEO of the Chelsea and Westminster Hospital, which
   efficiencies.                                                             gained NHS Foundation Trust status in 2006. Prior to 2000 she served
                                                                             as CEO of North Hertfordshire NHS trust from 1996 to 2000 and
   Under her leadership, Jebel Ali Free Zone (Jafza) the flagship Free       Hounslow and Spelthorne Community and Mental Health Trust from
   Zone of Economic Zones World, has been recognized as one of               1989 to 1996.
   the most efficient Free Zones in the World, with a customer base
   of more than 7,300 companies, and 120 of the Global Fortune 500           Mrs Lawrence chaired the UK-wide negotiations for the Staff and
   enterprises, with total non-oil trade of US$90.2 billion, contributing    Associate Specialists (SAS) Doctors contract during 2004 to 2006
   more than 20 percent to Dubai’s GDP.                                      and chaired the “Agenda for Change” three-year pay deal for non-
                                                                             medical staff on behalf of NHS employers during 2006 to 2009.
   As head of Economic Zones World, she also leads Technopark, the           She has also served as a Commissioner for the UK Prime Minister’s
   company’s research and development initiative in core economic            Commission for the Future of Nursing and Midwifery and was a
   sectors including Water, Health, Energy, Engineering, e-Commerce          Founding Member of the Dr Foster Global Comparators Founders
   and Logistics, as well as Dubai Auto Zone (DAZ), a comprehensive          Board, which is an initiative to share comparative health data with
   market place for the Auto Industry catering to buyers, sellers, service   other leading medical institutions in various countries to improve
   providers, principals and traders.                                        clinical quality. Mrs Lawrence originally trained as a nurse at St
                                                                             Mary’s Hospital Paddington and is a Chartered Fellow of the Institute
   Internationally, she is actively overseeing Economic Zones World’s        of Personnel Management.
   development of a logistics park in South Carolina, USA, Special
   Economic Zones in India, and a Free Zone in Djibouti, Africa.             She was appointed, by Secretary of State for Health, as a Non-
                                                                             Executive Director of Monitor, the NHS Regulator, in July 2012.
   Prior to her role as CEO, she worked as Jafza’s Chief Planning            Mrs Lawrence was awarded an OBE in the 2010 New Year Honours
   Officer, responsible for strategic planning, business development,        List for her services to healthcare.
   finance, and human resources. Before that she worked as Chief
   Haematologist in the Department of Health and Medical Services.
   She completed her education in the UAE and the UK, in the fields of
   Medical Sciences, Information Technology and Business in addition
   to a one year post graduate study in Haematology at the University
   of Cardiff.

   Mrs Salma Hareb’s distinctive initiatives and achievements have
   been recognised with several awards over the years.

   Most recently, she received the Frost & Sullivan Growth, Innovation
   and Leadership Award 2014, and last year, she was named the
   “Overall Winner - Professional Category” in Emirates Women
   Awards 2013.

   Her array of awards over the years includes the ‘Women CEO
   Excellence Award’ conferred at the 9th Middle East CEO of the
   Year Awards; the ‘Asian Business Leadership Award’ at the Asian
   Business Leadership Forum Awards; the ‘Woman CEO of the Year’
   at the Women in Leadership (WIL) Forum and “Business Women
   Award 2006 for Leadership”.

   She was also recognized as the 2nd most influential Arab woman
   in Government in the Middle East and North Africa region by Forbes
   Middle East in 2013 and was also rated among the 100 most powerful
   Arab Women earlier by CEO Middle East as well as the Asian
   Business Magazine. She was declared one of the most influential
   business women in the region by MEED magazine in 2008. She also
   topped Forbes Arabia’s list of the 50 most powerful Arab business
   women in the same year.



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BOARD OF DIRECTORS CONTINUED




PRASANTH MANGHAT                                                            KEYUR NAGORI
Deputy Chief Executive Officer, aged 40                                     Non-Executive Director, aged 36
Mr Prasanth Manghat was appointed to the Board of NMC Health                Mr Keyur Nagori was appointed to the Board of NMC Health plc
plc in June 2014 and to the role of Deputy Chief Executive Officer          in June 2014 and is a Non-Executive Director.
in January 2015.
                                                                            Mr Nagori has a background working in International audit firms
Mr Manghat has had a number of roles within NMC related                     including Deloitte and KPMG for 8 years. During this time he had
businesses for the last 12 years including, prior to his current role,      significant experience in the audit of multinational and local
as Chief Financial Officer of NMC Health for 5 years. As CFO, he was        companies in both India and Abu Dhabi.
primarily responsible for running the Company’s finance function
including treasury, corporate finance and accounting. Mr Manghat            For the last 10 years, he has been working within the finance
spearheaded NMC Healthcare’s successful listing on the Premium              department of KBBO Group based in Abu Dhabi and he is currently
Segment of the London Stock Exchange (LSE) in April 2012. This              Chief Financial Officer of KBBO Group.
was a landmark transaction in many ways, being the first UAE
company to list on the LSE and raising US$187 million in the                Mr Nagori was an Alternate Director to the Company’s previous
process. Mr Manghat has played a major role in the growth of                Director, H.E. Saeed Bin Butti, from June 2013 to February 2014.
the NMC businesses both prior to and since the IPO.

Mr Manghat was honoured with the “CFO of the Year” award – 2012
by ICAEW, Middle-East.

He was also conferred with the prestigious award for “Excellence
in Finance” by the Institute of Chartered Accountants of India, Abu
Dhabi Chapter in Nov, 2012 and “Professional Excellence Award in the
Healthcare Sector” by ICAI UAE (Dubai) Chapter in May 2013.

Prior to joining NMC, Mr Manghat has worked as Credit and
Operations Head with Kotak Mahindra Finance, one of the leading
non-banking financial institutions in India. A Fellow member of
the Institute of Chartered Accountants of India (FCA), Bachelor of
Science (1995), MG University, Kerala, India, CIA, ACCA from UK (2004)
and pursuing CA (Institute of Chartered Accountants of England and
Wales), he has 14 years of experience in management of treasury
and banking functions, corporate finance, accounting and financial
reporting activities.

Mr Manghat assumed the role of Deputy Chief Executive Officer
of NMC Health plc with effect from 1 January 2015. In his new role,
Mr Manghat’s responsibility will extend to cover strategic matters
and to support the Chief Executive Officer with planning and
strategy execution across both of NMC’s Divisions.




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   BINAY SHETTY                                                               DR NANDINI TANDON
   Non-Executive Director, aged 31                                            Independent Non-Executive Director, aged 52 (CGC)
   Mr Binay Shetty was appointed to the Board of NMC Health plc               Dr Nandini Tandon was appointed to the Board of NMC Health plc
   in June 2014 and is a Non-Executive Director. Prior to January 2015        in June 2014 and is a member of the Clinical Governance
   he was Chief Operating Officer for the Group.                              Committee. She has significant experience in healthcare investment
                                                                              and innovation.
   Since 2010, Mr Binay Shetty has been overseeing operations
   of NMC Health’s healthcare and distribution divisions. He is also          Dr Tandon is presently engaged in investing in healthcare and
   closely involved with the HR, Marketing, IT and Projects units of          healthcare/IT in USA, UAE and India. Dr Tandon has extensive
                                                                              board experience. She is currently Vice Chairman of the Board of El
   the organisation.
                                                                              Camino Hospital, Silicon Valley, California and Chair of its Executive
                                                                              Compensation Committee and Vice-Chair of its Governance
   Prior to his current role, he was an Executive Director of NMC             and Finance Committees. Additionally she has served on 12 high
   Healthcare LLC with responsibility for strategic planning and              tech proprietary company boards in the USA. Dr Tandon’s past
   governance and the management of new projects.                             investments and Board roles include, IDUN (acquired by Pfizer),
                                                                              U-Systems (acquired by General Electric), KAI Pharmaceuticals
   Prior to holding this position, from 2004-2010 he was an Executive         (acquired by Amgen), Ception Therapeutics (acquired by Cephalon),
   Director of NMC with responsibility for strategic planning and             Conforma Therapeutics (acquired by Biogen Idec), Corus Pharma
   governance and the management of new projects. From 2006                   (acquired by Gilead Sciences), Acorda Therapeutics (NASDAQ: ACOR),
   to early 2011 he was also Head of Investments for BR Shetty                Alexza (NASDAQ: ALXA), Guava Technologies (acquired by Millipore),
   Pvt Investments, and from 2004 to 2006 he was Business Co-                 Ambit Biosciences, Saegis Pharmaceuticals and Cell Biosciences.
   ordinator at Neopharma – Abu Dhabi’s premier pharmaceutical                Dr Tandon has been a venture capitalist in Silicon Valley for over 10
   manufacturing company.                                                     years and was Managing Director, Lumira/MDS Capital in Palo Alto
                                                                              with US$1.2bn under management and before was Partner, Royal
   Mr Shetty is a director of UAE Exchange, a leading global remittance       Bank of Canada’s RBC Capital Partners, in San Francisco.
   and foreign exchange provider.
                                                                              She is on multiple not for profit boards which are committed to
                                                                              global innovation, entrepreneurship and healthcare including MD
   He holds a Bachelor of Science in Business Administration with
                                                                              Anderson Center for Entrepreneurship and PD Board, Bay Area
   specialisations in Finance and Entrepreneurship from Boston
                                                                              Council Economic Institute Board, University of California, Berkeley,
   University, Massachusetts, USA.                                            Center for Emerging & Neglected Diseases Board, Chair,”20/20”Vision:
                                                                              Investing in USA & Emerging Markets”, C21 BioVentures Board, TiE
                                                                              Global Board, Stanford University, School of Medicine Career Center’s
                                                                              Advisory Council and San Francisco-Bangalore Sister City initiative’s
                                                                              board and co-Chair for its SF-India focus.

                                                                              Dr Tandon is a strong champion for global investments in
                                                                              healthcare, entrepreneurship and innovation. She was delegate for
                                                                              President Obama’s US State Department’s Global Entrepreneurship
                                                                              program to Turkey, delegate for Secretary Hillary Clinton’s Women
                                                                              and Economy Summit, moderator for Healthcare focus of US
                                                                              Senator’s Congressional delegation to India, spoke at Milken
                                                                              Conference for Obama-Care and spoke at Clinton Global Initiative for
                                                                              Women in Technology, chaired investment focus for Super Return
                                                                              Conference in Geneva, San Francisco and Dubai, spoke at Secretary
                                                                              Geithner for US Department of Treasury’s symposium on Women in
                                                                              Finance and recently co-chaired Healthcare delegation of Mayor of
                                                                              San Francisco to India. Dr Tandon has strong operational experience
                                                                              as Chief Business Officer of Zyomyx Inc., Vice President of BD, Hyseq
                                                                              Inc. and BD Mangaer at Chiron Corp. A White House Intern, Nandini
                                                                              received her Ph.D. in biochemistry, Phi Lambda Upsilon from Duke
                                                                              University, North Carolina and her B.A. cum laude, Sigma Xi, Phi Beta
                                                                              Kappa from Hollins University, Virginia.

                                                                              In January 2015 Dr Tandon received the Pravasi Bharatiya Samman
                                                                              2015 award in Gandhinagar, India for her work in, life sciences and
                                                                              Healthcare and IT in USA and India along with other emerging markets.

                                                                              This award is conferred by the President of India and is the highest
                                                                              honour conferred on overseas Indians honoring exceptional and
                                                                              meritorious contribution in their chosen field.

                                                                              From 25 million global overseas Indian diaspora, 15 received this
   AC – member of the Audit Committee                                         prestigious award including 3 American citizens, Dr.Nandini Tandon
   RC – member of the Remuneration Committee                                  in life sciences and healthcare, Mr. Satya Nadella, CEO of Microsoft
   CGC - member of the Clinical Governance Committee                          in computers and Dr.Lulla, Chief scientist, Earth observation, NASA
   NC - member of the Nominations Committee                                   for aeronautics.


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SENIOR MANAGEMENT




DR B.R. SHETTY                                                            PRASANTH MANGHAT
Executive Vice Chairman & CEO, aged 72                                    Deputy Chief Executive Officer, aged 40
Mr B.R. Shetty is the founding partner of NMC and was appointed to        Mr Manghat has had a number of roles within NMC related
the Board of NMC Health plc in July 2011. Dr Shetty has been involved     businesses for the last 12 years including, prior to his current role,
in the private healthcare and pharmaceutical sectors since these          as Chief Financial Officer of NMC Health for 5 years. As CFO, he was
were established in the UAE nearly 40 years ago.                          primarily responsible for running the Company’s finance function
                                                                          including treasury, corporate finance and accounting.
Born in India, Dr Shetty arrived in the UAE in 1973 shortly after the
country’s formation. As a trained pharmacist, he opened his first         Mr Manghat spearheaded NMC Healthcare’s successful listing on
pharmacy in 1975. In 1975 he established the New Medical Centre           the Premium Segment of the London Stock Exchange (LSE) in April
(NMC), which also included a dedicated dental department. NMC has         2012. This was a landmark transaction in many ways, being the first
since grown to become the UAE’s largest private sector healthcare         UAE company to list on the LSE and raising US$187 million in the
provider. Today, it has hospitals and clinics across the UAE and          process. Mr Manghat has played a major role in the growth of the
treats almost two million patients a year. Dr Shetty’s other business     NMC businesses both prior to and since the IPO.
activities include UAE Exchange, a leading global money transfer and
foreign exchange provider, of which he is Managing Director and CEO,      Mr Manghat was honoured with the “CFO of the Year” award
and investments in hospitality, food and beverage, pharmaceutical         – 2012 by ICAEW, Middle-East. He was also conferred with the
manufacturing and real estate.                                            prestigious award for “Excellence in Finance” by the Institute of
                                                                          Chartered Accountants of India, Abu Dhabi Chapter in Nov, 2012 and
Dr Shetty received the Order of Abu Dhabi in 2005, the country’s          “Professional Excellence Award in the Healthcare Sector” by ICAI UAE
highest civilian award, for contribution to the development of the        (Dubai) Chapter in May 2013.
community and the cause of the Emirate, as well as the Padma Shri
Award from the government of India in January 2009. In addition to        Prior to joining NMC, Mr Manghat has worked as Credit and
his business activities, Dr Shetty is involved in several philanthropic   Operations Head with Kotak Mahindra Finance, one of the leading
causes. He has supported the development of a medical institution         non-banking financial institutions in India. A Fellow member of
in the north Indian state of Uttaranchal and is the founder and           the Institute of Chartered Accountants of India (FCA), Bachelor of
patron of the Indian Pharmaceutical Association in the UAE. He is a       Science (1995), MG University, Kerala, India, CIA, ACCA from UK (2004)
member of the Advisory Board of the Dubai Economic Department’s           and pursuing CA (Institute of Chartered Accountants of England and
Financial Sector, Chairman of the Abu Dhabi Indian School, Founder        Wales), he has 14 years of experience in management of treasury
and Vice President of the Swiss Business Council, and Founder of          and banking functions, corporate finance, accounting and financial
the Australian Business Council, the Canadian Business Council, the       reporting activities.
Netherlands Business Group and the Philippines Business Council.
                                                                          Mr Manghat assumed the role of Deputy Chief Executive Officer
Dr Shetty is also a member of the Executive Panel of Dubai’s              of NMC Health plc with effect from 1 January 2015. In his new role,
Pharmaceutical and Health Equipment Trading Business Group                Mr Manghat’s responsibility will extend to cover strategic matters
under the Dubai Chamber of Commerce and Industry. A passionate            and to support the Chief Executive Officer with planning and
cricket fan, Dr Shetty is the former President of the Abu Dhabi Cricket   strategy execution across both of NMC’s Divisions.
Council and was the Managing Director of the Abu Dhabi Cricket Club
from its inception in 1989 until 2006.

Dr B.R. Shetty received a Doctorate from Georgia State University,
Atlanta, USA and was invited by the Harvard Business School
to attend its Owner/President Management program. He is also
a member of the International Advisory Board of Boston
University, USA.




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   DR CHANDRAKUMARI R. SHETTY                                              ROY CHERRY
   Group Medical Director                                                  Head of Strategy & Investor Relations
   Dr Shetty is the Group Medical Director of NMC Health. Along with       Mr Cherry works closely with the Executive Vice Chairman & CEO
   her husband, Dr B.R. Shetty, she has been a pioneer in establishing     and Deputy CEO on NMC Health’s strategy.
   and developing the private healthcare sector in the UAE.
                                                                           He also leads the Group’s investor relations efforts. Mr Cherry played
   Dr Shetty has been instrumental in establishing Centres of              an instrumental role in the re-rating of NMC’s shares by investors
   Excellence in various units of NMC Healthcare. She has been             and analysts, with the company’s shares being among the top-10
   actively involved in the conception, planning, design, execution and    best performing on the London Stock Exchange in 2013.
   management of various healthcare facilities besides driving critical
   healthcare initiatives. Under her leadership, NMC Specialty Hospitals   His career includes PwC Transaction Services where he advised on
   in Abu Dhabi, Dubai and Al Ain have received accreditation from the     feasibilities and M&A transactions with a combined transaction value
   Joint Commission International (JCI).                                   exceeding US$10bn across a variety of sectors including healthcare.
                                                                           He previously headed the Equity Research Department at SHUAA
   Dr Shetty supervises a diversified multi-cultural workforce within      Capital in Dubai, one of the region’s first and most acclaimed equity
   NMC Health comprising of over 500 doctors and 3,000 medical staff.      research teams. Mr Cherry played an important role on several
   In her present role, Dr Shetty chairs various committees including      regional IPOs including, Saudi Catering, NMC Health, Deyaar, DP World
   Governance, Infection Control, Patient Rights, Care of Patients,        and Royal Jordanian Airlines.
   Quality and Facility Management.
                                                                           Immediately prior to joining NMC Health, Mr Cherry was with Saudi
   Despite her wide ranging responsibilities, Dr Shetty remains rooted     Fransi Capital, where he was the Head of Research & Advisory
   to the basic ethos of the healthcare profession of providing quality    Department. He holds a BSc in Management from the University of
   care with a human touch to all patients by continuing to remain as      London. In addition to English, he is a fluent speaker of both Arabic
   a practicing Physician for over three decades.                          and Swedish.




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SENIOR MANAGEMENT CONTINUED




SURESH KRISHNAMOORTHY                                                    SIMON WATKINS
Chief Financial Officer                                                  Group Company Secretary
Mr Krishnamoorthy was appointed Chief Financial Officer of the           Mr Watkins is Group Company Secretary of NMC Health plc.
Company with effect from 1 January 2015.                                 Mr Watkins joined NMC Health in May 2012 shortly after the Group’s
                                                                         IPO and is responsible to the Board for the Group’s listing obligations,
He joined NMC in December 2000 as an Internal Audit Manager              all Governance matters affecting the Group and, with the Chairman,
and he continued in this role until March 2011. Since April 2011 Mr      for ensuring that the Board operates effectively.
Krishnamoorthy has worked as a senior member of NMC’s finance
team, having significant involvement in the Company’s IPO and in         He has 25 years of experience as a Company Secretary, principally
the Company’s major fund raising initiatives. Prior to be appointed      within UK companies having a London Stock Exchange Listing
as Deputy Chief Financial Officer in July 2014, he was responsible       on either the Main Market or on AIM. Previous experience includes
for the MIS and Corporate Planning portfolio including close             Deputy Group Secretary of Rank Group plc and four years as Group
involvement in the Group’s internal and external audits and other        Company Secretary of lastminute.com plc. Mr Watkins’ primary
Audit Committee activities since its inception following IPO.            experience in the last 14 years has been within businesses focussed
                                                                         on strategic and acquisitive growth
Prior to joining NMC, he worked as Assistant Finance Manager in
Kerala Industrial Infrastructure Corporation (KINFRA), a Government      Mr Watkins is an Associate Member of the UK Institute of Chartered
agency involved in the development of infrastructure in the State        Secretaries and Administrators.
of Kerala.

Mr Krishnamoorthy qualified as a Chartered Accountant from the
Institute of Chartered Accountants of India in Nov 1998. He has
16 years of experience in the field of audits, corporate finance,
accounting and financial reporting activities.




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   DIRECTORS’ REPORT



   The Directors of NMC Health plc (the “Group” or the “Company”) are pleased to submit their Annual Report and audited financial
   statements of the Group and the Company for the financial year ended 31 December 2014.

   Information in the Group Strategic Report on pages 9 to 33, which constitutes a fair review of the business required by the
   Companies Act 2006, and in the Corporate Governance Report on pages 49 to 66, is incorporated into this Directors’ Report
   by reference.

   The details of salaries, bonuses, benefits and share interests of directors are shown in the Directors’ Remuneration Report on pages
   67 to 85.

   RESULTS AND DIVIDENDS
   The Group results are shown in the Consolidated Statement of Comprehensive Income on page 91. Profit after taxation for the
   year was US$77.5m (2013: US$69.1m). Factors influencing the results are discussed in the Business Overview and Financial review
   on pages 18 to 25.

   No interim dividend was declared during the year. Subject to shareholder approval, a final dividend of 5.4p per share (2013: 4.4p)
   is proposed, to be paid on 25 June 2015 to shareholders on the Company’s share register on 29 May 2015.

   FUTURE DEVELOPMENTS
   The Group’s strategy and potential future development are outlined in the Group Strategic Report on pages 9 to 33.

   COMPOSITION OF THE BOARD
   The following have served as directors of the Company during the 2014 financial year:

                                                                                                            Date ceased to be
   Director                                      Position                           Date of appointment     a director (if applicable)

   H.J. Mark Tompkins                            Non-Executive Chairman             7 March 2012            -
   Dr B.R. Shetty                                Executive Vice Chairman            20 July 2011            -
                                                 & Chief Executive Officer
   Dr Ayesha Abdullah                            Non-Executive Director             26 June 2014            -
   Abdulrahman Basaddiq                          Non-Executive Director             24 February 2014        -
   Jonathan Bomford                              Non-Executive Director             27 June 2013            -
   Lord Clanwilliam                              Non-Executive Director             7 March 2012            -
   Salma Hareb                                   Non-Executive Director             26 June 2014            -
   Heather Lawrence                              Non-Executive Director             19 March 2012           -
   Prasanth Manghat                              Deputy Chief Executive Officer     26 June 2014            -
   Keyur Nagori                                  Non-Executive Director             26 June 2014            -
   Binay Shetty                                  Non-Executive Director             26 June 2014            -
   Dr Nandini Tandon                             Non-Executive Director             26 June 2014            -
   His Excellency Saeed Bin Butti                Non-Executive Director             20 July 2011            24 February 2014
   Khalifa Bin Butti                             Executive Vice Chairman            20 July 2011            25 March 2014


   No other directors have been appointed to serve during the period from 1 January 2014 to 31 December 2014 or subsequently.

   SHARE CAPITAL
   There have been no changes to the issued share capital of the Company during the year. The issued share capital as at 1 January
   2014 and at 31 December 2014 is £18,571,428 divided into 185,714,286 shares of 10p each. Options granted by the Company over its
   share capital are set out in the Directors’ Remuneration Report on pages 67 to 85.

   Under the articles of association of the Company, all Ordinary shares have equal rights to dividends and capital and to vote at
   general meetings of the Company. There are no restrictions on the size of holding nor on the transfer of shares, which are both
   governed under the terms of the articles of association and relevant legislation. The directors are not aware of any agreements
   between holders of the Company’s shares that may result in restrictions on the transfer of securities or in voting rights.




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DIRECTORS’ REPORT CONTINUED



PRINCIPAL SHAREHOLDERS
As at 23 February 2015, the Company is aware of the following significant shareholdings in the Ordinary shares of the Company:

Shareholder                                          Number of shares          % of issued share capital held                    Nature of holding

Dr B.R. Shetty                                             47,742,409                                  25.7                               Direct
H.E. Saeed Bin Butti                                       43,466,559                                  23.4                               Direct
Khalifa Bin Butti                                          19,059,842                                   10.3                              Direct
Infinite Investment LLC                                    14,072,024                                    7.6                              Direct


The Company has an agreement with Dr B.R. Shetty, H.E. Saeed Bin Butti and Khalifa Bin Butti (“Controlling Shareholders”) under
which the Controlling Shareholders agree to comply with the independence provisions of the UKLA Listing Rules.

POLITICAL DONATIONS
Neither the Company nor any subsidiary company in the Group made any Political donations during the year ended 31 December 2014.

Whilst the Company has no intention of making formal political donations in the future, the Board acknowledge that given the
wide interpretation of such donations, certain business events in which the Company or any of its subsidiaries, or the Board, may
wish to participate may be caught under the formal definition of political donations. The Company will therefore again be seeking
approval from shareholders at this year’s annual general meeting, for a small approved limit for “political donations”, for use in such
circumstances. If this is approved by shareholders, the Board will provide full details of any such payments made in the next
annual report.

GREENHOUSE GAS EMISSIONS
The Company’s disclosure in relation to its greenhouse gas emissions is set out in the Corporate Social Responsibility section on
pages 27 to 33.

CONTRACTS OF SIGNIFICANCE WITH DIRECTORS
Under UAE law and regulations, with the exception of certain specific areas designated by the Government as such, all land
must be held legally by a UAE National. In addition, all healthcare facility and pharmacy operating licences may only be held legally
by a UAE National, and not a body corporate. As a result, some of the property owned beneficially by the Group and all the Group’s
medical facility and pharmacy licences, are held legally in the name of either H.E. Saeed Bin Butti or Mr Khalifa Bin Butti, both
previous Directors and continuing significant shareholders of the Company.

RELATED PARTY TRANSACTIONS
Details of related party transactions are included in Note 27 of the Financial Statements on pages 117 and 118.

DISCLOSURE OF INFORMATION UNDER LISTING RULE 9.8.4C
In accordance with the UK Financial Conduct Authority’s Listing Rules (LR 9.8.4C), the information to be included in the Annual
Report, where applicable, under LR 9.8.4, is set out in this Directors’ Report, with the exception of transactions with controlling
shareholders which is set out on pages 117 and 118 (note 27 to the Consolidated Financial Statements) and interest capitalised
which is set out on page 112 (note 15 to the Consolidated Financial Statements).

SUBSEQUENT EVENTS
New Financing Facility
On 16 February 2015, the Company announced that it has obtained underwriting commitments for a new US$825 million financing
facility from a number of international and regional banks through its subsidiary, NMC Healthcare LLC. The New Facility has been
structured as two separate tranches:

1) an Amortizing Term Loan Facility of US$350 million equivalent to refinance existing indebtedness of NMC and its subsidiaries
   (including the existing JP Morgan syndicated term loan facility) and to provide additional funds for general corporate purposes;
   and
2) a Delayed Draw Acquisition Facility of US$475 million equivalent to facilitate NMC’s ongoing strategy of making phased
   acquisitions that will be accretive to the Company’s underlying business and profitability.

The overall quantum of the New Facility, combined with the Company’s robust balance sheet, is expected to ensure adequate
available liquidity to capitalize on growth opportunities as they are identified.




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   Acquisition of Clinica Eugin
   On 23 February 2015, the Group acquired 86.4% of the issued share capital of Clinica Eugin, a leading global fertility treatment
   provider based in Barcelona, Spain, for a total enterprise value of €143m. Eugin is one of the largest fertility clinics in Europe and
   an established leader in cross-border fertility treatment with patients from the largest Western European countries, as well as the
   MENA region.

   Transfer of Title Deeds
   Subsequent to year end US$5,177,000 of the land and buildings which were held in the name of a previous shareholder for the
   beneficial interest of the Group were transferred into the name of a current UAE national shareholder.

   There were no other events which would have a material effect on the Consolidated Statement of Financial Position between
   31 December 2014 and the date of this report.

   GOING CONCERN
   The Group has two diverse operating divisions, both of which operate in a growing market. The Board have undertaken an
   assessment of the future prospects of the Group and the wider risks that the Group is exposed to. In its assessment of whether
   the Group should adopt the going concern basis in preparing its financial statements, the Board has considered:

   Operating risk: The Board receives monthly management reports covering key operational matters, monthly comparison to
   budget and updated forecasts on a half yearly basis for the full financial year to ensure that the business is trading in line with its
   expectations. The management team prepare a Group budget for each financial year and a cashflow forecast for the following
   18 months which allows the Board to monitor the financial position of the Group and to consider appropriate risks which the
   business may face from a financial perspective.

   Financing risk: The Company has worked to structure its debts for the medium and long term as well as utilising short term
   facilities to meet the Group’s working capital requirements. The funds raised as a result of the share issue undertaken at IPO in
   April 2012 and the US$300m five year syndicated term debt facility, of which US$225m has been drawn down to date, are more
   than sufficient to fund the Group’s material capital projects. The Group has banking arrangements through a spread of local and
   international banking groups. Debt covenants are reviewed by the board each month. The Board believes that the level of cash in
   the Group, the spread of bankers and the improved debt facility terms agreed during 2013 mitigates the financing risks that the
   Group faces from both its capital expenditure program and in relation to working capital requirements.

   Customer and Supplier risk: Both the Healthcare and the Distribution divisions have continued their positive growth trends. All
   major financial and non-financial KPIs showed good improvement during 2014. In NMC Healthcare, trade receivables are monitored
   regularly, provisions made where necessary and the Group has no history of significant bad debts. In the Distribution division, the
   increase in revenue and product flow has an adverse effect on the Group’s working capital position. Trade receivables are monitored
   regularly and management maintain a close working relationship with all major suppliers to monitor performance as well as signs
   of financial risk The Board has reviewed a high level budget for 2015 as well as considered growth forecasts for the healthcare sector
   in UAE, and considers the Group’s future forecasts to be reasonable.

   Impairment risk: The Board has considered the carrying value of inventories, accounts receivable and property and equipment and
   concluded that there are no indicators of material impairment of these items and therefore no material cash flow impact
   associated with any loss in those areas.

   The Board has reviewed the cash flow forecast that has been prepared for the period to 30 June 2016 and this forecast indicates
   that the Group has positive cash flows with sufficient headroom.

   In its review, the Board considered other areas of potential risk, including regulatory risk, insurance and legal risks and potential areas
   of material contingent liability and found no matters which are likely to affect the viability of the Group in the medium term.

   The Directors therefore continue to adopt the going concern basis in the preparation of the financial statements.

   FINANCIAL RISK MANAGEMENT OBJECTIVES
   The financial risk management objectives and policies of the Group are included in note 29 to the financial statements on pages 119
   to 121.

   ANNUAL GENERAL MEETING
   The annual general meeting of NMC Health plc will be held at Allen & Overy LLP, One Bishops Square, London E1 6AD on 16 June 2015
   at 2.00 pm.

   Further details of the resolutions to be proposed at the annual general meeting will be set out in the Notice of Annual General
   Meeting circular which will be circulated separately to shareholders in due course.




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DIRECTORS’ REPORT CONTINUED



AUDITORS
Directors’ statement as to disclosure of information to auditors:

The Directors who were members of the Board at the time of approving the Directors‘ Report are set out on page 45. Having made
enquiries of fellow directors and of the Company‘s Auditor, each of these Directors confirms that:

•    to the best of each Director‘s knowledge and belief, there is no information (that is, information needed by the group‘s Auditor in
     connection with preparing their report) of which the Company‘s Auditor is unaware; and
•    each Director has taken all the steps a Director might reasonably be expected to have taken to be aware of relevant audit
     information and to establish that the Company‘s Auditor is aware of that information.

EY have confirmed that they are willing to be reappointed as auditor for the financial year ending 31 December 2015.

STATEMENT OF DIRECTORS’ RESPONSIBILITIES
The Directors are responsible for preparing the Annual Report, the Directors’ Remuneration Report and the financial statements
in accordance with applicable law and regulations.

The Directors are required by Company Law to prepare financial statements for the Group and the Company in accordance
with the International Financial Reporting Standards as adopted by the European Union (“IFRS”).

The financial statements are required to present fairly for each financial period the Company’s financial position, financial
performance and cash flows. In preparing the Group and parent company financial statements the Directors are also required to:

•    Properly select and consistently apply accounting policies;
•    Present information, including accounting policies, in a manner that provides relevant, reliable, comparable and understandable
     information;
•    Provide additional disclosures when compliance with the specific requirements in IFRS is insufficient to enable users to
     understand the impact of particular transactions, other events and conditions on the entity’s financial position and financial
     performance; and
•    Make an assessment of the company’s ability to continue as a going concern.

The Directors confirm that they have complied with the above requirements in preparing the financial statements. The Directors
also confirm that they consider the annual report and accounts, taken as a whole, is fair, balanced and understandable and
provides the information necessary for shareholders to assess the Company’s performance, business model and strategy.

The Directors are responsible for keeping proper accounting records that are sufficient to show and explain the Company’s
transactions and disclose with reasonable accuracy at any time the financial position of the Company and to enable them to ensure
that the financial statements comply with the Companies Act 2006. The Directors are also responsible for safeguarding the assets
and hence for taking reasonable steps for the prevention and detection of fraud and other irregularities and for the preparation of
a Directors’ report and Directors’ remuneration report which comply with the requirements of the Companies Act 2006.

The Directors are responsible for the maintenance and integrity of the Company’s website. Legislation in the United Kingdom
governing the preparation and dissemination of financial statements differs from legislation in other jurisdictions.

We confirm to the best of our knowledge:

•    The financial statements, prepared in accordance with the International Financial Reporting Standards as adopted by the EU,
     give a true and fair view of the assets, liabilities, financial position and profit or loss of the Company and the undertakings
     included in the consolidation taken as a whole; and
•    The Strategic Report includes a fair review of the development and performance of the business and the position of the
     Company and the undertakings included in the consolidation taken as a whole, together with a description of the principal risks
     and uncertainties they face.

The Directors’ Report was approved by the Board on 23 February 2015 and are signed on behalf of the Board by:

Simon Watkins
Group Company Secretary

NMC Health plc (registered in England and Wales, number 7712220)
23 Hanover Square, London W1S 1JB




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   CORPORATE GOVERNANCE REPORT



   GOVERNANCE FRAMEWORK
   The Company operates within a traditional governance framework




                                                                    CHAIRMAN




                                                                        Board




              Executive Vice Chairman &             Group Company                 Board                  Senior Independent
             CEO and senior management                 Secretary                Committees              Non-Executive Director




                                                  Clinical Governance           Nominations                  Remuneration
                         Audit Committee               Committee                Committee                     Committee




   The roles and responsibilities of each of the individuals and groups above, and their role in the overall governance framework, are
   set out in the remainder of this Governance section.

   HOW THE BOARD OPERATES
   THE ROLE OF THE BOARD
   The Board is responsible to shareholders for the overall conduct of the Group’s business and the performance of management and
   of the Group. The Board has the powers and duties as set out in the Company’s articles of association and the relevant regulations
   applicable to the Company as a registered public listed company registered in England and Wales.

   The Board is primarily responsible for:

   •   determining the strategic direction of the Group;
   •   approving major capital projects, acquisitions and divestments;
   •   setting the annual budget;
   •   monitoring the financial performance of the Group against its targets;
   •   approving annual and half-year results and monitoring shareholder communications;
   •   reviewing the risk management process in place within the Group to ensure that significant risks are monitored and mitigated
       where possible;
   •   promoting good governance within the Group, and seeking to ensure that the Company meets its responsibilities towards all
       stakeholders; and
   •   demonstrating leadership and focussing on matters that affect shareholder value.

   The Board seeks at all times to ensure that there is an appropriate balance between short term and long term considerations and
   objectives of the Group.

   The Company has an agreed formal schedule of matters reserved for the Board which includes approval of strategic plans, financial
   statements, budgets, material investment decisions, acquisitions and divestments. The Board has overall responsibility for the
   effectiveness of the Group’s systems of internal control and the mitigation of the Group’s significant risks and is assisted by the
   Audit Committee in this respect.

   As part of the terms of their appointment, each director agreed that they will act collectively with the rest of the Board to ensure
   the success of the Group. The Board delegates authority in relation to matters which it has not reserved to the Executive Vice
   Chairman & CEO who is responsible for delivering the Company’s strategic objectives.




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CORPORATE GOVERNANCE REPORT
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BOARD COMPOSITION
The names of the directors and their biographical details are set out on pages 36 to 41.

The Board of the Company comprises twelve directors, five of whom have served throughout the year:

•    the Non-Executive Chairman who is considered to be Independent
•    two Executive Directors
•    six Independent Non-Executive Directors
•    three Non-Independent Non-Executive Directors

The Senior Independent Director is Jonathan Bomford, who is available to shareholders should they have any concerns that they
do not wish to raise with the Company or the Chairman directly. The Senior Independent Director can be contacted through the
registered office of the Company at 23 Hanover Square, London W1S 1JB.

PROCESS UNDERTAKEN FOR BOARD APPOINTMENTS DURING THE YEAR
Seven new Directors were appointed to the Board in 2014. Of these appointments, a formal Nominations Committee process was
followed in relation to the appointment of three new Independent Non-Executive Directors and two additional Executive Directors,
one of whom has subsequently become a Non-Executive Director.

Given NMC’s desire to enhance the Board’s cultural, geographic and gender diversity, to reflect among other things, the Group’s
home business market diversity, the Group’s search for the new Independent Non-Executive Directors revolved around informal
discussions with a number of professional firms and individuals in the UAE from which a list of potential candidates, and
subsequently proposals, were produced. This approach ensured that the highest calibre and experienced local professionals could
be attracted to become Directors of the Company. These were considered by the Nominations Committee and recommendations
for the appointment of Directors to the Board were approved.

The decision to appoint the other two non-Independent Non-Executive Directors during the year was considered by the Board as a
whole, which included all members of the Nominations Committee. Both Mr Abdulrahman Basaddiq and Mr Keyur Nagori were
appointed at the request of the Company’s Principal Shareholders under the terms of the Relationship Agreement in place with the
Company.

BOARD DIVERSITY
In considering the structural change to the Board during 2014, the Board were keen to ensure that consideration was given to:

•    The cultural and racial mix of the Board considering the Company’s listing in the UK and operations in the UAE, as well as global
     drivers and practice in healthcare related services;
•    The conclusions of the Davis Report on Women on Boards and in particular the benefits of significant male and female
     representation on the Board; and
•    The new skills and experience that additional Directors could bring to complement the existing Board.

The constitution of the current Board is diverse in terms of gender and in relation to its experience and cultural and racial mix.

•    Four of the Board Members (33%) are female;
•    Four of the Board Members (33%) reside and have significant experience in UK businesses;
•    Seven of the Board members (58%) are resident in the UAE, the Group’s home market, and have significant business experiences
     in the Middle East and Asian markets;
•    One member of the Board is resident in the USA and has experience of the US healthcare market and in relation to investment
     in healthcare assets;
•    Seven of the Board members (58%) have significant operational or regulatory experience of healthcare services, contributing
     experience from different parts of the World

Individual Directors also bring a number of other attributes and experiences.

The Board will continue to consider appropriate skills, gender and cultural balance when reviewing future Board appointments.




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   The Board considers that the extensive and diverse business, cultural and operational experience of all the Directors, both
   Independent and non-Independent, ensures a good balance in all aspects of Group decision making and control. The above
   attributes also enable the Board to take account of diverse and independent judgement to bear on key issues of:

   •   strategy, including constructively challenging the strategic direction of the Group;
   •   scrutinising and challenging the performance of the Group;
   •   assessing risk and controls operating within the Group and in its decision making; and
   •   standards of conduct and governance and other matters presented to the Board.

   Similar practices to ensure a diverse employee base is also operated within the Group’s businesses and this is summarised in the
   Corporate Social Responsibility report on pages 27 to 33.


   BOARD INDEPENDENCE
   The Board considers the following Directors to be independent:

   •   Mark Tompkins
   •   Dr Ayesha Abdullah
   •   Jonathan Bomford
   •   Lord Clanwilliam
   •   Heather Lawrence
   •   Salma Hareb
   •   Dr Nandini Tandon

   Independent Non-Executive Directors met separately to the other directors during the year. During their meetings the Independent
   Non-Executive Directors discussed various board related matters and other matters which, given their position as Independent
   Directors, they considered were of interest to them.

   The Board does not, or in the case of previous Directors of the Company, did not, classify the following as Independent for the
   reasons stated:

   •   His Excellency Saeed Bin Butti until his resignation from the Board on 24 February 2014 because of his significant shareholding in
       the Company.
   •   Khalifa Bin Butti until his resignation from the Board on 25 March 2014 because of his significant shareholding and his Executive
       role in the Company.
   •   Dr B.R. Shetty because of his significant shareholding and his Executive role in the Company.
   •   Abdulrahman Basaddiq, because he was nominated to be appointed a Director by one of the Company’s Principal Shareholders.
   •   Keyur Nagori, because he was recommended for appointment as a Director by one of the Company’s Principal Shareholders and
       is an employee of a company in which that Principal Shareholder has a Controlling Interest.
   •   Prasanth Manghat because of his Executive role in the Company.
   •   Binay Shetty because of his previous Executive role in the Company.

   The Board considers that it is Independent.

   TENURE OF INDEPENDENT NON-EXECUTIVE DIRECTORS
   Provision B.1.1 of the Code suggests that length of tenure is a factor in determining the independence of non-executive directors.
   The table below therefore shows how long each of the Independent Non-Executive Directors have been members of the Board.

                                                                                                               Considered to be independent
                                       Date of appointment            Full Term years to 2015 AGM              by the Board

   H.J. Mark Tompkins                  7 March 2012                   3                                        Yes
   Dr Ayesha Abdullah                  26 June 2014                   1                                        Yes
   Jonathan Bomford                    27 June 2013                   2                                        Yes
   Lord Clanwilliam                    7 March 2012                   3                                        Yes
   Heather Lawrence                    19 March 2012                  3                                        Yes
   Salma Hareb                         26 June 2014                   1                                        Yes
   Dr Nandini Tandon                   26 June 2014                   1                                        Yes




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KEY ROLES AND RESPONSIBILITIES IN THE GOVERNANCE STRUCTURE
The roles of the Chairman and Chief Executive Officer (“CEO”) are separate.

Chairman
The Chairman was appointed to the Board in March 2012 in anticipation of the Company’s IPO. He was independent at the time of
his appointment and is considered to be independent by the Board. The Chairman is responsible for the proper functioning of the
Company’s Board of directors who oversee the strategic direction of the Group including:

•    the effective operation and governance of the Board
•    setting the agenda and coordinating the style and tone of Board discussions
•    ensuring the directors receive accurate and timely information

Chief Executive Officer
The Chief Executive Officer is responsible for identifying, with the senior management team, opportunities that are deemed
appropriate and in line with the Board’s strategic objectives. He is also responsible for delivering the key strategic objectives set by
the Board. The Chief Executive Officer is assisted in this task by the senior management team who meet regularly to review the
performance of the business, the progress of key capital projects, new development opportunities as well as other material matters
arising within the business.

Senior Independent Director
The Senior Independent Director acts as a sounding board for the Chairman and serves as an intermediary for the other Directors
as required. The Senior Independent Director is available to shareholders if they have concerns which they have not managed to
resolve through the normal channels of the Chairman or the Executive Directors, or who feel that such contact is inappropriate for
the concerns that they may have.

Group Company Secretary
The Group Company Secretary acts as Secretary to the Board and to the Board Committees. He assists the Chairman in ensuring
that all Directors have full and timely access to all relevant information and in organising induction programmes for new Directors.
The Group Company Secretary is responsible for ensuring that the correct Board procedures are followed and advises the Board on
corporate governance matters. The appointment and removal of the Group Company Secretary is a matter for the Board as a
whole.

The biographical details of the Chairman, Executive Vice Chairman & CEO and Senior Independent Director can be found on pages
36 to 41. The biographical details of the Group Company Secretary can be found on page 44.

CONFLICTS OF INTEREST
Given the previous history of the Group as a private business, the Board is aware of the interest that some Directors have in other
businesses in which they have invested. Any conflicts of interest and related party transactions that may arise are monitored by:

•    A list of the other interests of each Executive Director being circulated to the Board at each of its Board Meetings;
•    Each of the Directors are asked to confirm that they have no other interests which would conflict them for the purposes of any
     item to be discussed at the meeting; where such conflict is reported, the respective Director is not permitted to take part in the
     consideration of that matter by the Board;
•    Each Director discloses to the Board any related party transactions in which they are connected, and such transactions are
     reported in the Group’s financial statements.

Whilst Directors on the Board have other business interests, the Board do not consider that these, nor the time commitment that
they require, affect the ability of such Directors to undertake their role or comply with their statutory obligations.

BOARD MEETINGS
The Group Company Secretary supports the Chairman in finalising an agenda for each Board meeting and ensuring that
appropriate papers are provided from the management team in a timely manner for circulation in advance of Board and Board
Committee meetings. This is to ensure that fully informed decisions can be reached.




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   The Board considers the following standard matters at each of its Board meetings:

   •   Operational performance through the Executive Vice Chairman & CEO’s report
   •   Financial performance, including monitoring current and forecast trading, cash and debt levels against its expectations
       presented through the CFO report
   •   Progress being made on the Group’s key capital development projects and other potential growth opportunities
   •   Legal and regulatory matters
   •   Investor relations, including an update in relation to activity in the Company’s shares and principal movements of its
       shareholders

   During the course of the 2014 financial year the Board has also considered, as appropriate:

   •   the Group’s half-year and full-year results
   •   interim management statements
   •   updates from the Chair of discussions held at each of the Board Committees
   •   the proposed budget for the following financial year
   •   the Group’s future strategy and potential developments and growth opportunities
   •   the changes made in the Corporate Governance environment
   •   Ongoing review of progress in relation to the implementation of the group’s new IT systems
   •   Monitoring of progress in relation to the Group’s capital development projects
   •   Risk Management and the Group’s approach to risk.

   BOARD EFFECTIVENESS
   Director Induction
   On appointment, directors have the benefit of a personalised induction programme which is undertaken during the first few
   months of their tenure as a director. Each induction programme covers a number of different areas including:

   •   briefings and presentations from management to understand the business operations and financial drivers
   •   their legal and regulatory responsibilities as directors and the governance environment in which the Company operates
   •   opportunities to visit the Group’s key facilities and new capital development project locations
   •   meetings with the Company’s key advisors

   Board information and professional development
   The Directors maintain an appropriate dialogue amongst themselves and with senior management, which ensures that Non-
   Executive Directors are kept up to date with major developments in the Group’s business.

   Following an initial induction process, it is important that the Non-Executive Directors meet with management and undertake
   visits to operational facilities each year in order to further understand the way the business operates and any change within the
   business. Each of the Non-Executive Directors who have been in office for the full financial year have visited Company facilities
   a number of times in 2014, with particular emphasis on monitoring progress in relation to the Company’s key capital projects and
   to oversee the implementation of improving controls and governance within the Group.

   As part of their overall training and development needs, all of the non-executive directors who have served for the full year agreed
   a 2014 training and professional development plan with the Chairman and have attended externally provided seminars and
   discussion forums during the year relating to their general responsibilities as Directors or areas of specific responsibility, in particular
   in relation to the Board Committees on which they serve. The Directors appointed during the year have undertaken an induction
   program as outlined above. Development plans for all board members will be agreed for 2015.

   Performance evaluation
   As mentioned above, the Board did not undertake an evaluation of its own performance during the year to 31 December 2014. Given
   that the enhanced Board has been in office since mid-2014, the Board will consider appropriate processes to formally evaluate the
   performance of directors individually and collectively during 2015.

   Election and re-election of directors
   All of the directors of the Company submit themselves for re-election at the annual general meeting of the Company to be held
   on 16 June 2015, with the exception of Mr Keyur Nagori, who will seek election at his first annual general meeting as required by the
   Company’s articles of association. Each resolution for re-election or election of a retiring director will be proposed as a separate
   resolution. Whilst a formal performance evaluation has not taken place, the Board confirms that the contribution made by each
   director to board deliberations continues to be effective and that the shareholders of the Company should support their re-election
   or election.




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Independent advice
Each of the directors is permitted to obtain independent legal advice at the Company’s expense in the performance of their duties
as directors. This would normally be managed through the Group Company Secretary.

All directors, and the Board as a whole, also have access to the advice and services of the Group Company Secretary who, under
the Chairman’s direction, is responsible for ensuring that good Board procedures are followed.

Indemnification of directors
The Company has put in place a Directors and Officers Liability Insurance policy which provides all Board members with insurance
cover in respect of liabilities that may arise against the Directors collectively or individually. The Directors do not benefit from any
form of qualifying third party indemnities made by the Company.

BOARD COMMITTEES
The Board has established an Audit Committee, a Clinical Governance Committee, a Nominations Committee and a Remuneration
Committee. The terms of reference of each committee are available on our website at www.nmchealth.com. Further details in
relation to these Committees are set out below.

Board and Board Committee attendance in the 2014 financial year
During the period under review, the Board met on nine occasions; six of these meetings were scheduled as full periodic board
meetings and three meetings were either brief meetings on matters requiring board approval or ad-hoc matters which arise.
Scheduled periodic Board Meetings are planned in each financial year to be split, where possible, evenly between London and Abu
Dhabi.

The attendance of the Directors at each of the Board and Committee meetings during the period was as follows:

                                                                                                                            Clinical Governance
                                         Board Meetings              Audit Committee    Remuneration Committee                       Committee    Nominations Committee

H.J. Mark Tompkins                                  9(9)                            -                        2(2)                          1(1)                    4(4)
Dr B.R. Shetty                                      8(9)                            -                            -                           -                        -
Dr Ayesha Abdullah                                  3(4)                         2(2)                            -                        2(2)                        -
Abdulrahman
Basaddiq                                            6(7)                            -                        3(3)                            -                      1(1)
Jonathan Bomford                                    9(9)                         5(5)                        5(5)                          1(1)                    3(3)
Lord Clanwilliam                                    8(9)                         3(3)                        5(5)                          1(1)                    4(4)
Salma Hareb                                         2(4)                            -                        2(3)                            -                        -
Heather Lawrence                                    7(9)                         5(5)                        2(2)                         3(3)                     3(3)
Prasanth Manghat                                    4(4)                            -                            -                           -                        -
Keyur Nagori                                        3(4)                            -                            -                           -                        -
Binay Shetty                                        4(4)                            -                            -                        2(2)                        -
Dr Nandini Tandon                                   3(4)                            -                            -                        0(2)                        -
His Excellency Saeed
Bin Butti                                           0(3)                            -                            -                           -                        -
Khalifa Bin Butti                                   0(3)                            -                            -                           -                        -

*    Note: The number of meetings that each director could have attended during the period under review is noted in brackets.


Enhancement of Board Committee membership and structure
Prior to June 2014, all of the Board Committees, with the exception of the Audit Committee, had a similar structure with all of the
Independent Non-Executive Directors being a member of each Board Committee, although each of the Committees had a different
Chair Person. The Audit Committee was an exception as the Chairman of the Company had resigned as a member of that
Committee in December 2013.

Following the increase in the number of Directors appointed to the Board, the Board decided that a change in the structure of each
Board Committee be undertaken. Each of the Board Committees has retained the same Chair Person, but since June 2014 the
constitution of each Committee has changed such that they have a different membership structure to the other Committees. The
Board consider that the different experience and cultural diversity of each Committee benefit the work and oversight of each
Committee and therefore the governance structure of the Board as a whole.


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   AUDIT COMMITTEE REPORT
   Audit Committee Chairman foreword
   This is my second Audit Committee report since my appointment as Audit Committee Chairman in June 2013.

   2014 has seen further changes in various aspects of UK listed company reporting and governance requirements, and I am pleased
   to report that both management and the audit committee have been committed to ensuring that they have a good
   understanding of these new requirements as they arise. This report sets out the work of the Committee, significant matters
   addressed by the Committee during the year and the responsibilities of, and work undertaken by, the external and internal auditors.

   THE AUDIT COMMITTEE
   Membership
   The Audit Committee has consisted entirely of independent non-executive directors during the year under review. The Audit
   Committee members who have served during the year are:

   Audit Committee Member              Position                                     Period of membership during 2014

                                       Audit Committee Chairman and financial       Member and Chairman of Audit Committee
   Jonathan Bomford                    expert                                       throughout the year
                                                                                    Member of Audit Committee since 26 June
   Dr Ayesha Abdullah                  Independent Non-Executive Director           2014
                                                                                    Member of Audit Committee throughout the
   Heather Lawrence                    Independent Non-Executive Director           year
                                                                                    Member of Audit Committee until 26 June
   Lord Clanwilliam                    Independent Non-Executive Director           2014


   During the 2014 financial year, the Chairman of the Committee and the Committee’s financial expert is Mr Jonathan Bomford.
   Mr Bomford is a Chartered Accountant and his biographical details and experience are set out on page 38 of the annual report.

   Key role and responsibilities
   The key role of the Committee is to ensure that the integrity of published financial information by the Company, and the
   effectiveness of both external and internal audit processes, are appropriate to ensure that the interests of all shareholders are
   protected.

   The Audit Committee assists the Board in:

   •   discharging its responsibilities with regard to financial reporting, external and internal audits and controls;
   •   reviewing the Company’s financial results announcements, Annual Report and audited financial statements;
   •   monitoring the independence and extent of the non-audit work undertaken by the external auditors;
   •   making recommendations to the Board on the appointment of external auditors and the level of their remuneration;
   •   reviewing the effectiveness of the Company’s internal audit activities and internal policies;
   •   overseeing the Group’s compliance processes; and
   •   undertaking reviews of the Group’s internal controls and risk management systems.

   The Audit Committee is required to report regularly to the Board of Directors in relation to its findings on the above. The ultimate
   responsibility for reviewing and approving the Company’s Annual Report and audited financial statements and the half yearly
   reports remains with the Directors of the Company.

   Committee meetings
   The Audit Committee met formally five times during the year. The Meetings are scheduled to align with the Group’s reporting
   timetable with planning meetings in advance of both the half-year review and full-year audit, and approving meetings shortly in
   advance of the announcement of the Group’s half-year and full-year results.

   Meetings are normally attended by the Chief Executive Officer, the Deputy Chief Executive Officer and the Chief Financial Officer.
   The Chairman and some other Non-Executive Directors also attend some meetings. The Group Company Secretary acts as
   Secretary to the Committee. The Committee also meets separately with the external auditors, the internal auditors and
   management with the other parties not present.




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     Main activities of the Committee during the year
     During the year, the Committee has focussed significantly on areas of corporate governance and management of risk. Specific
     items which the Audit Committee discussed during the year included:

     •   The implementation of the new ERP financial accounting system.
         The Group is in the process of implementing a new accounting IT system which is designed to ensure a less manual working
         environment than has previously been in existence when the Group was in private ownership. Implementation of the new
         system commenced in 2013 and has been delayed as a result of a number of technical issues arising which have had to be
         resolved. Implementation is now being progressed on a phased basis as regards the specific functions of the new system and
         also the facilities into which the system is being implemented. The Committee has monitored implementation progress and
         asked for the independent verification of certain aspects of the implementation plan for assurance.
     •   Capitalisation of Work-In-Progress
         The capital expenditure programs were reviewed by the Committee regularly. The Committee looked into the costs incurred,
         costs versus budgets, accounting of capitalisation of work in progress and finally the re-classification of such costs to the
         relevant asset category when the project is completed and its disclosure in the financials. During the current year, the Group had
         re-classified three of its projects under development based on the extent to which it was completed and commenced
         operations. The Committee also reviewed the technical paper on the impairment assessment on the capital projects.
     •   Risk Management
         In addition to the evolution of governance processes within the Group, the external focus and increasing Board responsibility in
         relation to risk has resulted in the Committee considering the Group’s approach to risk, its risk appetite and the process through
         which management mitigate the Group’s key risks and uncertainties. These considerations were in the form of either direct
         discussion on risk or indirectly whilst other matters were being discussed. The Committee, on behalf of the Board, will monitor
         the new strategic risk management process that the management team has implemented from 2015, further details of which
         are set out below.
     •   The internal audit program.
         Internal Audit Reports are presented at Committee meetings twice a year. During 2014, the internal audit plan has been more
         focussed and has been set to ensure that those areas of key and strategic risks are more closely and independently monitored.
         As part of their work during the year, and given its importance to the Group’s future Control Environment, the Committee
         instructed the Internal Auditors to undertake a review of the implementation plan for the Group’s new ERP Financial system and
         asked them to review and confirm that all principal manual business processes are fully reflected in the new system.
     •   Internal Control environment.
         Given the lack of robust IT systems in place fully across the Group, the Committee continues to monitor closely the Group’s
         Internal Control Environment and this, and connected issues, were therefore the subject of specific discussions during the year.
         In particular the Committee has been keen to understand the extent to which non-automated processes provide assurance to
         the Board that the Control Environment is effective. The Committee is also keen to ensure that management reflect all good
         and efficient business practices and processes which the businesses have operated under are fully reflected in the
         implementation of the Group’s new IT systems. During the 2015 financial year, the Audit Committee is intending to continue to
         closely monitor the roll-out of the Group’s new financial system, which the Committee sees as the one key element of the
         Group’s future internal control environment.

     Other considerations in review of Financial Statements
     In addition to the above main activities on which the Committee focussed during the year, the following matters were also
     reviewed as part of the Committee’s consideration, and approval, of the FY2014 Interim Results and this 2014 Annual Report:

     •   Revenue recognition
         The Group has a number of revenue streams across both its Healthcare and Distribution businesses. Whilst the Group ordinarily
         acts as principal in relation to its sales, there are a number of areas within both businesses where the recognition of revenue
         has been reviewed to ensure that the correct treatment of principal versus agency revenue has been adopted in all business
         areas. There is a risk that incorrect accounting treatment could be adopted within a particular business unit, for example agency
         revenue being treated as principal revenue. Any error of this nature would affect the Revenue and not the EBITDA of the Group.
         The Committee has reviewed the different treatment adopted by management in each relevant business unit and is
         comfortable with the accounting for revenue across the Group.
     •   Trade receivables and other receivables
         The time taken for payers to settle invoices in the UAE is generally longer than would normally be expected in other parts of the
         world. In addition, within the Healthcare division, the vast majority of healthcare customers settle their invoices through medical
         insurance claims. The Group therefore experiences delays in payment as a result of the time taken to process claims through
         insurance companies and to arrange settlement of the claim. In the distribution business, payment delays are experienced from
         bulk retail sales customers and delays in processing bulk discounts and rebates achieved from key suppliers have an additional
         effect on receivables and working capital. The level of both trade and other receivables has been improving following a number
         of actions undertaken by management, but this will continue to be a key focus for the Committee particularly to ensure that
         adequate bad debt provisioning is made.



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   Internal control
   The Committee has reviewed the process by which the Group evaluates its control environment. The CFO provides a report to the
   Audit Committee on the effectiveness of internal controls and confirms to the Committee whether or not he is aware of any
   significant fraud that may have occurred within the business. The internal auditors also undertake a review across a wide range of
   control areas to give the Audit Committee and the Board assurance on the internal control environment.

   Risk Management
   The Committee has previously reviewed and monitored a detailed register of risks which is produced by management and
   reviewed in conjunction with the Internal Auditors. This risk register is produced in discussions with the Group’s operating facilities.
   As detailed below in the section on risk mitigation, the Audit Committee has considered an enhanced risk management structure
   recommended by management under which the Group’s key risks are reviewed alongside the macro-economic environment
   within which the Group operates to establish a Strategic Risk Register. This register will be reviewed by the Audit Committee and
   the Board as part of their standard processes. Further details on strategic risks are set out on page 26.

   Internal audit
   A review of the work undertaken by the Group’s internal auditors is an agenda item for the majority of Audit Committee meetings.
   The internal auditors report to the Committee their findings together with action plans to resolve any matters which they believe
   require to be addressed. Action plans are graded with key high risk matters taking priority to be resolved.

   External audit and auditor independence
   The Committee believes that the effectiveness of the external audit is dependent on the identification of key risks during the
   financial year under review. EY produces and discusses with the Committee a detailed audit plan identifying these key risks, the
   focus of audit procedures and the work to be done to test management’s assumptions and accounting treatment in these areas.

   The Committee meets separately with the External Auditors to ensure that an independent dialogue is maintained in relation to
   monitoring key business and financial risks and to ensure that management have not restricted the scope of their audit. The Audit
   Committee Chairman also meets with the lead audit partner on a number of occasions during the year outside the formality of
   Audit Committee meetings.

   The Committee discusses separately with management matters arising from the audit process and also to assess their view of
   the effectiveness of the audit work being undertaken.

   The Committee did not undertake a formal review of the effectiveness of the external audit during the year although the Audit
   Committee and the external auditors discussed the audit process in detail, including matters which had worked well and areas of
   improvement in audit process for FY2014.

   Auditor fees and appointment
   EY were appointed as auditor to the Company at the time of the Company’s IPO in April 2012. The Company agreed a basis for audit
   fees for the three year period of 2012, 2013 and 2014 and agreed that, subject to their annual re-appointment by shareholders, EY
   would remain as Auditors to the Group for those financial years. The level of audit fees paid in relation to the 2014 financial year is
   set out in note 11 to the Consolidated Financial Statements.

   Non-Audit fees
   During FY2014, the level of non-audit fees, excluding the fees for the half-year review, amounted to a total of US$0.19m.

   The Audit Committee has adopted a non-audit fees policy whereby it will only permit such fees in circumstances where they feel
   that use of the auditor firm is necessary, appropriate or efficient, and has delegated authority to the CFO to agree such projects
   subject to a strict cap on fees in relation to each financial year.




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Auditor Independence
The Audit Committee formally reviewed the independence of the Company’s auditor, EY, during the period under review. The
review took account of the relationship between management and the audit team, the processes that EY have in place internally
to ensure objectivity and independence and also the level of non-audit fees incurred during the year.

As part of this review the Committee reviewed the potential threats to auditor independence as a result of:

•    auditor self-interests, being those areas where the auditor may have a financial or other interest in the Company;
•    auditor self-review, being areas where the results of non-audit services are reflected in the amounts included or disclosed in the
     financial statements;
•    management threats, which may occur if partners or employees of the auditor take decision on behalf of management; and
•    Other threats, such as familiarity and intimidation.

The Audit Committee is satisfied that in all areas sufficient safeguards were adopted by the auditor and that the independence of
EY and of the audit engagement partner had not been compromised. There is no limitation of liability in the terms of appointment
of the Auditor for the audit of the Company’s financial statements.

Jonathan Bomford, FCA
On behalf of the Audit Committee




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   CLINICAL GOVERNANCE COMMITTEE
   Clinical Governance Committee Chair foreword
   The Clinical Governance Committee was established in June 2013 and has met regularly to provide independent Board oversight in
   the key area of Clinical Governance. The Committee works with the Group Medical Director and Vice President – Quality and
   Standards to ensure that the governance structure within the healthcare business is appropriate to ensure that clinical care is
   enhanced and that clinical quality indicators are monitored. This oversight is designed to mitigate as far as possible the risks
   associated with operating a healthcare organisation.

   Dr G.V.J. Prabhakar joined NMC Healthcare towards the end of 2013 and during 2014 he has focussed on enhancing the monitoring of
   quality and standards within the Healthcare Division. Good progress has been made during the year with the majority of key clinical
   care indicators improving, a wider range of clinical care indicators being monitored and a governance structure being implemented
   in each of the Group’s new healthcare facilities. The rate of progress in the evolution of healthcare regulation in the UAE has also
   increased and the Committee is delighted with the determination of management to keep up to date with regulatory change
   ensuring that the Group is well positioned in its compliance with all regulatory requirements.

   The Quality team and clinical care monitoring within the business is being further enhanced which will give further assurance to
   management and the Board in relation to clinical risk mitigation. I would like to thank my fellow Committee members for their
   contribution during the year and Dr C.R. Shetty, Dr G.V.J. Prabhakar and the NMC Quality and Standards team for the excellent work
   which they continue to do.

   Clinical Governance Committee
   The Committee was established by the Board to provide assurance to shareholders that the key risk of clinical care and quality
   associated with the Group’s healthcare business is independently monitored.

   The Committee consists of a majority of Independent Non-Executive Directors during the period under review. The Clinical
   Governance Committee members who have served during the year are:

   Clinical Governance Committee Member         Position                                   Period of membership during 2014

                                                                                           Member and Chair of Clinical Governance
   Heather Lawrence                             Clinical Governance Committee Chair        Committee for the full financial year
                                                                                           Member of Clinical Governance Committee
   Dr Ayesha Abdullah                           Independent Non-Executive Director         since 26 June 2014
                                                                                           Member of Clinical Governance Committee
   Binay Shetty                                 Non-Executive Director                     since 26 June 2014
                                                                                           Member of Clinical Governance Committee
   Dr Nandini Tandon                            Independent Non-Executive Director         since 26 June 2014
                                                                                           Member of Clinical Governance Committee
   Lord Clanwilliam                             Independent Non-Executive Director         until 26 June 2014
                                                                                           Member of Clinical Governance Committee
   H.J. Mark Tompkins                           Independent Non-Executive Chairman         until 26 June 2014
                                                                                           Member of Clinical Governance Committee
   Jonathan Bomford                             Independent Non-Executive Director         until 26 June 2014


   Meetings of the Committee are scheduled three times per financial year. In addition to the Clinical Governance Committee
   members, the Group Medical Director and Vice President – Quality and Standards attend each meeting. The Group Company
   Secretary is Secretary to the Committee.




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Key role and responsibilities
The key role of the Committee is to oversee governance structures, processes and controls in relation to Clinical matters in place
within the Group healthcare operations. This is to ensure that the risks associated with clinical care are mitigated in the interests of
the Company and its stakeholders, including shareholders.

Specific responsibilities of the Committee, and work undertaken by it during the year, include:

•    Ensuring processes and controls are in place across the NMC Healthcare hospitals to promote safety and excellence in patient
     care and manage risks arising from clinical care on a continuing basis;
•    Review the systems of clinical governance, monitoring that they operate effectively and that action is being taken to address
     any areas of concern;
•    Review clinical performance indicators quarterly to gain assurance;
•    Reviewing the governance structures and KPI monitoring put in place in the Group’s new healthcare facilities, Brightpoint Royal
     Women’s Hospital and NMC General Hospital in DIP, including KPIs and clinical guidelines used to monitor performance;
•    Consideration of the procedures in place within NMC facilities and implemented by the Health Authorities in the UAE to deal with
     any incidence or outbreak of Ebola in the country; and
•    Review compliance to local Health Authority requirements and standards as well as reviewing the implications of any new
     regulations which are adopted from time to time.

An outline of the Clinical Governance and Quality framework in place within the Healthcare division, and the primary initiatives that
the business has undertaken during the year to improve the level of quality and patient care are set out in the Corporate Social
Responsibility Statement on pages 27 to 33.

The establishment of the Clinical Governance Committee was undertaken as a result of an appreciation of the clinical risks faced
by the Group. As a result the Committee is a key aspect of the Group’s internal control environment.

The Chair of the Clinical Governance Committee is also a member of the Audit Committee which assists in ensuring that the two
committees interact providing an overall control and governance framework to manage the Group’s key clinical risks.

Heather Lawrence, OBE
For and on behalf of the Clinical Governance Committee




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   REMUNERATION COMMITTEE
   Details of the Remuneration Committee, its membership and its role and responsibilities, is set out in the Remuneration Report on
   pages 67 to 85.

   NOMINATIONS COMMITTEE
   The Nominations Committee has consisted of a majority of Independent Non-Executive Directors during the year under review.
   The Nominations Committee members who have served during the year are:

   Nominations Committee Member                 Position                                   Period of membership during 2013

                                                                                           Member and Chairman of Nominations
   H.J. Mark Tompkins                           Nominations Committee Chairman             throughout the year
                                                                                           Member of Nominations Committee since
   Abdulrahman Basaddiq                         Non-Executive Director                     26 June 2014
                                                                                           Member of Nominations Committee
   Lord Clanwilliam                             Independent Non-Executive Director         throughout the year
                                                                                           Member of Nominations Committee until
   Heather Lawrence                             Independent Non-Executive Director         26 June 2014
                                                                                           Member of Nominations Committee until
   Jonathan Bomford                             Independent Non-Executive Director         26 June 2014


   The Nominations Committee has a role to assist the Board in:

   •   reviewing and making recommendations to the Board in relation to its structure, size and composition;
   •   reviewing succession planning in place for senior management;
   •   determining the appropriate skills and characteristics required of directors; identifying individuals qualified to become Board
       members and recommending such individuals to the Board;
   •   recommending individuals to be considered for election as Directors at the next Annual General Meeting of the Company or to fill
       vacancies; and
   •   preparing a description of the experience and capabilities required for a particular Board appointment.

   The Committee will also undertake annual reviews of the composition of the Board and assess various attributes of each Board
   member. Whilst the composition of the Board was considered by the Committee during 2014, reviews have not yet been
   undertaken in relation to the attributes of each Board member. Such reviews will be part of the Board’s appraisal and effectiveness
   review program when this commences.

   The Nominations Committee met four times during 2014. The matters considered by the Committee included:

   •   The recommendation for the appointment of new Directors to the Board in June 2014.
   •   The change in the senior management structure announced by the Company in October 2014.

   Other than in relation to specific matters which the Nominations Committee will be required to discuss, it is expected that the
   Nominations Committee will meet at least once in each financial year, or otherwise as requested by any member of the
   Committee. The Committee would expect to meet to consider appropriate candidates to fill any vacancy created on the Board
   should such a vacancy arise or be considered appropriate given other skills and experience on the Board. The Committee will also
   meet to review progress on the implementation of a new board appraisal and effectiveness review and any effect the results of
   such review has on the structure of the Board.

   The duties and activities of the Committee during the year will be disclosed in the Company’s Annual Report and audited financial
   statements each year.




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SHAREHOLDER ENGAGEMENT
The Company is committed to communicating with shareholders and stakeholders and to be available to meet with shareholders
who require additional explanation of any matter which is of concern to them.

The Chairman and Senior Independent Non-Executive Director are also available, either through contacting the Company Secretary
or at the Company’s Annual General Meeting, to discuss any matters within their areas of responsibility or where individuals do not
feel it is possible to discuss these matters with management.

During 2014, the Company has continued to focus on its formal program of investor interaction including one-to-one meetings with
institutional investors, investor days and attendance at investor conferences. Mr Roy Cherry, who is the Head of Strategy & Investor
Relations and a member of the senior management team leads these efforts.

In relation to the financial year ended 31 December 2014, the Company issued its half year unaudited results, two interim
management statements and a pre-close trading update prior to entering the close period at the end of the first half of the
financial year.

Aside from direct shareholder meetings, the principal ongoing communication with shareholders will be through the publication of
the Company’s Annual report and audited financial statements, Interim Results and Interim Management Statements, together
with the opportunity to question the Board and Committees at the AGM. Financial Results presentations are made available on the
Company’s Investor Relations website. Shareholders are encouraged to attend the AGM and if unable to do so are encouraged to
vote by proxy. The Chairman and other board members meet regularly with the Company’s brokers and/or other healthcare sector
specialists to remain up to date with shareholder views and sector developments.

The Company has an investor relations section on its corporate website, www.nmchealth.com. This has been updated regularly
with information that the Company considers relevant to its investors. Additionally, the number of analysts monitoring the
Company and issuing notes in relation to their forecasts and expectations for the group continues to increase.

INTERNAL CONTROL AND RISK MANAGEMENT
Financial and operational controls
The Group has for nearly 40 years grown into a substantial business and a leader in the provision of private healthcare, as well as
operating a substantial distribution business, in the United Arab Emirates. The Group is a regulated business operating many clinical
and quality controls processes. Not unusually for a Group which was until recent years a private business, the financial and
operational performance was monitored closely by a senior management team prior to IPO without the benefit of formal written
policies and governance procedures.

Following the Company’s IPO in 2012, the management team has been progressively:

•    incorporating additional key internal controls into its financial and operational processes;
•    implementing new policies and procedures covering all aspects of the Group’s accounting policies and controls;
•    extending its Quality Team and the Group’s Quality and Clinical Governance processes;
•    ensuring that Group’s Internal Audit function reviews and monitors key business processes; and
•    developing new financial and hospital management IT systems.

All of these changes are part of an overall process to improve the Governance structure within the Group and to improve further
the Group’s formal internal control processes.

The key elements of the Groups’ internal controls are as follows:

•    An annual budget and updated long-term forecasts for the Group that identifies risks and opportunities which are reviewed and
     approved by the Board.
•    Monthly meetings at which the senior management team review Group financial and operational performance, progress on
     capital projects and other principal functional areas of the business.
•    A system of internal monthly operational and financial reporting which includes monthly comparison of results and against
     budget and forecast, a review of KPIs, each discussed with additional management commentary and the reporting of key
     matters arising within the business during the month under review. The Group has a very flat organisational hierarchy resulting
     in an easy flow of information throughout the organisational structure. Communication of exceptional items happens naturally.
•    A defined process for controlling capital expenditure, including appropriate authorisation levels, which is monitored and approved
     by the Board as appropriate.
•    Medical Directors’ meetings to monitor clinical governance procedures.
•    The production of quarterly and annual Quality reports.




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   •   An effective externally provided internal audit programme which independently assists management in identifying key risks to
       the Group and monitors those risks through a programme agreed with both management and the Audit Committee.
   •   The independent oversight provided by the Company’s Board Committees, in particular the Audit Committee in relation to
       financial related matters and the Clinical Governance Committee in relation to clinical matters.
   •   An appropriate approach to decentralisation within the Group. Each healthcare facility has a Medical Director and Head of
       Administration who are accountable for the operation of the facility. Both Healthcare and Distribution divisions have Financial
       Controllers and a finance team and are managed through fundamental activities of planning, executing and checking. The
       strategic direction of all operations is governed by the corporate office. All banking, treasury, procurement and payment
       processing is centralised within Group functions, but accounting for payments is decentralised. The management team believes
       that these divisions of responsibility provide a natural check and balance across all internal control areas.
   •   A delegation of authority which provides that very few individuals within the organisation have payment approval authority.
       Access to cash is also restricted to very few individuals. All material payments are restricted to the senior management team.

   Risk appetite
   As there are multiple risks associated with the healthcare sector, the process of risk management is an essential mechanism to
   enable risk based decision making process. The Board of Directors at NMC recognizes that complete risk control/avoidance is
   impossible, but that risks can be reduced by putting the right controls and mitigations in place as well as agreeing on a threshold for
   risk taking (risk appetite).

   Risk appetite provides a structure within which opportunities can be pursued by setting out which, why and how much risk NMC is
   willing to take. The NMC leadership team has approved a set of risk appetite statements covering different views on the risk
   landscape surrounding NMC’s business environment whilst addressing various risk classes. For each risk class, Key Risk Indicators
   (KRIs) were articulated to alert against unacceptable loss events.

   The purpose of setting limits and triggers is to avoid concentrations of risk which would be out of line with internal or external
   expectations and to:

   •   keep business activities aligned to the strategic goals of NMC;
   •   ensure activities remain of an appropriate scale relative to the underlying risk andreward;
   •   ensure risk-taking is supported by appropriate expertise and capabilities.

   General Risk Appetite Statement
   The Board of Directors will not accept any risks that would cause losses due to:

   •   malpractice,
   •   significant decline in patient satisfaction rate,
   •   brand damages,
   •   hospital acquired infections,
   •   decrease in the utilization rate for outpatient clinics,
   •   uncontrolled discharge for inpatients,
   •   downtime of life saving/ sustaining systems,
   •   inaccuracy of patients’ records,
   •   non-compliance with internal and/or external controls and standards/ regulatory bodies,
   •   sensitive information/ patient record confidentiality breach/ loss,
   •   loss of sole distribution partnership agreement,
   •   loss of key staff/ key specialities in NMC,
   •   acquisitions, which are expected to be accretive and not dilutive.

   NMC Board of Directors has approved a set of thresholds which relates to multiple business dimensions in the Healthcare and
   Distribution divisions to protect shareholders’ value. Any areas falling short of the agreed indicators should be highlighted to
   management for action.




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Approach to risk mitigation
As a regulated business, the Group operates within a framework of managing all elements of risk which arise within the Group. As a
result there are a number of ways in which the Company monitors its keys risks and considers independent review of such risks to
be beneficial to the Group.

Internal Audit
The Group have appointed Crowe Horwath as Internal Auditors to the Group. The Internal Auditors report directly to the Chairman of
the Audit Committee but work in conjunction with the CFO. Their reports to the Audit Committee are received and discussed at
Audit Committee meetings twice a year, in June and December.

Following the completion of each review, the internal auditors identify areas for remedial action and the required action plans are
discussed and agreed with management. The internal auditors present the reviews and the agreed management action plans for
any remedies to the Audit Committee and then monitor the implementation of any required changes on behalf of the Audit
Committee.

The consideration by the management team of the key risks faced by the Group is crucial to the work to be undertaken by the
Internal Auditors. Management consider such risks before discussing with the internal auditors their planned areas of focus for
reviews in each financial year. The Internal Audit plan for each year is agreed with the Audit Committee.

Risk Management Process
The Group’s risk management process has primarily been driven by scrutiny of a register of significant risks which is produced by
management and reviewed in conjunction with the Internal Auditors. This risk register is produced in discussions with the Group’s
operating facilities. Towards the end of 2014, management decided to enhance the Group’s risk management process by engaging
with PwC to independently review the Group’s key risks alongside the macro-economic environment within which the Group
operates and to work with management and the Board in establishing a Strategic Risk Register.

The Strategic Risk Register, which is the basis for the list of principal risks and uncertainties which are set out on page 26, will be
reviewed and maintained on an ongoing basis by management, with the Board retaining oversight over the Register and the risk
management process.

Quality and Regulatory oversight
Aside of financial risks, the Board is aware that as a significant healthcare business it is subject to a range of risks related to clinical
care and quality.

The Healthcare division, and elements of the Distribution division, are regulated by governmental and non-governmental
organisations. The key regulatory framework is set out in the UAE Economy and Healthcare Market section of the Group Strategic
Report. In summary:

•    Each Healthcare facility is licensed by one of four regulatory bodies which exist in the UAE. The regulatory bodies monitor
     performance and clinical procedures against its regulations, key metrics and guidelines;
•    Each of the Group’s three Specialty Hospitals is accredited by Joint Commission International, an internationally renowned
     organisation monitoring clinical metrics and quality of patient care;
•    The distribution of pharmaceuticals is controlled through the UAE Ministry of Health;
•    The majority of the Group’s healthcare revenue results from medical insurance arrangements. The Group’s contractual
     arrangements with insurance providers include the monitoring of claims processing and clinical outcomes.

The Group has a Quality Team which operates in both the Healthcare and Distribution divisions. Quarterly and annual Quality
reports monitor performance against a range of key KPIs based on clinical quality and safety metrics.

The Board has created a Clinical Governance Committee which independently monitors at Board level the work of the Quality
Department and the clinical team within the Healthcare business.

Further detail in relation to the approach of the Healthcare division in relation to Quality and Safety is set out in the Corporate Social
Responsibility section on pages 27 to 33. The work of the Clinical Governance Committee is set out on pages 59 to 60.

Independent Audit Committee
The Audit Committee is an independent committee of the Board and reviews, directly and indirectly, key risk factors and how those
risks are mitigated. The work of the Audit Committee is set out on pages 55 to 58.




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   Effectiveness of Internal Controls
   The Board has overall responsibility for the Group’s systems of internal control and on behalf of the Board, the Audit Committee has
   been engaged in the process of ensuring that management have established continuous processes for identifying, evaluating and
   managing the risks the Group faces. These processes include the reporting from the finance department on Group performance,
   the work of the internal auditors and issues identified by the external auditors to the extent covered by their audit work. The Board
   is responsible for monitoring the ongoing effectiveness of these systems and for conducting a formal annual review of the
   effectiveness of the Group’s internal controls.

   A system of internal controls is designed to manage, rather than eliminate, the risk of failure to meet business objectives and is
   designed to provide reasonable, but not absolute, assurance against material misstatement or loss.

   In reviewing the effectiveness of the internal controls in place during the year, the Audit Committee considered, amongst other
   matters, manual controls in place, the independence of the separate operating units, the delegation of authority, the balance of
   centralised and decentralised systems and the reporting process in relation to exceptional items.

   The Audit Committee has noted that the Group does not operate under a fully integrated high end IT environment and therefore an
   element of manual intervention is prevalent within the Group. The Board has approved the implementation of a new Hospital
   Information System which, together with the implementation of the new ERP financial system, will result in a new integrated IT
   system becoming fully functional across the Group.

   The Board notes that the implementation of new IT systems will not change the level of controls inherent in the business, but they
   will remove elements of manual intervention from financial and operational processes. Management have taken time to ensure
   that all previous business processes are captured within the new IT systems. The roll out of the new ERP system into the
   Healthcare division is progressing. There have been challenges in relation to the roll out of the ERP system into the Distribution
   division as a result of the volume and types of transactions to be captured, but these challenges are in the process of being
   resolved. The full roll-out of the new ERP system has therefore been delayed from its original target date in the interests of ensuring
   that the system is compatible with the best standards of assurance. The completion of the implementation of the ERP system is
   expected in 2015.

   The Group continues to enhance its Internal Control practices and environment and as part of that progression has also revised its
   Delegation of Authority matrix keeping in line with the current requirements.

   In November 2014, the group carried out a strategic risk management review with the assistance of a third party, PwC, the findings
   of which, including the mitigating factors and its ongoing review, were discussed and deliberated by the Board. The Group’s
   strategic risks are included in the Principal Risks and Uncertainties section on page 26 and the description of the Group’s risk
   appetite on page 63.

   The Board has reviewed the effectiveness of the Group’s systems of internal controls for the 2014 financial year, in light of the key
   elements of the Group’s internal controls outlined above. Given the additional internal controls that have been incorporated into the
   Group’s financial and operational reporting process, such that sufficient internal controls were in place to monitor the Group’s key
   risks, the Board believes, having evaluated the effectiveness of the internal controls and procedures, that these were effective
   during the period covered by this report. The Board also believes that the process undertaken by the Board and its Committees to
   monitor the internal control environment, accords with the guidance provided in Internal Control: Revised Guidance for Directors on
   the Combined Code.

   OTHER GOVERNANCE MATTERS
   Whistleblowing Policy
   A confidential whistleblowing procedure is in operation allow employees to raise concerns of possible improprieties in relation to
   either operational or financial conduct.

   Employees have been provided with a copy of this policy and are aware of the significance of it. New employees receive training on
   all company policies and procedures as part of their induction program. A copy of the policy is included on the Company’s
   employee intranet.




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Bribery Act 2010
The Group has an Anti-Bribery and Anti-Corruption Policy which applies to all directors and employees of all Group Companies. The
Policy, which has been communicated to all employees, includes clear statements setting out the Group’s Anti-Bribery measures
and Anti-Corruption culture. Practical guidance has been issued in relation to specific circumstances considered to be most relevant
to Group employees. These include guidance notes for clinical staff attending pharmaceutical and training and development
conferences in relation to entertainment and other possible inducements, as well as guidance notes in relation to the receipt of free
products and equipment and how such products and incentives may affect clinical judgement. Specific guidance has also been
provided in relation to the provision of sales incentives to senior sales and marketing staff within our Distribution division.

New employees receive training on all company policies and procedures as part of their induction program. A copy of the policy is
included on the Company’s employee intranet.

The Corporate Governance Report set out on pages 49 to 66 has been approved by the Board and is signed on its behalf by:

H.J. Mark Tompkins
Chairman




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   DIRECTORS’ REMUNERATION REPORT 2014
   Letter from the Remuneration Committee Chairman



   Dear Shareholder,

   I am pleased to present to you our Directors’ Remuneration Report for the 2014 financial year.

   In the Directors’ Remuneration Report for 2013, and in accordance with new regulations in relation to listed company disclosures on
   Directors’ remuneration, we set out the Company’s Directors’ Remuneration Policy.

   The Directors’ Remuneration policy was submitted for approval at the Company’s Annual General Meeting held on 26 June 2014 and
   I was delighted that our policy was approved by shareholders, with 97.5% of votes validly cast were in favour of our proposals. I would
   like to thank all shareholders for their continuing support in this area.

   There are no proposed changes in our Directors’ Remuneration Policy for 2015 and therefore the Policy is not required to be set out
   in full and submitted for further approval at this year’s Annual General Meeting. However, to assist shareholders we have included
   a summary of our Directors’ Remuneration Policy within this Directors’ Remuneration Report as well as explaining how this policy
   will be implemented in 2015 and disclosing the remuneration earned by Executive Directors and Non-Executive Directors in 2014.

   INCENTIVE ARRANGEMENTS
   Following the finalisation of our remuneration policy with the introduction of short and long-term incentive arrangements, the
   executive remuneration structure now fully reflects our philosophy which is to provide competitive remuneration packages which
   reward strong performance in line with our short and long term objectives.

   The use of performance based incentives, a significant part of which is delivered in shares, seeks to align the interests of
   management with those of our shareholders and reflects market practice in the listed environment in which we now operate.

   The operation of the Short Term Incentive Plan (STIP) was amended slightly in 2014 with a wider range of financial and operational
   measures being included, focussed on the Board’s key aims for the year. The Company’s strong growth in 2014, together with good
   progress in the opening of new facilities and our continued focus on clinical safety and patient care, has led to bonuses of between
   71.25% and 75.0% for the senior management team for the 2014 financial year.

   We have also granted awards under the Company’s Long Term Incentive Plan (LTIP) for the first time in 2014. The LTIP is an
   integral part of the remuneration structure and ensures that Executive Directors and Senior Management work towards improved
   performance in the longer term and therefore become aligned with shareholders’ interests. The use of Earnings per share growth
   and comparative Total Shareholder Return targets will ensure management focus on longer term performance.

   The operation of both the STIP and LTIP are detailed in this Directors’ Remuneration Report.

   ALIGNMENT OF BASE PAY
   No base pay increases were awarded to any of the Executive Directors or Senior Management during the 2014 financial year.
   Towards the end of 2014, the Remuneration Committee (the Committee) undertook a detailed benchmarking exercise with its
   advisors. The benchmarking exercise for UAE based executives was undertaken by a Middle East consultancy firm and took
   account of base salaries and related remuneration packages for similar roles available in the UAE. The Committee concluded that
   base salaries were significantly behind the desired positioning taking into account market practice, the scope and responsibilities of
   the roles and the performance of the individuals. To address this, the Committee decided to increase base salary for the Executive
   Directors and Senior Management with effect from 1 January 2015. The Executive Vice Chairman & CEO’s base salary was increased
   from £255,000 to £300,000 (a 17.6% increase). The Deputy CEO’s salary was increased from £200,000 to £260,000 (a 30.0% increase)
   reflecting the increase in the scope of his role following his move from CFO to Deputy CEO.

   BOARD CHANGES
   Both Mr Khalifa Bin Butti and Mr Binay Shetty decided to step down from their Executive roles during the year. Binay Shetty received
   an end of service benefit of US$58.8k. No additional payments were made to them as a result of their departure in line with the
   Company’s policy in such circumstances. However, both Mr Bin Butti and Mr Shetty relinquished their Executive roles with the
   Board’s very best wishes.




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REMUNERATION COMMITTEE CHANGES
Finally, we have made a number of changes to the membership of the Remuneration Committee during the year made possible
following the enlargement of the Company’s Board of Directors. The Committee is now structured with both UK and UAE
representation providing a good geographic and cultural balance to discussions on Executive Remuneration matters.

I would like to express my appreciation for the input of all my fellow Remuneration Committee members, both past and present,
during the year and for their support and work in implementing a balanced and effective remuneration structure over the last two
years.




Lord Clanwilliam
Chairman of the Remuneration Committee




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   DIRECTORS’ REMUNERATION REPORT 2014



   INTRODUCTION
   This Directors’ Remuneration Report summarises the Company’s policy on Executive remuneration, the structure and role of the
   Remuneration Committee and, in the Annual Remuneration Report section, details of how our remuneration policy was
   implemented for the year ended 31 December 2014 and how we intend for the policy to apply for the year ending 31 December 2015.
   The Annual Remuneration Report will be subject to an advisory shareholder vote at the 2015 AGM.

   Within the Directors’ Remuneration Report, there is reference to a number of incentive plans used by the Company within the
   Executive Remuneration structure. The plans used are as follows:

   •   Short Term Incentive Plan (STIP) – used to deliver an annual bonus to Executive Directors and Senior Management based on
       performance for the financial year under review.
   •   Deferred Share Bonus Plan – it is the Committee’s current policy that 50% of any bonus earned under the STIP is paid in shares
       which are retained and released after a period of three years. The Deferred Share Bonus Plan is therefore not an additional
       incentive arrangement, but the vehicle used to deliver the share portion of STIP bonuses earned.
   •   Long Term Incentive Plan (LTIP) – used to deliver rewards to Executive Directors and Senior Management based on performance
       over a three year period.

   Where the information is subject to audit this is identified in the relevant heading.

   THE REMUNERATION COMMITTEE
   Membership
   The Remuneration Committee consists of four Non-Executive Directors, three of whom are Independent Non-Executive Directors,
   with an Independent Non-Executive Director holding the chairmanship of the Committee. During the 2014 financial year, the
   following have served as members of the Committee:

   Chairman:                                    Lord Clanwilliam
   Committee members:                           Abdulrahman Basaddiq                       (from 26 June 2014)
                                                Jonathan Bomford
                                                Salma Hareb                                (from 26 June 2014)
                                                Heather Lawrence                           (until 26 June 2014)
                                                H.J. Mark Tompkins                         (until 26 June 2014)


   The Chairman of the Company is invited to attend Committee meetings. Whilst the Chief Executive Officer does not generally
   attend Remuneration Committee meetings, the Chairman of the Committee discussed proposed remuneration policies with him
   during their formulation. The Deputy CEO may attend Remuneration Committee meetings to discuss certain items at the request
   of the Committee but is not present when his own remuneration is discussed.

   The Group Company Secretary acts as Secretary to the Remuneration Committee and provides advice to the Committee on
   Corporate Governance aspects relating to remuneration matters. He also provides assistance to the Chairman of the Committee
   as required in discussions with the Remuneration Committee advisers and on implementation of Committee decisions. The Group
   Company Secretary is not present when his own remuneration is discussed.

   Role and responsibility
   The Remuneration Committee assists the Board in

   •   making recommendations to the Board on the Company’s framework of executive remuneration, including the use of incentive
       arrangements within that framework; and
   •   determining on the Board’s behalf the entire individual remuneration packages for each Executive Director and the senior
       management team.

   All other recommendations must be referred to the Board for approval. In setting remuneration for senior management, the
   Committee has considered market practice in the UAE and are aware of remuneration structures existing for employees who are
   below senior management level. The Committee understands the need to incentivise executives appropriately, whilst ensuring
   that higher rewards are only achieved for exceptional performance.

   No Committee member is permitted to participate in any discussion or decision regarding his/her own remuneration. The
   remuneration of non-executive directors is a matter for consideration by the Chairman of the Company, assisted by the
   Remuneration Committee Chairman, and the Executive Directors.




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The Remuneration Committee terms of reference clearly set out its authority and duties and were approved by the Board prior to
IPO. The terms of reference are available on the Investor Relations section of the Group’s website at www.nmchealth.com, or by
contacting the Group Company Secretary.

Support and External Advice
The Remuneration Committee seeks and considers advice from Deloitte LLP, independent remuneration advisers. Deloitte provides
no other advisory role to the Group. Deloitte were appointed by the Remuneration Committee and have acted as advisors to the
Company since 2012, specifically providing the Committee with objective and independent advice on executive remuneration
matters. Deloitte is a founding member of the Remuneration Consultants’ Group and, as such, voluntarily operates under the code
of conduct in relation to executive remuneration consulting in the UK. The Committee is satisfied that the advice they have
received from Deloitte during the year has been objective and independent. The Committee is satisfied that the Deloitte LLP
engagement partner and team, which provide remuneration advice to the Committee, do not have connections with NMC that
might impair their independence. The Committee reviewed the potential for conflicts of interest and judged that there were
appropriate safeguards against such conflicts.

The Chairman has direct access to Deloitte as and when required. The Group Company Secretary liaises with Deloitte as required to
ensure that all Committee requests and decisions are dealt with and implemented, but does so under the guidance of the
Remuneration Committee Chairman. Deloitte attend meetings of the Committee as required.

During the year, Deloitte provided the following services and advice to the Committee:

•    Latest market practice and trends in relation to remuneration practices in FTSE250 companies;
•    An update of the governance structure and latest shareholder views in relation to remuneration policies and practice;
•    Assistance in reviewing and setting the targets used for the operation of the 2014 STIP and the initial award grants under the
     Deferred Bonus Plan in relation to the 2013 STIP; and
•    The setting of targets, composition of an appropriate comparator group for use in measuring Company performance and the
     granting of awards under the LTIP, used for the first time in 2014.

Deloitte received fees of £39.3k (charged on a time plus expenses basis) for advice received during the year.

The Committee also received market data from Hay Group, an independent third party organisation, in relation to the
benchmarking of UAE Executive Director and Senior Management remuneration at a cost of $7.5k.

Meetings
The Remuneration Committee met formally five times during the period under review, in addition to a number of discussions held
informally during the year whilst the structure and implementation of the new incentive arrangements were being discussed.

The significant discussions in relation to the structure of Executive Director and Senior Management remuneration had taken place
during 2013. Therefore the Committee’s primary discussions during the year related to the operation of each element of the
Executive remuneration package and specifically in relation to:

•    A review of the STIP following the first year of operation which resulted in a number of amendments to the measures used to
     assess performance in the year, but not to the structure of the STIP;
•    Consideration of the structure of the LTIP which commenced in 2014, including the quantum of awards and the performance
     conditions to apply to LTIP awards made;
•    The granting of initial share awards under both the Deferred Bonus Plan and the LTIP;
•    A benchmarking exercise undertaken towards the end of 2014 which led to salary reviews for all members of senior
     management, including the Executive Directors, with effect from 1 January 2015; and
•    Consideration of matters relating to the resignation of both Khalifa Bin Butti and Binay Shetty from their Executive roles during
     the year.




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   Assessment of risk and key priorities
   The Committee is aware of the need to be mindful of potential risks associated with elements of executive remuneration. The
   Committee is keen to ensure that variable remuneration is not structured in such a way as to encourage the taking of undue
   business risks for the purposes of achieving higher remuneration.

   The remuneration structure ensures that an appropriate reward system is in place, but considers that the incentive structure
   mitigates key business risks as follows:

   •   the deferral of 50% of STIP awards into shares for a three year period;
   •   the initial share awards made under the LTIP in 2014 will encourage focus on long term share value enhancement;
   •   the STIP includes both financial and operational measures, with differing targets for various individuals, which the Committee
       believe are key to the success of the Company in a particular financial year;
   •   market practice malus provisions allow the Company to forfeit the delivery of share related benefits to plan participants.
       The Committee is reviewing the malus and clawback provisions for incentive arrangements in light of the recent changes
       to the UK Corporate Governance Code.

   SUMMARY OF DIRECTORS’ REMUNERATION POLICY
   The following provides a summary of the Company’s approved remuneration policy for Executive and Non-Executive Directors
   and is not subject to audit. The full Directors’ Remuneration Policy, as approved by shareholders at the 2014 AGM, can be found at
   www.nmchealth.com/shareholder-information/

   Executive Director Remuneration
   The table below summarises the remuneration package provided to our Executive Directors.

                                  Purpose and link to
   Remuneration element           remuneration strategy         Operation                    Maximum opportunity          Performance measures

   Base salary                    To attract and retain         Salaries are reviewed        There is no maximum          None, although an
                                  management of the             annually.                    salary level.                individual’s performance
                                  calibre required to deliver                                                             in the role will be
                                  the Group’s strategy          When setting base                                         considered when
                                  without paying more           salaries, consideration is                                reviewing base salary
                                  than is necessary.            given to a number of                                      levels.
                                                                factors including
                                  To reward executives for      individual and
                                  the performance of their      performance and local
                                  role.                         market conditions.

   Benefits                       To provide benefits that      The Group provides a         The cost of benefit          None.
                                  are competitive relative      range of benefits which      provision will depend on
                                  to the employee’s local       reflect typical benefits     the cost to the Company
                                  market.                       offered in the UAE           of providing individual
                                                                including family             items and the individual’s
                                                                accommodation, Private       circumstances and
                                                                Medical Insurance and        therefore there is no
                                                                Life and Permanent           maximum value.
                                                                Health Insurance cover.

   Retirement benefits            To provide a market           The Company currently        The Committee will           None.
                                  competitive retirement        does not operate any         determine the level of
                                  benefit.                      pension arrangements,        benefit based on local
                                                                but an end of service        market practice,
                                                                benefit, payable to the      individual’s circumstances
                                                                employee when he             and their role.
                                                                leaves the Group, is
                                                                accrued annually in
                                                                accordance with local
                                                                UAE laws.




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                                Purpose and link to
Remuneration element            remuneration strategy        Operation                    Maximum opportunity             Performance measures

STIP                            To provide an annual         Bonus measures and           The maximum bonus               Performance is based
                                bonus to attract, retain     performance targets are      opportunity is 100% of          on a mix of key financial,
                                and motivate senior          set annually dependent       base salary.                    operational/strategic
                                executives of the calibre    on the deemed strategic                                      metrics and individual
                                required to manage the       priorities for that year.                                    KPIs measured over one
                                business and to align                                                                     financial year.
                                the interests of senior      The annual bonus is
                                executives with those        normally paid 50% in cash
                                of shareholders by linking   and 50% is deferred into
                                a significant proportion     Company shares which
                                of the potential             vest three years from
                                remuneration to              award subject to
                                performance and delivery     continued employment.
                                of strategic objectives.
                                                             Malus provisions apply.

LTIP                            To incentivise long-term     Awards vest based on         Maximum award is                [It is intended that 2015
                                value creation and           performance measured         normally 150% of base           awards will be based 50%
                                exceptional business         over a three year period     salary. In exceptional          on earnings per share
                                performance through          against set targets.         circumstances the               growth and 50% on
                                the achievement of                                        Committee may grant             relative total shareholder
                                stretching Group             Awards are subject to        awards of up to 200%            return growth against our
                                financial targets.           malus provisions.            of base salary.                 key healthcare peers].

                                                                                          It is intended that awards
                                                                                          for 2015 will be 100% of
                                                                                          base salary.

    Share option plan (“SOP”)   To incentivise executive     Awards under the plan        Maximum award would             In the event that an
                                directors to increase the    are in the form of market    normally be 150% of base        award was to be granted
                                share price and deliver      value share options.         salary. In exceptional          under this plan in
                                value for shareholders.                                   circumstances the               exceptional
                                                             It is intended that awards   Committee may grant             circumstances the
                                                             would only be made           awards of up to 200%            Committee would
                                                             under this plan in           of base salary.                 determine appropriate
                                                             exceptional                                                  performance conditions
                                                             circumstances.                                               at that time.



SHAREHOLDING GUIDELINE
Executive directors are expected to build a shareholding of 200% of base salary over a period of 5 years.

Committee discretion
The Committee has retained some discretion in a number of areas of the remuneration policy approved by shareholders including:

•    where the terms of any payment was agreed before the policy came into effect;
•    where arrangements were agreed at a time when the relevant individual was not a Director of the Company;
•    the amendment of performance conditions applicable to the LTIP or Share Option Plan awards in certain circumstances;
•    any payment which is not explicitly provided in this policy which is it obliged to make under UAE other relevant local laws; or
•    minor amendments required for regulatory, exchange control, tax or administrative purposes or to take account of a change in
     legislation.

Remuneration policy on recruitment
The Policy includes a number of principles which the Committee would seek to apply for newly appointed Executive Directors.
These are not summarised here but can be reviewed within the Directors’ Remuneration Policy document (http://nmchealth.com/
shareholder-information/).




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   Termination policy
   The policy includes a number of elements which the Committee will consider when individuals leave their Executive positions with
   the Company. These are not fully summarised here but can be reviewed within the Directors’ Remuneration Policy document
   (http://nmchealth.com/shareholder-information/).

   In general terms, if an individual leaves as a result of ill health, injury, disability, death, sale of employing company or business from
   the Group or for any other reason at the Committee’s discretion, the Committee will normally pay contractual salary and retirement
   benefits and allow the retention of any incentive awards pro-rated to the date of cessation. For all other leavers, the contractual
   salary and benefits will be paid over any notice period to the date of cessation of employment, but unvested awards made under
   the Company’s incentive arrangements would normally lapse. In the event of termination, the Company would also make any
   payments which it is contractually obliged to do under UAE law.

   Remuneration outcomes in different performance scenarios
   The Committee has set a remuneration structure which ensures that a high proportion of the potential total reward available for
   Executive Directors and senior management is related to the performance of the Company, and specifically that significant rewards
   are only paid for exceptional performance.

   To demonstrate this three scenarios have been illustrated below for each Executive Director.


                                 Chart label                             Fixed Pay (US$)           Annual Bonus (US$)    Long-term incentive (US$)   Total compensation (US$)

   Executive Vice                Minimum
   Chairman & CEO                performance                                    617,630                            0                            0                        618
                                 Mid performance                                617,630                      175,624                     117,083                         910
                                 Maximum
                                 performance                                    617,630                      351,248                    468,330                        1,437


                                 Minimum
   Deputy CEO                    performance                                    535,279                            0                            0                       535
                                 Mid performance                                535,279                      152,207                      101,472                       789
                                 Maximum
                                 performance                                    535,279                      304,415                    405,886                        1,246



                   Executive Vice Chairman & CEO                                     Deputy CEO
   $1,600,000
                                                28%
                                               $1,437k
   $1,400,000
                                                33%
                                                                                                     $1,246k
   $1,200,000
                                                                                                       33%
                                $910k
   $1,000,000
                                 13%            24%                                    $789k
    $800,000                     19%                                                    13%            24%
                  $618k
                                                                         $535k          19%
    $600,000      100%           68%            43%
                                                                          100%          68%            43%
    $400,000

    $200,000

          $0
                 Minimum           Mid       Maximum                    Minimum           Mid       Maximum
                Performance   Performance   Performance                Performance   Performance   Performance


                 Fixed Pay        Annual Bonus            Long-term Incentive




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Fixed pay is comprised of the following:

                                            Executive Vice Chairman & CEO                                            Deputy CEO

                                   Salary                 Benefits              Pension                Salary            Benefits                Pension

Minimum
performance                     468,330                  149,300                     0              405,886              129,393                        0
Mid Performance                 468,330                  149,300                     0              405,886              129,393                        0
Maximum
Performance                     468,330                  149,300                     0              405,886              129,393                        0


Non-Executive Director Remuneration

                                      Purpose and link to remuneration
                                      strategy                                 Operation                            Maximum opportunity

Chairman and Non-Executive            To provide an appropriate reward         The remuneration of Non-             The maximum level of Non-
Director fees                         to attract and retain high-calibre       Executive Directors is approved      Executive Director remuneration
                                      individuals                              by the Executive Directors           is set out in the Company’s
                                                                               following recommendations and        articles of association. This may
                                                                               discussions with the Chairman        be amended from time to time
                                                                               of the Company and the               subject to shareholder approval.
                                                                               Chairman of the Remuneration
                                                                               Committee.

                                                                               Non-Executive Directors do not
                                                                               currently receive any benefits.
                                                                               However, benefits may be
                                                                               provided in the future if this was
                                                                               considered appropriate.



Details of Non-Executive Director fees with effect from 1 January 2015 are set out on page 81 .

DIRECTORS’ SERVICE AGREEMENTS AND LETTERS OF APPOINTMENT
Executive Directors’ service agreement and employment contracts
Each of the following served as Executive Directors for all or part of the 2014 financial year and for the period that they served as
Executive Directors, were subject to service agreements entered into with NMC Healthcare LLC, one of the Company’s subsidiaries.

                                                                                                                                      Date of agreement

Dr B.R. Shetty                                                                                                                            19 March 2012
Khalifa Bin Butti                                                                                                                         19 March 2012
Prasanth Manghat                                                                                                                             1 May 2011
Binay Shetty                                                                                                                                 1 May 2011


Dr B.R. Shetty is employed by NMC Healthcare LLC pursuant to a service agreement dated 19 March 2012. The service agreement
provides for an indefinite term of employment unless terminated earlier in accordance with the terms of the service agreement.
The service agreement provided that, unless otherwise agreed between the parties, the service agreement can only be terminated
on twelve months’ prior written notice given by either Dr B.R. Shetty or NMC Healthcare LLC.

Until 25 March 2014, when he resigned as Executive Vice Chairman of the Company, Mr Khalifa Bin Butti was employed by NMC
Healthcare LLC pursuant to a service agreement dated 19 March 2012. The service agreement provided for an indefinite term of
employment unless terminated earlier in accordance with the terms of the service agreement. The service agreement provided
that, unless otherwise agreed between the parties, the service agreement was only able to be terminated on twelve months’ prior
written notice given by either Khalifa Bin Butti or NMC Healthcare LLC.

Mr Prasanth Manghat is employed by NMC Healthcare LLC pursuant to an employment contract dated 1 May 2011. The contract
provides for a renewable two year term of employment unless terminated earlier in accordance with the terms of the contract. The
Contract provides that, unless otherwise agreed between the parties, the contract can be terminated on one months’ prior written
notice given by either Prasanth Manghat or NMC Healthcare LLC.




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   Until 31 December 2014, when he resigned as Chief Operating Officer of the Company, Mr Binay Shetty was employed by NMC
   Healthcare LLC pursuant to an employment contract dated 1 May 2011. The contract provided for a renewable two year term of
   employment unless terminated earlier in accordance with the terms of the contract. The Contract provided that, unless otherwise
   agreed between the parties, the contract was only able to be terminated on one months’ prior written notice given by either
   Binay Shetty or NMC Healthcare LLC.

   Copies of the Service Agreement for Dr B.R. Shetty and employment contract for Mr Prasanth Manghat are available for inspection
   during normal business hours at the Company’s Registered Office, and are available for inspection at the Company’s annual
   general meeting.

   For future executives the Committee policy is that notice periods will not exceed 12 months. There are no matters for which the
   Company requires approval of shareholders for the purposes of Chapter 4A of Part 10 of the Companies Act 2006.

   Letters of appointment for Non-Executive Directors
   The Non-Executive Directors do not have service agreements with the Company, but instead have letters of appointment. The
   appointment of each of the Non-Executive Directors is stated for an initial term until the next annual general meeting of the
   Company at which, and at subsequent annual general meetings, they need to submit themselves for re-election if they so wish.
   Each of the Non-Executive Directors have a minimum time commitment that they need to give to the Company in any year.

   The letters of appointment for each Non-Executive Director are summarised below:

   Director                            Position                        Date of appointment               Company and Director notice period

   H.J. Mark Tompkins                  Non-Executive Chairman          7 March 2012                      3 months
                                       Independent Non-Executive
   Dr Ayesha Abdullah                  Director                        26 June 2014                      3 months
   Abdulrahman Basaddiq                Non-Executive Director          24 February 2014                  3 months
   Jonathan Bomford                    Senior Independent Director     27 June 2013                      3 months
                                       Independent Non-Executive
   Lord Clanwilliam                    Director                        7 March 2012                      3 months
                                       Independent Non-Executive
   Salma Hareb                         Director                        26 June 2014                      3 months
                                       Independent Non-Executive
   Heather Lawrence                    Director                        19 March 2012                     3 months
   Keyur Nagori                        Non-Executive Director          26 June 2014                      3 months
   Binay Shetty                        Non-Executive Director          1 January 2015                    3 months
                                       Independent Non-Executive
   Dr Nandini Tandon                   Director                        26 June 2014                      3 months


   There is no compensation payable upon the early termination of a Non-Executive Directors’ appointment.

   Copies of the above Non-Executive Directors’ Letters of Appointment are available for inspection during normal business hours at
   the Company’s Registered Office, and available for inspection at the Company’s annual general meeting.

   REMUNERATION ARRANGEMENTS THROUGHOUT THE GROUP
   The remuneration philosophy is the same throughout NMC – that individuals should be remunerated based on their role,
   responsibilities, experiences and local market practice. NMC has a variety of different roles from senior executives, to doctors to
   administrators and therefore remuneration levels and structures vary to reflect the different requirements and expectations of
   these roles.

   The Committee does consider that it is important, however, that senior executives are remunerated in a similar way to ensure that
   they are incentivised to collectively deliver the Group’s strategy and create value for shareholders. Executive Directors and senior
   managers will therefore all participate in the STIP and LTIP.




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The Committee has retained the existing benefits structure which applied to UAE based Executive Directors and Senior
Management in previous years. The benefits included reflect the expatriate nature of senior management in the UAE and are
similar in nature to the types of benefits which are available to other expatriate employees in the Group. The benefits include
private medical insurance, which is mandatory for employees in Abu Dhabi, where the Group is based.

SHAREHOLDER VIEWS AND CONSIDERATION OF EMPLOYMENT CONDITIONS ELSEWHERE IN THE GROUP
Communication with our Shareholders
The Committee maintains an open dialogue with our shareholders and seeks their views when any significant changes are made
to remuneration arrangements. The Chairman of the Remuneration Committee met or spoke with several of our external
shareholders to discuss the Committee’s new Remuneration arrangements prior to them being approved at the 2014 Annual
General Meeting.

Consideration of pay and conditions of employees
The Committee considers pay information in relation to senior management when determining executive pay, to ensure that pay
structures are appropriately aligned. The Committee did not consult with employees when setting Executive Director pay.

THE APPLICATION OF EXECUTIVE REMUNERATION POLICY FOR 2015
Base salaries for 2015
In reviewing base salaries for 2015, the Committee decided that it should take account of specific local market conditions where
employees are based. Accordingly a benchmarking exercise was undertaken towards the end of 2014 which, together with changes
required as a result of the new management structure implemented for the Group, has been reflected in the following new base
salaries for Executive Directors with effect from 1 January 2015.


                                                 Current salary                                 Salary with effect from 1 January 2015

Executive Vice Chairman & CEO                    £255,000                                       £300,000 (17.6% increase)
Deputy CEO                                       £200,000                                       £260,000 (new role)


The benchmarking exercise was undertaken by the Middle East consultancy firm of Hay Group and took account of base salaries
and related remuneration packages available for similar roles in the UAE in a large number of medium and large business
organisations. The exercise also reviewed the level of cash and non-cash benefits available in such comparator organisations.

Operation of the STIP for 2015
The operation of the annual bonus for 2015 will be consistent with the Company’s Remuneration policy approved by Shareholders
at the Company’s 2014 Annual General Meeting and similar in operation to the annual bonus plan for 2014. The maximum award
level will be 100% of base salary.

The performance targets that will apply for the 2015 financial year have been set after considering the Group’s priorities for the year
and will be as follows:

Executive Vice Chairman and Chief Executive Officer

            Purpose and link to                                                                                                  Percentage Weighting
Measure     remuneration strategy Performance measure      Target                                                                for relevant individuals

Financial   Grow                 Healthcare Revenues Achieve a minimum level of healthcare revenues set                          33.3
            organizational                           by the Committee (including revenues from existing
            revenues                                 facilities, new facilities to open in FY 2015, pharmacies and
                                                     management fees).
            Optimize cost of     EBITDA Margin target Achieve minimum levels of EBITDA and EBITDA margins                        33.3
            services             and gateway hurdle set by the Committee (including EBITDA from existing
                                                      facilities, new facilities to open in FY 2015, pharmacies and
                                                      management fees).

                                                           Additionally, a targeted level of EBITDA must be achieved
                                                           before any STIP entitlement is earned in relation to FY2015.
Corporate Strengthen and JCI Accreditation                 Achievement of set targets in relation to the monitoring              33.3
image     maintain NMC’s                                   of those clinical and quality indicators which are required
          corporate image                                  to reach a certain standard under the Group’s JCI
                                                           accreditations.



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   Deputy Chief Executive Officer

                   Purpose and link to                                                                                                Percentage Weighting
   Measure         remuneration strategy Performance measure   Target                                                                 for relevant individuals

   Financial       Grow                 Healthcare             Achieve a minimum level of healthcare revenues set                     20
                   organizational       Revenues               by the Committee (including revenues from existing
                   revenues                                    facilities, new facilities to open in FY 2015, pharmacies
                                                               and management fees).
                                        Revenue/Patient        Revenue/patient to achieve minimum average levels                      10
                                                               set by the Committee.
                   Optimize cost of     EBITDA Margin          Achieve minimum levels of EBITDA and EBITDA margins                    35
                   services             hurdle and target      set by the Committee (including EBITDA from existing
                                                               facilities, new facilities to open in FY 2015, pharmacies and
                                                               management fees).

                                                               Additionally, a targeted level of EBITDA must be achieved
                                                               before any STIP entitlement is earned in relation to FY2015
                                        Patient Occupancy Patient occupancy to achieve minimum average levels                         10
                                        Levels            set by the Committee
   Organizational Build new patient     Milestones           Specific targeted milestones set by the Committee for                    15
   capability     serving facilities    achieved for capital capital and technology enablement programs to be met
                  and implement         and technology
                  state-of-the-art      enablement
                  infrastructure        programs
                   Attract and          Succession             Targets set by the Committee in relation to the                        10
                   develop capable      planning               enhancement of succession planning capabilities
                   and motivated                               within the Group given the Company’s growth and
                   manpower                                    acquisition plans for 2015.


   Operation of the LTIP for 2015
   The operation of the LTIP for 2015 will be consistent with the Company’s Remuneration policy approved by Shareholders at the
   Company’s 2014 Annual General Meeting and similar in operation to the LTIP commenced in 2014. The maximum award level will be
   100% of base salary.

   The performance targets that will apply for awards made under the plan in the 2015 financial year will be as follows:

                        Purpose and link to                                                              Percentage Weighting
   Measure              remuneration strategy   Performance measure          Target                      for relevant individuals   Individual subject to target

   Total shareholder    To incentivise          TSR growth compared       25% of this element of    50%                             Executive Vice
   return (TSR)         management              to a comparator group     the award will vest for                                   Chairman and CEO
                        to deliver long         of companies.             performance equal to the                                  (Dr B.R. Shetty)
                        term returns to                                   median of the comparator
                        shareholders            The comparator group group with 100% vesting for                                    Deputy CEO
                                                for 2015 will be the same upper quartile performance                                (Prasanth Manghat)
                                                as for awards granted in or better.
                                                2014 (see below).
                                                                          Vesting is on a straight
                                                                          line basis between these
                                                                          points.
   Earnings per share To incentivise            Annual compound              25% of this element of the 50%                         Executive Vce
   (EPS)              management to             growth in EPS between        award vests for compound                               Chairman and CEO
                      deliver bottom line       the base year (i.e. 2014)    EPS growth of 6% per                                   (Dr B.R. Shetty)
                      earnings growth           and the end of the           annum with 100% vesting
                                                performance period.          for EPS growth of 15% per                              Deputy CEO
                                                                             annum.                                                 (Prasanth Manghat)

                                                                             Vesting is on a straight
                                                                             line basis between these
                                                                             points.


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DIRECTORS’ REMUNERATION REPORT 2014
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THE OUTCOME OF EXECUTIVE REMUNERATION IN 2014
Remuneration paid in 2014 (single pay figure) – subject to audit
The table below sets out the remuneration paid to or received by each Executive Directors of the Company who served during the
financial year ended 31 December 2014.

                                 Salary                       Benefits                         STIP               LTIP awards                        Pension                     Total
Executive Director               $’000                         $’000                           $’000                  $’000                           $’000                      $’000

                          2014            2013         2014          2013            2014              2013     2014          2013            2014         2013           2014            2013

Dr B.R. Shetty           408.4         408.4           157.9         149.3          283.4              229.7    0.0               0.0         0.0              0.0       849.7           787.4
Khalifa Bin Butti        56.5          245.0            0.0              0.0             0.0           137.8    0.0               0.0         0.0              0.0        56.5           382.8
Prasanth Manghat         330.8        330.8            20.2              7.5        222.3              183.9    0.0               0.0         0.0              0.0       573.3           522.2
Binay Shetty             268.2        268.2             5.4              3.0        187.2              147.1    0.0               0.0         0.0              0.0       460.8           418.3


Benefits – subject to audit
Taxable benefits include the following items:

                                 Provision of family                                Private                                                                    Annual family return flights
                                  accommodation                                medical insurance                       Life insurance cover                        to home country
Executive Director                      $’000                                        $’000                                     $’000                                     $’000

                                    2014                 2013                     2014                   2013              2014                 2013                  2014                  2013

Dr B.R. Shetty                    153.2                 145.9                     2.2                     0.9              0.0                  0.0                    2.5                  2.5
Prasanth Manghat                    0.0                   0.0                     4.4                     1.8              0.6                  0.0                   15.2                  5.7
Binay Shetty                        0.0                   0.0                      1.1                    0.5              0.5                  0.0                    3.8                  2.5




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   STIP – subject to audit
   A bonus, out of a potential maximum entitlement of 75% of base salary, was paid to Executive Directors in respect of the 2014
   financial year as follows:

   •   Dr B R Shetty (71.25%)
   •   Mr Prasanth Manghat (71.25%)
   •   Mr Binay Shetty (75.0%)

   Mr Khalifa Bin Butti did not receive any STIP entitlement in the 2014 financial year.
   The bonus was based on the following performance measures:

                                                        Performance
                             Percentage Weighting       [this section to be reviewed further to assess whether            Individual subject to
   Measure                   for relevant individuals   additional information in relation to targets can be disclosed]   target                  Outcome

   EBITDA                    60%                        EBITDA performance for the year was US$•m                         Dr B.R. Shetty          60%
                                                        representing a growth of •% on 2013. This strong                  Mr Prasanth
                                                        performance exceeded the relevant EBITDA                          Manghat
                                                        targets set by the Committee and therefore this                   Mr Binay Shetty
                                                        portion of the bonus paid out in full.

   Progress on capital       10%                        The Committee considered that sufficient                          Dr B.R. Shetty          10%
   development projects                                 progress on capital development projects was                      Mr Binay Shetty
                                                        achieved, with a number of new facilities opening
                                                        during the period under review.

   Doctor/nurse              10%                        Targets set for the recruitment of new Doctors                    Mr Binay Shetty         10%
   recruitment targets                                  and nurses to the Group was met in 2014.

   Clinical Safety           10%                        Targets were set to ensure that achievement                       Mr Binay Shetty         10%
                                                        averages in relation to KPIs monitored under the
                                                        terms of each Specialty Hospital JCI accreditation
                                                        were well above the levels required for such
                                                        accreditation. Group performance was well in
                                                        excess of this target. The other measure under
                                                        this target was to ensure that there were no
                                                        disputed mortalities in Group Healthcare facilities
                                                        during the period.

   Staff Safety              10%                        No staff fatalities occurred in any Group facilities.             Dr B.R. Shetty          10%

   Succession Planning       10%                        A new management structure was put in place                       Dr B.R. Shetty          10%
                                                        taking effect from 1 January 2015.                                Mr Prasanth
                                                                                                                          Manghat

   HR function               10%                        Recognised Listed Company HR practices and                        Dr B.R. Shetty          5%
                                                        capabilities to be implemented during the year.                   Mr Prasanth
                                                        Sufficient progress was not made in relation to                   Manghat
                                                        this measure during the period. A plan has been
                                                        put in place to achieve this objective during 2015.

   Share Price               10%                        A target was set in relation to share price                       Mr Prasanth             10%
                                                        performance of the Company against a                              Manghat
                                                        comparator group. This target was not met.

   Investor Profile          10%                        The measure was set to ensure that external                       Mr Prasanth             10%
                                                        investors in the Company were not concentrated                    Manghat
                                                        within one geographic region and the target was                   Mr Binay Shetty
                                                        met.



   Half of the bonus paid to the Executive Directors is deferred into shares for a period of three years under the terms of the Deferred
   Share Bonus Plan, for which additional performance conditions or other conditions, with exception of continued employment, do
   not apply.




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LTIP – subject to audit
Awards for Executive Directors under the LTIP were granted for the first time in 2014 and are subject to performance targets
measured over a three financial years. The performance targets set for the 2014 LTIP Awards, and our assessment of performance
against these targets over the 2014 financial year, are as follows:

Target 1. Company’s Earnings Per Share (EPS) growth
This measures the Company’s annual compound growth in EPS and represents 50% of the total award. The table below sets out
the EPS targets for the 2014 award and the corresponding level of vesting:

Annual compound growth in EPS over the Performance Period                     Vesting percentage of target

15% or more                                                                   100%
Between 6% and 15%                                                            On a straight-line basis between 25% and 100%
6%                                                                            25%
Less than 6%                                                                  0%


Target 2. Total Shareholder Return (TSR) growth
This measures the Company’s TSR compared against a comparator group of companies and represents 50% of the total award.
The table below sets out the TSR targets for the 2014 award and the corresponding level of vesting:

Company’s TSR compared to the comparator group                                Vesting percentage of target

Upper quartile or above                                                       100%
Between median and upper quartile                                             Pro rata between 25% and 100% on a ranking basis
Median                                                                        25%
Below median                                                                  0%


The Remuneration Committee has chosen a comparator group of international companies that are of a ‘similar’ size and business
scope to the Company. The table below sets out our comparator group:

Company                                                                       Country of listing

Korian Medica                                                                 France
Al Noor Hospitals GP                                                          UK
Spire Healthcare GP                                                           UK
Raffles Medical GP                                                            Singapore
Banmedica                                                                     Chile
Synergy Health                                                                UK
KPJ Healthcare                                                                Malaysia
NIB Holdings                                                                  Australia
Al-Maidan DNL. Clinic                                                         Kuwait




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   Pension – subject to audit
   There were no pension contributions in 2013 or 2014.

   Executive Director cessation arrangements – subject to audit
   Two Executive Directors of the Company stepped down from their positions during the 2014 financial year and the following
   summarises terms which the Remuneration Committee have agreed in relation to their respective resignations:

   •   Mr Khalifa Bin Butti
       Mr Bin Butti resigned from his Executive role and as a Director of the Company with effect from 25 March 2014. The Base salary
       payable to Mr Bin Butti ended on that date and no payment was made in relation to his notice period. Mr Bin Butti had earned a
       bonus in relation to the STIP for the 2013 Financial Year which, in accordance with the Company’s normal remuneration policy,
       would ordinarily have been paid 50% in cash and 50% in deferred shares. In recognition of Mr Bin Butti’s significant contribution to
       the IPO of the Company and in its growth over a number of years, the Remuneration Committee decided to pay Mr Bin Butti’s
       earned bonus for the 2013 financial year fully in cash. Mr Khalifa Bin Butti did not receive any STIP entitlement in the 2014
       financial year due to his resignation.

   •   Mr Binay Shetty
       Mr Shetty resigned from his Executive role with the Company on 31 December 2014 but remains on the Board as a Non-Executive
       Director with effect from 1 January 2015. As a result, Mr Shetty’s base salary and benefits as an Executive Director ceased with
       effect from 31 December 2014 and no payment was due in relation to any notice period under his contract of employment.
       End of Service benefit of US$58.8k was paid to Mr Shetty.

   There were no payments for loss of office during the year. There were no payments made to any past Directors during the year.

   NON-EXECUTIVE DIRECTORS REMUNERATION
   How remuneration policy will be applied for 2015
   For 2015, the fees payable to the non-executive directors effective as at 1 January 2015 are as follows:

                                                                                                                                      (£’000)

   Chairman                                                                                                                             180
   Senior Independent Director                                                                                                           70
   Non-executive director                                                                                                                60


   Additional fees may be also payable to non-executive directors from time to time for additional board responsibilities (this may
   include fees for additional time commitments).

   No additional fees are payable in relation to the Chairmanship or membership of any Board Committees.

   Details of the remuneration paid to each of the non-executive directors who served during the year are included in the table on
   page 82.

   Non-executive directors do not participate in any bonus or incentive plan or other form or performance-related remuneration.
   The Company does not provide any contribution to their pension arrangements.




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What remuneration was paid in 2014 (single pay figure) – subject to audit
The fee paid in cash to each Non-Executive Director during the year ended 31 December 2014 is set out in the following table:


  Director                                      Position                                                                             FY2014                                      FY2013
                                                                                                                                      (£’000)                                     (£’000)

  H.J. Mark Tompkins                            Independent
  (see note 1 below)                            Non-Executive Chairman                                                               170.0                                       224.5
  H.E. Saeed Bin Butti                          Non-Executive Director                                                                  7.6                                          50.0
                                                Independent
  Dr Ayesha Abdullah                            Non-Executive Director                                                                25.2                                           N/A
  Abdulrahman Basaddiq                          Non-Executive Director                                                                42.3                                           N/A
  Jonathan Bomford                              Senior Independent
                                                Non-Executive Director                                                                59.5                                           25.4
  Lord Clanwilliam                              Independent
  (see note 1 below)                            Non-Executive Director                                                                50.0                                           104.5
                                                Independent
  Salma Hareb                                   Non-Executive Director                                                                25.2                                            n/a
  Heather Lawrence                              Independent
  (see note 1 below)                            Non-Executive Director                                                                50.0                                           104.5
  Keyur Nagori                                  Non-Executive Director                                                                25.2                                            n/a
  Dr Nandini Tandon                             Independent
                                                Non-Executive Director                                                                25.2                                            n/a

Notes:
1. The fees to Mr Mark Tompkins, Lord Clanwilliam and Mrs Heather Lawrence for the year ended 31 December 2013 includes additional payments for each of the 2012 and 2013
   financial years, both of which were made in the 2013 financial year. Details of these payments were set out in the 2013 Annual Report.


DIRECTORS’ SHAREHOLDINGS AND SHARE INTERESTS – SUBJECT TO AUDIT
Directors shareholdings
The table below shows details of the Directors’ holdings of Ordinary Shares in the Company as at 1 January 2014 (or date of
appointment if later) and at 31 December 2014 (or at date of cessation of appointment if earlier).


                                                                                                                                                            Ordinary shares of 10p each

                                                                                                            1 January 2014                                            31 December 2014
Director                                                                               (or at date of appointment if later)           (or at date of cessation of appointment if earlier)

H.J. Mark Tompkins                                                                                                17,083                                                        17,083
H.E. Saeed Bin Butti                                                                                        53,466,559                                                    53,466,559
Khalifa Bin Butti                                                                                            19,059,842                                                    19,059,842
Dr B.R. Shetty                                                                                               37,742,409                                                    47,742,409
Dr Ayesha Abdullah                                                                                                       0                                                              0
Abdulrahman Basaddiq                                                                                                     0                                                              0
Jonathan Bomford                                                                                                         0                                                       10,000
Lord Clanwilliam                                                                                                         0                                                              0
Salma Hareb                                                                                                              0                                                              0
Heather Lawrence                                                                                                         0                                                        4,557
Prasanth Manghat                                                                                                   8,308                                                         8,308
Keyur Nagori                                                                                                             0                                                              0
Binay Shetty                                                                                                       6,842                                                         6,842
Dr Nandini Tandon                                                                                                        0                                                              0

Note: In addition to the above holdings, during their period in office, H.E. Saeed Bin Butti and Mr Khalifa Bin Butti also held an interest over 14,072,024 Ordinary shares of the
      Company (14,072,024 Ordinary shares as at 1 January 2014) held by Infinite Investment LLC, a company owned jointly by H.E. Saeed Bin Butti and Mr Khalifa Bin Butti.



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   H.E. Saeed Bin Butti resigned as a Director of the company on 24 February 2014. Mr Khalifa Bin Butti resigned as a Director of the
   company on 25 March 2014.

   None of the Directors received any loans, advances or other form of credit granted by the Company, nor were any guarantees of
   any kind provided by the Company on behalf of any Directors during the year ended 31 December 2014.

   Except as stated above, none of the Directors who held office during the year held any Ordinary Shares or options over Ordinary
   Shares of the Company during their period in office in the year. There have been no changes in the above shareholdings between
   31 December 2014 and the date of this Directors’ Remuneration Report.

   Executive directors are expected to build a shareholding of 200% of base salary over a period of 5 years. The Executive Vice
   Chairman & CEO is a significant shareholder in the Company and therefore already meets this requirement. The Deputy CEO holds
   shares valued at £38,217 (based on the share price at 31 December 2014). These have a value of c.19% of salary (based on salary at
   31 December 2014).

   Directors’ options awarded during the year
   The tables below shows that share awards made to Executive Directors that have not yet vested.

   Long Term Incentive Plan

                 Type of                Performance        Award      Market Price      Exercise     Shares       Face value of    % vesting for     Vesting
                 interest                      period       Date          at Date          price    Awarded             award        minimum           Date
                                              ending                    of Award                                                  performance

                 LTIP award                   31             29                                                                                         29
   Dr B.R.       subject to            December         October                                                                       25% of       October
   Shetty        performance                2016           2014          494.9p             0p       50,923         £252,018          award           2017
               LTIP award                     31             29                                                                                         29
   Mr Prasanth subject to              December         October                                                                       25% of       October
   Manghat     performance                  2016           2014          494.9p             0p       40,738        £202,834           award           2017


   For details of the performance measures attached to awards see page 77.

   Deferred Share Bonus Plan

                                       Financial Year
                                        Share Award
                   Type of                   made in                  Market Price at                                             Face value of
                    interest               respect of   Award Date    Date of Award         Exercise price    Shares Awarded            award      Vesting Date

                   Deferred
                   shares subject                            29                                                                                          29
   Dr B.R.         to continued                         October                                                                                     October
   Shetty          employment                  2013        2014             494.9p                    0p              15,510         £76,759           2017
                   Deferred
                   shares subject                            29                                                                                          29
   Mr Prasanth     to continued                         October                                                                                     October
   Manghat         employment                  2013        2014             494.9p                    0p             12,408           £61,407          2017
                   Deferred
                   shares subject                            29                                                                                          29
   Mr Binay        to continued                         October                                                                                     October
   Shetty          employment                  2013        2014             494.9p                    0p              9,926           £49,123          2017


   No options vested or were exercised during the year.




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PERFORMANCE GRAPH AND HISTORIC EXECUTIVE VICE CHAIRMAN & CEO REMUNERATION OUTCOMES
The following graph shows the Total Shareholder Return performance of NMC Health plc shares against the FTSE 250.
300




250




200




150




100




50
  Mar     May     Jul     Sep     Nov     Jan    Mar     May     Jul    Sep     Nov     Jan     Mar    May      Jul    Sep         Nov
   12      12     12       12      12      13     13      13     13      13      13      14      14     14       14     14          14


        NMC Health       FTSE 250


Note: The performance graph shows the Total Shareholder Return performance of the Company from the date of the Company’s IPO in April 2012.


The Committee believes that the FTSE 250 Index is an appropriate comparator index used to compare performance given that the
Company is a constituent of this Index and the lack of direct competitor comparators available in the London market.

The table below summarises the Executive Vice Chairman & CEO’s single figure for total remuneration since listing. This table is also
required to show the long-term incentive vesting as a percentage of the maximum for each year, however LTIP grants were made
for the first time in 2014 and none have yet vested.

Executive Vice Chairman & CEO - Dr B.R. Shetty                                                                    2012 (US$’000)         2013 (US$’000)   2014 (US$’000)

Single remuneration figure                                                                                               550.6                  787.4            849.7
STIP payout (% of maximum)                                                                                                 n/a                    75%             95%
LTI vesting (% of maximum)                                                                                                 n/a                    n/a              n/a


The Company did not operate the STIP in respect of 2012.

PAY ACROSS THE GROUP
The table below sets out the increase in total remuneration of the Executive Vice Chairman & CEO and that of all employees during
the 2014 financial year:

%                                                                                                                        Salary          Annual bonus          Benefits

Executive Vice Chairman & CEO                                                                                                0%                 23.4%             5.8%
All-employees                                                                                                            10.0%                   n/a*             9.0%

*note: the Company does not operate bonus plans for all employees.




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   RELATIVE IMPORTANCE OF SPEND ON PAY
   The graph below shows the total group-wide remuneration expenditure and dividends for the last two years.
   150
                                                 148.4

                                         128.9

   100


                76.6
         68.2
   50



                         11.6   13.8

       Profit for the Distributions to Total employee
      financial year shareholders ($m)    pay ($m)
       attributable
         to equity
    shareholders ($m)


   RESULTS OF VOTING ON REMUNERATION MATTERS AT THE COMPANY’S 2014 ANNUAL GENERAL MEETING
   The following summarises voting at the 2014 AGM in respect of the two resolutions proposed in relation to the 2013 Directors’
   Remuneration Report.

                                                                                                                               Number of
   Resolution                                                                                        For         Against   votes withheld

   To approve the Directors’ Remuneration Policy                                                  97.51%          2.49%                0
   To approve the Annual Remuneration Report                                                      99.9%           0.01%                0


   It is my pleasure to submit this report to shareholders. The Directors’ Remuneration Report has been approved by the Board and is
   signed on its behalf by:


   Lord Clanwilliam
   Chairman of the Remuneration Committee




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   INDEPENDENT AUDITOR’S REPORT TO
   THE MEMBERS OF NMC HEALTH PLC
   OPINION ON FINANCIAL STATEMENTS               and the related notes 1 to 15. The financial        SCOPE OF THE AUDIT OF THE
   In our opinion:                               reporting framework that has been                   FINANCIAL STATEMENTS
   • the financial statements give a true        applied in their preparation is applicable          An audit involves obtaining evidence
      and fair view of the state of the          law and International Financial Reporting           about the amounts and disclosures in
      group’s and of the parent company’s        Standards (IFRSs) as adopted by the                 the financial statements sufficient to give
      affairs as at 31 December 2014 and of      European Union and, as regards the                  reasonable assurance that the financial
      the group’s profit for the year then       parent company financial statements, as             statements are free from material
      ended;                                     applied in accordance with the provisions           misstatement, whether caused by fraud
   • the group financial statements have         of the Companies Act 2006.                          or error. This includes an assessment of:
      been properly prepared in accordance                                                           whether the accounting policies are
      with IFRSs as adopted by the               This report is made solely to the                   appropriate to the group’s and the parent
      European Union; and                        company’s members, as a body, in                    company’s circumstances and have
   • the parent company financial                accordance with Chapter 3 of Part 16 of             been consistently applied and adequately
      statements have been properly prepared     the Companies Act 2006. Our audit work              disclosed; the reasonableness of
      in accordance with IFRSs as adopted by     has been undertaken so that we might                significant accounting estimates made
      the European Union and as applied in       state to the company’s members those                by the directors; and the overall
      accordance with the provisions of the      matters we are required to state to them            presentation of the financial statements.
      Companies Act 2006; and                    in an auditor’s report and for no other             In addition, we read all the financial and
   • the financial statements have been          purpose. To the fullest extent permitted            non-financial information in the Annual
      prepared in accordance with the            by law, we do not accept or assume                  Report to identify material inconsistencies
      requirements of the Companies Act          responsibility to anyone other than the             with the audited financial statements
      2006 and, as regards the group             company and the company’s members                   and to identify any information that is
      financial statements, Article 4 of the     as a body, for our audit work, for this report,     apparently materially incorrect based on,
      IAS Regulation.                            or for the opinions we have formed.                 or materially inconsistent with, the
                                                                                                     knowledge acquired by us in the course
   WHAT WE HAVE AUDITED                          RESPECTIVE RESPONSIBILITIES                         of performing the audit. If we become
   We have audited the financial                 OF DIRECTORS AND AUDITOR                            aware of any apparent material
   statements of NMC Health plc for the          As explained more fully in the Directors’           misstatements or inconsistencies we
   year ended 31 December 2014 which             Responsibilities Statement set out on               consider the implications for our report.
   comprise in respect of the group financial    page 48, the directors are responsible
   statements: the consolidated statement        for the preparation of the financial
   of comprehensive income, the                  statements and for being satisfied that
   consolidated statement of financial           they give a true and fair view. Our
   position, the consolidated statement of       responsibility is to audit and express
   changes in equity, the consolidated           an opinion on the financial statements
   statement of cash flows and the related       in accordance with applicable law and
   notes 1 to 34, and which comprise in          International Standards on Auditing
   respect of the parent company financial       (UK and Ireland). Those standards require
   statements: the Statement of Financial        us to comply with the Auditing Practices
   Position, the Statement of Changes in         Board’s Ethical Standards for Auditors.
   Equity and the Statement of Cash Flows,




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INDEPENDENT AUDITOR’S REPORT
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Our assessment of risk of material misstatement and response to that risk
The table below shows the risks we identified that have had the greatest effect on the overall audit strategy; the allocation
of resources in the audit; and directing the efforts of the engagement team, together with our audit response to the risk:

Risk                                                                   How the scope of our audit addressed the risk

The valuation of trade receivables (as described on page 56 of         We performed the following audit procedures around the
the Report of the Audit Committee)                                     valuation of trade receivables:

The most significant revenue streams of the Group are                  We challenged management on the significant estimation
healthcare services and distribution sales. The vast majority          and subjectivity involved in the appropriateness of provisions
of healthcare customers settle their invoices through medical          for bad debts which included obtaining evidence to support the
insurance claims, therefore payments to the Group can be               recoverability of the older un-provided debts.
delayed due to the time taken to process claims through the
insurance companies. Furthermore, the Group experiences                We obtained direct external confirmations for a sample of
delays in payment for bulk retail sales from key customers.            customer receivable balances and we vouched post year end
This can result in a high level of aged outstanding receivables        cash receipts for a sample of year-end trade receivable balances.
balances and therefore an increased risk of non-recoverability
and inadequate bad debt provisioning.                                  No significant issues were noted from our work.
Revenue recognition, including the timing of revenue                   We performed the following audit procedures around revenue
recognition and the determination of whether the Group is              recognition:
acting in the capacity of an agent rather than principal (as
described on page 56 of the Report of the Audit Committee).            We relied upon testing performed by internal audit relating to
                                                                       controls over revenue recognition, including the timing of revenue
The Group has a number of revenue streams relating to its              recognition.
Healthcare and Distribution segments including clinic revenues,
insurance claims, over-the-counter sales, pharmacy sales and           We performed analytical review procedures and performed
sales of goods. There is a risk of improper revenue recognition        cut-off testing procedures (by selecting a sample of transactions
given the diversity of the Group’s healthcare operations,              either side of year-end) to check that revenue had been
particularly with regard to cut-off at period end dates. There         recognised in the appropriate accounting period.
is also a risk of improper revenue recognition in the distribution
business with regard to cut-off at period end dates.                   We tested a sample of new distribution agreements entered into
Furthermore, there is a risk that distribution agreements with         during the year to verify that the Group’s determination that they
key suppliers indicate that the Group may be acting in the             are acting as a principal rather than an agent is appropriate.
capacity of an agent rather than principal.
                                                                       We checked the Group’s adherence to their revenue recognition
                                                                       policies, including their determination of whether the Group is acting
                                                                       as an agent rather than as a principal, to agree that these policies
                                                                       are in accordance with IFRSs as adopted by the European Union.

                                                                       No significant issues were noted from our work.




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   Risk                                                                  How the scope of our audit addressed the risk

   The capitalisation of costs into capital work in progress (as         We performed the following audit procedures around the
   described on page 56 of the Report of the Audit Committee)            capitalisation of costs into capital work in progress (CWIP):

   Given the quantum of costs being incurred on capital work in          We verified that the Group’s capitalisation policies, including
   progress (CWIP) there is a risk that incorrect cost capitalisation    relating to the capitalisation of internal salary costs, lease costs
   may occur and that, consequently, CWIP may be overstated.             and interest costs, are in accordance with IFRSs as adopted by
                                                                         the European Union and applied appropriately.

                                                                         We vouched the majority of additions to CWIP in the year to
                                                                         supporting documentation to check that the costs met the
                                                                         criteria for capitalisation into work in progress in accordance
                                                                         with IFRSs as adopted by the European Union.

                                                                         We obtain evidence of independent third party surveyors’
                                                                         approval of construction costs incurred to date on capital projects.

                                                                         We undertook site visits of major capital projects completed
                                                                         in the year or still in progress as at 31 December 2014.

                                                                         We also held discussions with the project managers on major
                                                                         capital projects and undertook a comparison of actual capital
                                                                         work in progress spend to budget.

                                                                         We also performed audit procedures to verify that completed
                                                                         capital projects were transferred to the appropriate property, plant
                                                                         and equipment category and depreciation commenced at the
                                                                         correct point in time.

                                                                         No significant issues were noted from our work.


   Our application of materiality                 determined materiality for the Group to               million (2013: $1.80 million). Our objective
   We apply the concept of materiality            be $3.35 million (2013: $3.60 million), which         in adopting this approach was to ensure
   both in planning and performing our            was approximately 5% of profit before tax             that total detected and undetected audit
   audit, and in evaluating the effect of         (2013: 5% of adjusted profit before tax). Last        differences in all accounts did not exceed
   misstatements on our audit and on the          year we used adjusted profit before tax               our materiality level.
   financial statements. For the purposes         to exclude the non-recurring write-off of
   of determining whether the financial           unamortised finance fees resulting from               Audit work at individual components
   statements are free from material              the refinance of loan facilities in that year.        is undertaken based on a percentage
   misstatement, we define materiality            This provided a basis for determining                 of our total performance materiality.
   as the magnitude of an omission or             the nature, timing and extent of risk                 The performance materiality set for each
   misstatement that, individually or in the      assessment procedures, identifying                    component is based on the relative size
   aggregate, in light of the surrounding         and assessing the risk of material                    of the component and our view of the
   circumstances, could reasonably be             misstatement and determining the                      risk of misstatement at that component.
   expected to influence the economic             nature, timing and extent of further audit            In the current year the range of performance
   decisions of the users of the financial        procedures. During the course of our                  materiality allocated to components was
   statements. We also determine a level of       audit, the actual profit before tax figure            $0.34 million to $1.18 million.
   performance materiality which we use to        was higher than that which we had used
   determine the extent of testing needed         as the basis for determining materiality
   to reduce to an appropriately low level        and as a result we revised our materiality
   the probability that the aggregate             threshold to $3.88 million, which is
   of uncorrected and undetected                  approximately 5% of profit before tax.
   misstatements exceeds materiality for          On the basis of our risk assessments,
   the financial statements as a whole.           together with our assessment of the
                                                  Group’s overall control environment, our
   When establishing our overall audit            judgement was that overall performance
   strategy, we determined a magnitude            materiality (ie: our tolerance for
   of uncorrected misstatements that we           misstatement in an individual account
   judged would be material for the financial     or balance) for the Group should be 50%
   statements as a whole. We initially            (2013: 50%) of materiality, namely $1.94


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INDEPENDENT AUDITOR’S REPORT
CONTINUED


We agreed with the Audit Committee               OPINION ON OTHER MATTERS                        •   certain disclosures of directors’
that we would report to the Audit                PRESCRIBED BY THE COMPANIES                         remuneration specified by law
Committee all audit differences in excess        ACT 2006                                            are not made; or
of $0.17 million (2013: $0.16 million) as well   In our opinion:                                 •   we have not received all the
as differences below that threshold that,        • the part of the Directors’                        information and explanations
in our view, warranted reporting on                 Remuneration Report to be audited                we require for our audit.
qualitative grounds.                                has been properly prepared in
                                                    accordance with the Companies Act            Under the Listing Rules we are required
An overview of the scope of our audit               2006; and                                    to review:
Following our assessment of the risk             • the information given in the Strategic        • the directors’ statement, set out on
of material misstatement to the Group               Report and the Directors’ Report for the         page 47, in relation to going concern;
financial statements we selected ten                financial year for which the financial           and
components which represent the                      statements are prepared is consistent        • the part of the Corporate Governance
principal business units within the Group’s         with the financial statements.                   Statement relating to the company’s
two reportable segments and which                                                                    compliance with the nine provisions
account for 100% of the group’s profit           MATTERS ON WHICH WE ARE REQUIRED                    of the UK Corporate Governance Code
before tax and 95% of the group’s total          TO REPORT BY EXCEPTION                              specified for our review.
assets. Six of these components were             We have nothing to report in respect
subject to a full audit, whilst four             of the following:
components were subject to a partial                                                             Cameron Cartmell
audit where the extent of audit work             Under the ISAs (UK and Ireland), we are         (Senior statutory auditor)
was based on our assessment of the               required to report to you if, in our opinion,   for and on behalf of Ernst & Young LLP,
risks of material misstatement and               information in the annual report is:            Statutory Auditor
the materiality of the Group’s business          • materially inconsistent with the              London
operations at those components.                     information in the audited financial         23 February 2015
They were also selected to provide an               statements; or
appropriate basis for undertaking audit          • apparently materially incorrect based         Notes:
work to address the risks of material               on, or materially inconsistent with, our     1. The maintenance and integrity of the NMC Health
misstatement identified above. For                  knowledge of the Group acquired in              plc web site is the responsibility of the directors; the
                                                                                                    work carried out by the auditors does not involve
the remaining five components, we                   the course of performing our audit; or
                                                                                                    consideration
performed other procedures to confirm            • is otherwise misleading.                         of these matters and, accordingly, the auditors
there were no significant risks of                                                                  accept no responsibility for any changes that may
material misstatement in the Group               In particular, we are required to consider         have occurred to the financial statements since
                                                                                                    they were initially presented on the web site.
financial statements.                            whether we have identified any
                                                                                                 2. Legislation in the United Kingdom governing the
                                                 inconsistencies between our knowledge              preparation and dissemination of financial
The audit work at the ten components             acquired during the audit and the                  statements may differ from legislation in other
and the statutory audits were executed           directors’ statement that they consider            jurisdictions.
at levels of materiality applicable to each      the annual report is fair, balanced and
individual entity which were much lower          understandable and whether the annual
than Group materiality.                          report appropriately discloses those
                                                 matters that we communicated to the
Given that the Group operates solely             audit committee which we consider
in the United Arab Emirates the Senior           should have been disclosed.
Statutory Auditor or members of the
Group audit team visited the United Arab         Under the Companies Act 2006 we are
Emirates four times during the current           required to report to you if, in our opinion:
year audit process. The Group audit team         • adequate accounting records have not
interacted regularly with the component             been kept by the parent company, or
team in the United Arab Emirates where              returns adequate for our audit have
appropriate during the various stages of            not been received from branches not
the audit, reviewed key working papers              visited by us; or
and took responsibility for the scope and        • the parent company financial
direction of the audit process.                     statements and the part of the
                                                    Directors’ Remuneration Report to be
                                                    audited are not in agreement with the
                                                    accounting records and returns; or




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   CONSOLIDATED STATEMENT
   OF COMPREHENSIVE INCOME
   For the year ended 31 December 2014


                                                                                                                         2014        2013
                                                                                                            Notes     US$ ‘000    US$ ‘000

   Revenue                                                                                                      5    643,931      550,878
   Direct costs                                                                                                 6   (434,725)    (365,336)
   GROSS PROFIT                                                                                                      209,206      185,542

   General and administrative expenses                                                                          6    (137,188)    (119,562)
   Other income                                                                                                 7      30,440      26,960
   PROFIT FROM OPERATION BEFORE DEPRECIATION AND IMPAIRMENT                                                          102,458       92,940
   Depreciation                                                                                                15     (14,050)     (9,663)
   Impairment of property and equipment                                                                        15           –         (210)
   PROFIT FROM OPERATIONS                                                                                             88,408      83,067
   Finance costs                                                                                                8     (14,497)    (14,344)
   Finance income                                                                                               9      3,623        3,814
   Unamortised finance fees written off                                                                        24           –      (3,394)
   PROFIT FOR THE YEAR BEFORE TAX                                                                              10     77,534         69,143

   Tax                                                                                                         13           –             –
   PROFIT FOR THE YEAR                                                                                                77,534         69,143
   Other comprehensive income                                                                                               –             –
   TOTAL COMPREHENSIVE INCOME FOR THE YEAR                                                                            77,534         69,143
   Total profit and comprehensive income attributable to:
    Equity holders of the Parent                                                                                      76,566       68,165
    Non-controlling interests                                                                                            968         978
   Total profit and comprehensive income for the year                                                                 77,534         69,143
   Earnings per share for profit attributable to the equity holders of the Parent:
   Basic and diluted (US$)                                                                                     14       0.412        0.367


   These results relate to continuing operations of the Group. There are no discontinued operations in the current and prior year.

   The attached notes 1 to 34 form part of the consolidated financial statements.




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CONSOLIDATED STATEMENT
OF FINANCIAL POSITION
As at 31 December 2014


                                                                                                                     2014         2013
                                                                                                        Notes     US$ ‘000     US$ ‘000

ASSETS
Non-current assets
Property and equipment                                                                                    15    368,357       273,792
Intangible assets                                                                                         16      4,236          1,016
                                                                                                                 372,593      274,808
Current assets
Inventories                                                                                               17      110,209       94,123
Accounts receivable and prepayments                                                                       18     196,569      168,382
Amounts due from related parties                                                                          27        7,985        9,254
Bank deposits                                                                                             19     183,577      193,366
Bank balances and cash                                                                                    19      79,592       75,329
                                                                                                                 577,932      540,454
TOTAL ASSETS                                                                                                     950,525      815,262
EQUITY AND LIABILITIES
Equity
Share capital                                                                                             20      29,566       29,566
Share premium                                                                                                     179,152      179,152
Group restructuring reserve                                                                               21       (10,001)     (10,001)
Retained earnings                                                                                         22     250,306       187,519
Equity attributable to equity holders of the Parent                                                              449,023      386,236

Non-controlling interests                                                                                           4,004        2,915
Total equity                                                                                                     453,027      389,151
Non-current liabilities
Term loans                                                                                                24      114,457      161,845
Employees’ end of service benefits                                                                        25       12,450       10,036
Other payable                                                                                                          21          408
                                                                                                                 126,928      172,289
Current liabilities
Accounts payable and accruals                                                                             26      98,044      76,087
Amounts due to related parties                                                                            27       8,380       5,079
Bank overdrafts and other short term borrowings                                                           19     169,607      82,238
Term loans                                                                                                24      92,055      88,355
Employees’ end of service benefits                                                                        25       2,484       2,063
                                                                                                                 370,570      253,822
Total liabilities                                                                                                497,498       426,111
TOTAL EQUITY AND LIABILITIES                                                                                     950,525      815,262


The consolidated financial statements were authorised for issue by the board of directors on 23 February 2015 and were signed on
its behalf by




Dr B.R. Shetty                                                             Mr Suresh Krishnamoorthy
Executive Vice Chairman & Chief Executive Officer                          Chief Financial Officer

The attached notes 1 to 34 form part of the consolidated financial statements.




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   CONSOLIDATED STATEMENT
   OF CHANGES IN EQUITY
   For the year ended 31 December 2014


                                                                                               Group                                   Non-
                                                                              Share    restructuring      Retained                controlling
                                                          Share capital    premium           reserve      earnings        Total    interests       Total
                                                              US$ ‘000      US$ ‘000        US$ ‘000      US$ ‘000     US$ ‘000     US$ ‘000    US$ ‘000

   Balance as at 1 January 2013                               29,566       179,152          (10,001)      130,952     329,669         1,934     331,603
   Total comprehensive income for the year                         –             –                –        68,165      68,165           978      69,143
   Dividend (note 23)                                              –             –                –        (11,598)    (11,598)           –      (11,598)
   Contribution by non-controlling interest                        –             –                –              –           –            3            3
   Balance as at 31 December 2013                             29,566       179,152          (10,001)      187,519     386,236         2,915     389,151

   Total comprehensive income for the year                           –            –               –       76,566       76,566          968       77,534
   Dividend (note 23)                                                –            –               –       (13,846)     (13,846)           –     (13,846)
   Contribution by non-controlling interest                          –            –               –             –            –          121          121
   Share based payments (note 28)                                    –            –               –            67           67            –          67
   Balance as at 31 December 2014                             29,566       179,152          (10,001)     250,306      449,023         4,004     453,027


   The attached notes 1 to 34 form part of the consolidated financial statements.




   NMC Health plc Annual Report 2014                                                                                                                   93

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CONSOLIDATED STATEMENT
OF CASH FLOWS
For the year ended 31 December 2014


                                                                                                          2014           2013
                                                                                             Notes     US$ ‘000       US$ ‘000

OPERATING ACTIVITIES
Profit for the year before tax                                                                         77,534          69,143
Adjustments for:
 Depreciation                                                                                  15       14,050          9,663
 Impairment of property and equipment                                                          15            –             210
 Employees’ end of service benefits                                                            25        3,492         2,362
 Finance income                                                                                 9       (3,623)        (3,814)
 Finance costs                                                                                  8       14,497         14,344
 Loss on disposal of property and equipment                                                                224            383
 Unamortised finance fees written off                                                          24            –          3,394
 Share based payments expense                                                                  28           88               –
                                                                                                      106,262         95,685
Working capital changes:
 Inventories                                                                                           (16,086)       (21,665)
 Accounts receivable and prepayments                                                                  (28,080)         11,582
 Amounts due from related parties                                                                        1,269         (7,653)
 Accounts payable and accruals                                                                          19,673          2,809
 Amounts due to related parties                                                                           3,301         4,956
Net cash from operations                                                                               86,339          85,714
Employees’ end of service benefits paid                                                        25        (657)          (643)
Net cash from operating activities                                                                     85,682         85,071
INVESTING ACTIVITIES
Purchase of property and equipment                                                                     (111,245)      (78,616)
Purchase of intangible assets                                                                  16            (22)            –
Proceeds from disposal of property and equipment                                                            256           257
Bank deposits maturing in over 3 months                                                                  66,171        (12,251)
Restricted cash                                                                                          14,150      (22,732)
Finance income received                                                                                  3,637          5,255
Net cash (used in) investing activities                                                               (27,053)      (108,087)
FINANCING ACTIVITIES
New term loans and draw-downs                                                                         263,594        524,465
Repayment of term loans                                                                              (307,282)      (500,627)
Receipts of short term borrowings                                                                     383,705        275,347
Repayment of short term borrowings                                                                     (314,013)    (252,768)
Finance costs paid                                                                                      (13,669)      (14,532)
Dividend paid to shareholders                                                                  23       (13,846)       (11,598)
Net cash (used in) / from financing activities                                                            (1,511)     20,287
INCREASE / (DECREASE) IN CASH AND CASH EQUIVALENTS                                                      57,118        (2,729)
Cash and cash equivalents at 1 January                                                                  79,201        81,930
CASH AND CASH EQUIVALENTS AT 31 DECEMBER                                                       19      136,319         79,201


The attached notes 1 to 34 form part of the consolidated financial statements.




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    NOTES TO THE CONSOLIDATED
    FINANCIAL STATEMENTS
    At 31 December 2014


    1 CORPORATE INFORMATION
    NMC Health plc (the “Company” or “Parent’’) is a Company which was incorporated in England and Wales on 20 July 2011. The
    Company is a public limited company operating solely in the United Arab Emirates (“UAE”). The address of the registered office
    of the Company is 23 Hanover Square London, W1S 1JB. The registered number of the Company is 7712220. The Company’s
    immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Bin Butti, Dr B.R. Shetty and Mr Khalifa Bin Butti)
    who are all shareholders and of whom one is a director of the company and who together have the ability to control the company.

    The Parent and its subsidiaries (collectively the “Group”) are engaged in providing professional medical services, wholesale
    of pharmaceutical goods, medical equipment, cosmetics, food and IT products and services in the United Arab Emirates.

    The consolidated financial statements of the Group for the year ended 31 December 2014 were authorised for issue by the board
    of directors on 23 February 2015 and the consolidated statement of financial position was signed on the Board’s behalf by
    Dr B.R. Shetty and Mr Suresh Krishnamoorthy.

    2.1 BASIS OF PREPARATION
    The consolidated financial statements have been prepared in accordance with International Financial Reporting Standards as
    adopted by the European Union as they apply to the financial statements of the Group for the year ended 31 December 2014 and
    applied in accordance with the Companies Act 2006.

    The consolidated financial statements are prepared under the historical cost convention, except for derivative financial instrument
    that have been measured at fair value. The principal accounting policies adopted in the preparation of these consolidated financial
    statements are set out below. These policies have been consistently applied to all periods presented.

    Functional and reporting currency
    The functional currency of the Company and its subsidiaries is UAE Dirham. The reporting currency of the Group is United States
    of America Dollar (US$) as this is a more globally recognised currency. The UAE Dirham is pegged against the US Dollar at a rate
    of 3.673 per US Dollar.

    All values are rounded to the nearest thousand dollars ($000) except when otherwise indicated.

    Going concern
    The Group’s business activities, together with the factors likely to affect its future development, performance and position are set
    out in the Strategic Review on pages 9 to 33. The financial position of the Group, its cash flows, liquidity position and borrowing
    facilities are described in the Financial Review on pages 24 to 25.

    The Group has two diverse operating divisions, Healthcare and Distribution, both of which operate in a growing market.

    The directors have undertaken an assessment of the future prospects of the Group and the wider risks that the Group is exposed
    to. In its assessment of whether the Group should adopt the going concern basis in preparing its financial statements, the directors
    have considered the adequacy of financial resources in order to manage its business risks successfully, together with other areas
    of potential risk such as regulatory, insurance and legal risks.

    The Group has considerable financial resources including banking arrangements through a spread of local and international
    banking groups and utilizes short and medium term working capital facilities to optimise business funding. Debt covenants are
    reviewed by the board each month. The Board believes that the level of cash in the Group, the spread of bankers and debt
    facilities mitigates the financing risks that the Group faces from both its capital expenditure program and in relation to working
    capital requirements.

    Group delivered a strong performance in 2014. Both the Healthcare and Distribution divisions have continued their positive growth
    in revenue during 2014. Net profit and EBITDA of both healthcare and distribution divisions have increased in 2014. EBITDA margin of
    Distribution is almost same as last year whereas for Healthcare it decreased slightly which is due to opening of new facilities during
    the year. The directors have reviewed the business plan for 2015 and the five year cash flow, together with growth forecasts for the
    healthcare sector in UAE. The directors consider the Group’s future forecasts to be reasonable.

    The directors have not identified any other matters that may impact the viability of the Group in the medium term and therefore
    they continue to adopt the going concern basis in preparing the consolidated financial statements.




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 2.2 BASIS OF CONSOLIDATION
 The consolidated financial statements comprise the financial statements of the Group and its subsidiaries as at 31 December 2014.
 Control is achieved when the Group is exposed, or has rights, to variable returns from its involvement with the investee and has
 the ability to affect those returns through its power over the investee. Specifically, the Group controls an investee if, and only if, the
 Group has:

 •    Power over the investee (i.e., existing rights that give it the current ability to direct the relevant activities of the investee).
 •    Exposure, or rights, to variable returns from its involvement with the investee.
 •    The ability to use its power over the investee to affect its returns.

 Generally, there is a presumption that a majority of voting rights result in control. To support this presumption and when the Group
 has less than a majority of the voting or similar rights of an investee, the Group considers all relevant facts and circumstances in
 assessing whether it has power over an investee, including:

 •    The contractual arrangement with the other vote holders of the investee.
 •    Rights arising from other contractual arrangements.
 •    The Group’s voting rights and potential voting rights.

 The Group re-assesses whether or not it controls an investee if facts and circumstances indicate that there are changes to one or
 more of the three elements of control. Consolidation of a subsidiary begins when the Group obtains control over the subsidiary and
 ceases when the Group loses control of the subsidiary. Assets, liabilities, income and expenses of a subsidiary acquired or disposed
 of during the year are included in the consolidated financial statements from the date the Group gains control until the date the
 Group ceases to control the subsidiary.

 Profit or loss and each component of other comprehensive income (OCI) are attributed to the equity holders of the parent of
 the Group and to the non-controlling interests, even if this results in the non-controlling interests having a deficit balance. When
 necessary, adjustments are made to the financial statements of subsidiaries to bring their accounting policies into line with the
 Group’s accounting policies. All intra-group assets and liabilities, equity, income, expenses and cash flows relating to transactions
 between members of the Group are eliminated in full on consolidation.

 A change in the ownership interest of a subsidiary, without a loss of control, is accounted for as an equity transaction.

 If the Group loses control over a subsidiary, it derecognises the related assets (including goodwill), liabilities, non-controlling interest
 and other components of equity while any resultant gain or loss is recognised in profit or loss. Any investment retained is
 recognised at fair value.

 The consolidated financial statements include the financial statements of the Company and its principal subsidiaries listed below:

                                                                                                                              Percentage of holdings

                                                                                                                           31 December    31 December
                                                                                                                                   2014           2013

 Direct subsidiaries:
   NMC Holding Co LLC                                                                                                            100%           100%
   NMC Health Holdco Limited                                                                                                     100%           100%
 Indirect subsidiaries:
   NMC Healthcare LLC                                                                                                            100%           100%
   New Pharmacy Company Limited                                                                                                   99%            99%
   New Medical Centre Hospital LLC-Dubai                                                                                          99%            99%
   NMC Specialty Hospital LLC-Abu Dhabi                                                                                           99%            99%
   NMC Specialty Hospital LLC-Dubai                                                                                               99%            99%
   New Medical Centre Trading LLC                                                                                                 99%            99%
   Bait Al Shifaa Pharmacy LLC-Dubai                                                                                              99%            99%
   New Medical Centre LLC-Sharjah                                                                                                 99%            99%
   New Medical Centre Specialty Hospital LLC-Al Ain                                                                               99%            99%
   Reliance Information Technology LLC                                                                                            99%            99%
   BR Medical Suites FZ LLC                                                                                                      100%           100%
   Brightpoint Hospital LLC                                                                                                       99%            99%
   NMC Day Surgery Centre LLC                                                                                                     99%            99%
   NMC Dubai Investment Park LLC                                                                                                  99%            99%

 All the above subsidiaries are incorporated in the UAE except for NMC Health Holdco Limited, which is incorporated in England
 and Wales.


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    2.3 SIGNIFICANT ACCOUNTING JUDGEMENTS AND ESTIMATES
    The key assumptions concerning the future, key sources of estimation uncertainty and critical judgements at the reporting date
    that have a significant risk of causing a material adjustment to the carrying amounts of assets and liabilities within the next
    financial year are discussed below:

    Significant estimates
    Impairment of inventories
    Inventories are held at the lower of cost and net realisable value. When inventories become old or obsolete, an estimate is made
    of their net realisable value. For individually significant amounts this estimation is performed on an individual basis. Amounts which
    are not individually significant, but which are old or obsolete, are assessed collectively and a provision applied according to the
    inventory type and the Group’s policy for inventory provisioning. The gross carrying amount of inventories at 31 December 2014
    was US$111,597,000 (2013: US$94,839,000) and the provision for old and obsolete items at 31 December 2014 was US$1,388,000
    (2013: US$716,000).

    Impairment of accounts receivable
    An estimate of the collectible amount of trade accounts receivable is made when collection of the full amount is no longer
    probable. For individually significant amounts, this estimation is performed on an individual basis. Amounts which are not
    individually significant, but which are past due, are assessed collectively and a provision applied according to the length of time
    past due, based on historical recovery rates.

    A majority of the receivables that are past due but not impaired are from insurance companies and government-linked entities
    in the United Arab Emirates which are inherently slow payers due to their long invoice verification and approval of payment
    procedures. Payments continue to be received from these customers and accordingly the risk of non-recoverability is considered
    to be low.

    Gross trade accounts receivable at 31 December 2014 were US$177,203,000 (2013: US$ 154,234,000) and the provision for doubtful debts
    at 31 December 2014 was US$8,996,000 (2013: US$8,241,000). Any difference between the amounts actually collected in future periods
    and the amounts expected will be recognised in the consolidated statement of comprehensive income.

    Significant judgements
    Functional currency
    The UAE Dirham is determined to be the functional currency of the Company.

    Judgement has been used to determine the functional currency of the Company that most appropriately represents the economic
    effects of the Company’s transactions, events and conditions.

    The primary economic environment influencing the Company’s income (dividends) is the UAE and the effect of the local
    environment is limited to expenses incurred within the UK. The ability of the Company to meet its obligations and pay dividends
    to its shareholders is dependent on the economy of, and the operation of its subsidiaries in, the UAE.

    Assets held in the name of the previous shareholder
    In accordance with local laws, except in some specific locations in the UAE the registered title of land and buildings must be held
    in the name of a UAE national. As a result, land and buildings of the Group are legally registered in the name of shareholders or
    previous shareholders of the Group. As at 31 December 2014 certain land and buildings with a carrying amount of US$9,321,000
    (2013: US$9,648,000) are held in the name of a previous shareholder for the beneficial interest of the Group. As the beneficial interest
    of such land and buildings resides with the Group, these assets are recorded within land and buildings in the Group consolidated
    financial statements. The directors take into account this local legal registration requirement, the Group’s entitlement to the
    beneficial interest arising from these assets, as well as other general business factors, when considering whether such assets are
    impaired. Subsequent to year end US$5,177,000 of the land and buildings which were held in the name of a previous shareholder
    for the beneficial interest of the Group were transferred into the name of a current UAE national shareholder.




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 2.3 SIGNIFICANT ACCOUNTING JUDGEMENTS AND ESTIMATES (CONTINUED)
 Leases for buildings and land
 Generally our hospitals, day patient medical centres and hospital projects under development are located on land and in buildings
 which are leased. As at 31 December 2014, the majority of the lease periods range from five to twenty seven years apart from the
 leases for New Medical Centre Hospital LLC-Dubai (‘Dubai General Hospital) and the warehouse facilities, which had leases which are
 renewable on an annual basis with a total value of US$1,015,000 included within property, and equipment as at 31 December 2014. If
 any such leases are terminated or expire and are not renewed, the Group could lose the investment, including the hospital buildings
 and the warehouses on the leased sites which could have a material adverse effect on our business, financial condition and results
 of operations. The directors have considered the following facts in determining the likelihood that these leases will be renewed:

 •    Whilst some leases can be for long term durations, it is not unusual and can often be common practice throughout all of the
      emirates in the United Arab Emirates for landlords to lease land and buildings to companies on annually renewable leases
      of one year terms and for these leases to be renewed automatically. Throughout the Group’s 41 year history it has never had
      a lease cancelled or not renewed, and the Group enjoys a high degree of respect in the region and believes that it maintains
      strong relationships with the landlords.
 •    Both the Dubai General Hospital and the warehouse facilities have been occupied by the Group on annually renewable leases,
      for a period of more than 14 years and each year these leases have been automatically renewed.
 •    The warehouse facilities have been built by the Group on land leased from government bodies in the Emirates of Dubai and
      Abu Dhabi on the back of the policies of these governments to attract investment in warehousing in the United Arab Emirates.

 2.4 CHANGES IN ACCOUNTING POLICIES
 New and amended standards and interpretations:
 The Group applied for the first time certain standards and amendments which are effective for annual periods beginning on
 or after 1 January 2014.

 The amendments to IFRS, which are effective as of 1 January 2014 and are described in more detail below, have no impact on
 the Group.

 Investment Entities (Amendments to IFRS 10, IFRS 12 and IAS 27)
 These amendments provide an exception to the consolidation requirement for entities that meet the definition of an investment
 entity under IFRS 10 Consolidated Financial Statements. The exception to consolidation requires investment entities to account for
 subsidiaries at fair value through profit or loss. These amendments have no impact on the Group, since none of the entities in the
 Group qualifies to be an investment entity under IFRS 10.

 Offsetting Financial Assets and Financial Liabilities – Amendments to IAS 32
 These amendments clarify the meaning of ’currently has a legally enforceable right to set-off’ and the criteria for non-simultaneous
 settlement mechanisms of clearing houses to qualify for offsetting. These amendments have no impact on the Group, since none
 of the entities in the Group has any offsetting arrangements.

 Novation of Derivatives and Continuation of Hedge Accounting – Amendments to IAS 39
 These amendments provide relief from discontinuing hedge accounting when novation of a derivative designated as a hedging
 instrument meets certain criteria and retrospective application is required. These amendments have no impact on the Group as
 the Group has no derivatives as of 31 December 2014.

 Recoverable Amount Disclosures for Non-Financial Assets-Amendments to IAS 36
 These amendments remove the unintended consequences of IFRS 13 Fair Value Measurement on the disclosures required under
 IAS 36 Impairment of Assets. In addition, these amendments require disclosure of the recoverable amounts for the assets or
 cash–generating units (CGUs) for which an impairment loss has been recognised or reversed during the period. These amendments
 have no impact on the Group as the Group has not recognised or reversed any impairment loss during the period.

 IFRIC 21 Levies
 IFRIC 21 clarifies that an entity recognises a liability for a levy when the activity that triggers payment, as identified by the relevant
 legislation, occurs. For a levy that is triggered upon reaching a minimum threshold, the interpretation clarifies that no liability should
 be anticipated before the specified minimum threshold is reached. This interpretation has no impact on the Group.




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    2.4 CHANGES IN ACCOUNTING POLICIES (CONTINUED)
    Annual Improvements 2010-2012 Cycle
    In the 2010-2012 annual improvements cycle, the IASB issued seven amendments to six standards, which included an amendment
    to IFRS 13 Fair Value Measurement. The amendment to IFRS 13 is effective immediately and, thus, for periods beginning at 1 January
    2014, and it clarifies in the Basis for Conclusions that short-term receivables and payables with no stated interest rates can be
    measured at invoice amounts when the effect of discounting is immaterial. This amendment is relevant to the Group as the Group
    has determined that the effect of discounting is immaterial and so short term receivables and payables have been measured at
    invoiced amounts.

    Annual Improvements 2011-2013 Cycle
    In the 2011-2013 annual improvements cycle, the IASB issued four amendments to four standards, which included an amendment
    to IFRS 1 First-time Adoption of International Financial Reporting Standards. This amendment to IFRS 1 has no impact on the Group,
    since the Group is an existing IFRS preparer.

    3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
    Revenue recognition
    Revenue is recognised to the extent that it is probable that the economic benefits will flow to the Group and the revenue can be
    reliably measured, regardless of when the payment is being made. Revenue is measured at the fair value of the consideration
    received or receivable, less discounts and rebates and taking into account contractually defined terms of payment and excluding
    taxes or duties.

    Revenue streams include clinic service revenues, sale of goods – Pharmacy, sale of goods –Distribution, Healthcare management
    fees and revenue from BR Medical Suites.

    The Group assesses its revenue arrangements against specific criteria in order to determine if it is acting as principal or agent. The
    Group determines it is acting as principal when it has exposure to the significant risks and rewards associated with the transaction
    and measures revenue as the gross amount received or receivable. When the Group does not retain the significant risks and
    rewards, it deems that it is acting as an agent and measures revenue as the amount received or receivable in return for its
    performance under the contract and excludes any amounts collected on behalf of a third party.

    Clinic service revenues:
    Clinic service revenues represent the revenue which NMC generates from the provision of either inpatient or outpatient medical
    services. The group primarily receives clinic service revenues from patients’ private /medical insurance schemes. Clinic revenues
    are recognised when, and to the extent that, performance of a medical service occurs, and is measured at the fair value of the
    consideration received or receivable. NMC has determined that it is acting as Principal in these arrangements as it has the responsibility
    for providing the medical services to the patient, it sets the prices for the clinic services which are provided, it bears the credit risk
    and it bears the risk of providing the medical service.

    Sale of Goods – Pharmacy:
    The sales of goods from pharmacy relates to the sale of pharmaceutical and other products from hospitals and pharmacies.
    Whilst the Group does not establish the prices for the pharmaceutical products sold as both the purchase and selling prices for all
    pharmaceutical products are fixed by the Ministry of Health, NMC has determined that it is acting as Principal in respect of these
    sales as it provides the goods for sale, it bears the inventory risk, and it bears the credit risk from customers. Revenue from the sale
    of goods – Pharmacy is therefore recognised when the significant risks and rewards of ownership of the goods have passed to the
    buyer. Significant risk for retail goods is passed to the buyer at the point of sale.

    Sale of Goods – Distribution:
    Where the Group bears the inventory risk and the customer credit risk and has the ability to set the prices for the products sold
    then the Group has determined that it is acting as Principal. Revenue from the sale of goods is therefore recognised when the
    significant risks and rewards of ownership of the goods have passed to the buyer. Significant risk for retail goods is passed to the
    buyer for wholesale goods at the time of delivery.

    For agency relationships, the revenue earned is measured as the Group’s share of the revenue, as specified in the contract. Any
    amounts collected on behalf of the third party are excluded from revenue and are recorded as a payable. There are currently no
    material agency relationships.

    Healthcare Management fees:
    Management fees represent fees earned for managing a hospital. Management fees are recognised when the services under
    the contract are performed, and the service level criteria have been met, and are measured at the fair value of the consideration
    received or receivable, in line with the terms of the management contract.




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 3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
 Revenue from BR Medical Suites:
 BR Medical Suites enters into contracts with doctors whereby these doctors are employed to perform certain procedures or run
 outpatient services using the facilities at BR Medical Suites. In return the doctors obtain a share of the revenues that are generated
 from these facilities. Each contractual arrangement with individual doctors is assessed against specific criteria to determine
 whether the Group is acting as principal or agent in the arrangement with these doctors.

 Other income
 Other income comprises revenue from suppliers for the reimbursement of advertising and promotion costs incurred by the Group.
 Revenue is recognised following formal acceptance of the Group’s reimbursement claims by suppliers and is measured at the
 confirmed amount receivable.

 Interest income
 For all financial instruments measured at amortised cost, interest income or expense is recorded using the effective interest rate
 (EIR), which is the rate that exactly discounts the estimated future cash payments or receipts through the expected life of the
 financial instrument or a shorter period, where appropriate, to the net carrying amount of the financial asset or liability. Interest
 income is included in finance income in the consolidated statement of comprehensive income.

 Rebates from Suppliers
 The Distribution business receives rebates in the ordinary course of business from a number of its suppliers of pharmaceutical
 products, in accordance with contractual arrangements in place with specific suppliers. Rebates are accounted for once approval
 has been received from the supplier following the negotiations which have taken place with them. Rebates receivable are accounted
 for as a deduction from the cost of purchasing pharmaceutical goods, once the rebate has been approved by the supplier on the
 basis under IAS 18 that the probability of inflow is not sufficiently certain and the amounts cannot be reliably measured until that
 point. When rebates have been agreed in advance, for example when it has been agreed that a certain rebate will be applied to
 the purchase of specific goods for a set period of time rather than just to a specific one off purchase, then the rebate is recognised
 as a reduction in the purchase price as soon as the goods are purchased. When rebates are offered based upon the volume
 purchased and it is probable that the rebate will be earned and the amount can be estimated reliably, then the discount is
 recognised as a reduction in the purchase price when the goods are purchased and the assessment is reviewed on an ongoing
 basis. Rebates receivable are accounted for on a net basis, being set off against the trade payables to which they relate, as they
 are a reduction in the amount we owe to our suppliers in respect of pharmaceutical products purchased.

 Business combinations and goodwill
 The Group applies the acquisition method to account for business combinations. The consideration transferred for the acquisition
 of a subsidiary is the fair values of the assets transferred, the liabilities incurred to the former owners of the acquiree and the
 equity interests issued by the Group. The consideration transferred includes the fair value of any asset or liability resulting from
 a contingent consideration arrangement. Identifiable assets acquired and liabilities and contingent liabilities assumed in a business
 combination are measured initially at their fair values at the acquisition date. The Group recognises any non-controlling interest in
 the acquiree on an acquisition-by-acquisition basis, either at fair value or at the non-controlling interest’s proportionate share of the
 recognised amounts of acquiree’s identifiable net assets. Acquisition-related costs are expensed as incurred.

 If the business combination is achieved in stages, the acquisition date fair value of the acquirer’s previously held equity interest
 in the acquiree is remeasured to fair value at the acquisition date through profit or loss.

 Any contingent consideration to be transferred by the Group is recognised at fair value at the acquisition date. Subsequent changes
 to the fair value of the contingent consideration that is deemed to be an asset or liability is recognised in accordance with IAS 39
 either in profit or loss or as a change to other comprehensive income. Contingent consideration that is classified as equity is not
 remeasured, and its subsequent settlement is accounted for within equity.

 Goodwill is initially measured at cost, being the excess of the aggregate of the consideration transferred and the amount
 recognised for non-controlling interest over the net identifiable assets acquired and liabilities assumed. If the fair value of the
 net assets acquired is in excess of the aggregate consideration transferred, the gain is recognised in profit or loss.

 After initial recognition, goodwill is measured at cost less any accumulated impairment losses. For the purpose of impairment
 testing, goodwill acquired in a business combination is, from the acquisition date, allocated to each of the Group’s cash-generating
 units that are expected to benefit from the combination, irrespective of whether other assets or liabilities of the acquire are
 assigned to those units.




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    3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
    Where goodwill has been allocated to a cash-generating unit and part of the operation within that unit is disposed of, the goodwill
    associated with the disposed operation is included in the carrying amount of the operation when determining the gain or loss on
    disposal. Goodwill disposed in these circumstances is measured based on the relative values of the disposed operation and the
    portion of the cash-generating unit retained.

    Business combinations involving entities under common control
    Business combinations involving entities under common control do not fall under the scope of IFRS 3 Revised ‘Business Combinations’.
    The transfer of companies under common control is therefore accounted for using the pooling of interests method. Under this
    method there is no requirement to fair value the assets and liabilities of the transferred entities and hence no goodwill is created
    upon transfer of ownership as the balances remain at book value. The consolidated income statement, consolidated balance sheet
    and the consolidated statement of cash flows comparative figures are also presented as if the Company had been the parent
    undertaking of the Group throughout the current and previous year. The consolidated financial statements are therefore presented
    as though the Group had always existed in its current form.

    Restructuring reserve
    The group restructuring reserve arises on consolidation under the pooling of interests method used for the group restructuring
    which took place on 1 April 2012. This represents the difference between the share capital of NMC Healthcare LLC, the previous
    parent company of the Group, and the carrying amount of the investment in that company at the date of the restructure. This
    reserve is non-distributable.

    Property and equipment
    Property and equipment are stated at cost less accumulated depreciation and any impairment in value.

    Depreciation is calculated on all property and equipment other than land and capital work in progress, at the following rates
    calculated to write off the cost of each asset on a straight line basis over its expected useful life:

      Hospital building                                                                                                                   6%
      Buildings                                                                                                                           6%
      Leasehold improvements                                                                                                             20%
      Motor vehicles                                                                                                                     20%
      Furniture, fixtures and fittings                                                                                           12.5% – 20%
      Medical equipment                                                                                                            10% – 25%

    The carrying amounts of property and equipment are reviewed for impairment when events or changes in circumstances indicate
    the carrying value may not be recoverable. If any such indication exists and where the carrying values exceed the estimated
    recoverable amount, the assets are written down to their recoverable amount, being the higher of their fair value less cost to sell
    and their value in use.

    Capital work in progress is stated at cost and is not depreciated. Lease costs in respect of capital work in progress are capitalised
    within capital work in progress during the period up until it is commissioned. When commissioned, capital work in progress is
    transferred to the appropriate property and equipment asset category and depreciated in accordance with the Group’s policies.
    The carrying amounts of capital work in progress are reviewed for impairment when events or changes in circumstances indicate
    the carrying value may not be recoverable. If any such indication exists and where the carrying values exceed the estimated
    recoverable amount, the assets are written down to their recoverable amount.

    Expenditure incurred to replace a component of an item of property and equipment that is accounted for separately is capitalised
    and the carrying amount of the component that is replaced is written off. Other subsequent expenditure is capitalised only when
    it increases future economic benefits of the related item of property and equipment. All other expenditure is recognised in the
    consolidated statement of comprehensive income as the expense is incurred.

    Intangible assets
    Intangible assets acquired separately are measured on initial recognition at cost. The cost of intangible assets acquired in a business
    combination is their fair value at the date of acquisition. Following initial recognition, intangible assets are carried at cost less any
    accumulated amortisation and accumulated impairment losses. Internally generated intangibles, excluding capitalised development
    costs, are not capitalised and the related expenditure is reflected in consolidated statement of comprehensive income in the period
    in which the expenditure is incurred.




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 3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
 The useful lives of intangible assets are assessed as either finite or indefinite.

 Intangible assets with finite lives are amortised over the useful economic life and assessed for impairment whenever there is an
 indication that the intangible asset may be impaired. The amortisation period and the amortisation method for an intangible asset
 with a finite useful life are reviewed at least at the end of each reporting period. Changes in the expected useful life or the expected
 pattern of consumption of future economic benefits embodied in the asset are considered to modify the amortisation period or
 method, as appropriate, and are treated as changes in accounting estimates. The amortisation expense on intangible assets with
 finite lives is recognised in the statement of consolidated comprehensive income in the expense category that is consistent with
 the function of the intangible assets.

 Intangible assets with indefinite useful lives are not amortised, but are tested for impairment annually, either individually or at the
 cash-generating unit level. The assessment of indefinite life is reviewed annually to determine whether the indefinite life continues
 to be supportable. If not, the change in useful life from indefinite to finite is made on a prospective basis.

 Gains or losses arising from derecognition of an intangible asset are measured as the difference between the net disposal
 proceeds and the carrying amount of the asset and are recognised in the consolidated statement of comprehensive income when
 the asset is derecognised.

 Borrowing costs
 Borrowing costs that are directly attributable to the acquisition or construction of an asset are capitalised as part of the cost of
 the asset until the asset is commissioned for use. Borrowing costs in respect of completed assets or not attributable to assets
 are expensed in the period in which they are incurred.

 Pre-operating expenses
 Pre-operating expenses are the expenses incurred prior to start of operations of a new business unit. These are recognised in the
 consolidated statement of comprehensive income in the year in which they occur.

 Inventories
 Inventories are valued at the lower of cost and net realisable value after making due allowance for any obsolete or slow moving
 items. Costs are those expenses incurred in bringing each product to its present location and condition and are determined on
 a weighted average basis. Net realisable value is based on estimated selling price less any further costs expected to be incurred
 to disposal.

 Accounts receivable
 Accounts receivable are stated at original invoice amount less a provision for any uncollectible amounts. Accounts receivable with no
 stated interest rates are measured at invoiced amounts when the effect of discounting is immaterial. An estimate of doubtful debts
 is made when collection of the full amount is no longer probable. Bad debts are written off when there is no possibility of recovery.

 Cash and cash equivalents
 For the purpose of the consolidated statement of cash flows, cash and cash equivalents consist of cash in hand, bank balances
 and short term deposits with an original maturity of three months or less, net of outstanding bank overdrafts.

 Equity
 The Group has issued ordinary shares that are classified as equity. The difference between the issue price and the par value
 of ordinary share capital is allocated to share premium. The transaction costs incurred for the share issue are accounted for
 as a deduction from share premium, net of any related income tax benefit, to the extent they are incremental costs directly
 attributable to the share issue that would otherwise have been avoided.

 Accounts payable and accruals
 Liabilities are recognised for amounts to be paid in the future for goods and services received whether billed by the supplier or not.
 Accounts payable are classified as current liabilities if payment is due within one year or less (or in the normal operating cycle of
 the business if longer). If not, they are presented as non-current liabilities. Accounts payable are recognised initially at fair value and
 subsequently measured at amortised cost using the effective interest method.

 Provisions
 Provisions are recognised when the Group has an obligation (legal or constructive) arising from a past event, and the costs to settle
 the obligation are both probable and able to be reliably measured.




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    3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
    Provisions are measured at the present value of the expenditures expected to be required to settle the obligation using a pre-tax
    rate that reflects current market assessments of the time value of money and risks specific to the obligation. Increases in provisions
    due to the passage of time are recognised in the consolidated income statement within ‘Finance costs’.

    Term loans
    Term loans are initially recognised at the fair value of the consideration received less directly attributable transaction costs. After
    initial recognition, term loans are subsequently measured at amortised cost using the effective interest method. Interest on term
    loans is charged as an expense as it accrues, with unpaid amounts included in “accounts payable and accruals”.

    When an existing financial liability is replaced by another from the same lender on substantially different terms, or the terms
    of an existing liability are substantially modified, such an exchange or modification is treated as the derecognition of the original
    liability and the recognition of a new liability. The difference in the respective carrying amounts is recognised in the statement of
    comprehensive income.

    Employees’ end of service benefits
    The Group operates an un-funded post-employment benefit plan (employees’ end of service benefits) for its expatriate employees
    in UAE, in accordance with the labour laws of the UAE. The entitlement to these benefits is based upon the employees’ final salary
    and length of service, subject to the completion of a minimum service period. Payment for employees’ end of service benefits is
    made when an employee leaves, resigns or completes his service.

    The cost of providing benefits under the post-employment benefit plan is determined using the projected unit credit method.
    Re-measurements, comprising of actuarial gains and losses, are recognized immediately in the statement of financial position
    with a corresponding debit or credit to retained earnings through other comprehensive income in the period in which they occur.
    Re-measurements are not reclassified to profit or loss in subsequent periods.

    Interest is calculated by applying the discount rate to the defined benefit liability. The rate used to discount the end of service
    benefit obligation is determined by reference to market yields at the balance sheet date on high quality corporate bonds. The
    current and non-current portions of the provision relating to employees’ end of service benefits are separately disclosed in the
    consolidated statement of financial position.

    The Group recognises the following changes in the employees’ end of service benefits under ‘direct costs’ and ‘general and
    administrative expenses’ in the consolidated statement of comprehensive income:

    •   Service costs comprising current service costs.
    •   Interest expense.

    With respect to its UAE national employees, the Group makes contributions to the relevant UAE Government pension scheme
    calculated as a percentage of the employees’ salaries. The obligations under these schemes are limited to these contributions,
    which are expensed when due.

    Share based payments
    Equity-settled share-based payments to employees (including executive directors) are measured at the fair value of the equity
    instruments at the grant date. The fair value excludes the effect of non-market-based vesting conditions. Details regarding the
    determination of the fair value of equity-settled share-based transactions are set out in note 28.

    The fair value determined at the grant date of the equity-settled share-based payments is expensed on a straight-line basis
    over the vesting period, based on the Group’s estimate of equity instruments that will eventually vest. At each reporting date,
    the Group revises its estimate of the number of equity instruments expected to vest as a result of the effect of non-market-based
    vesting conditions. The impact of the revision of the original estimates, if any, is recognised in the consolidated statement of
    comprehensive income such that the cumulative expense reflects the revised estimate, with a corresponding adjustment to
    equity reserves/other payables.

    No expense is recognised for awards that do not ultimately vest, except for equity-settled transactions for which vesting is
    conditional upon a market or non-vesting condition. These are treated as vesting irrespective of whether or not the market
    or non-vesting condition is satisfied, provided that all other performance and/or service conditions are satisfied.

    The dilutive effect of outstanding options is reflected as additional share dilution in the computation of diluted earnings per share
    (see note 14).




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 3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
 Foreign currencies
 Transactions in foreign currencies are recorded in UAE Dirhams at the exchange rate ruling at the date of the transaction. Monetary
 assets and liabilities denominated in foreign currencies are retranslated at the rate of exchange ruling at the balance sheet date.
 All differences are taken to the consolidated statement of comprehensive income.

 Translation of foreign operations
 On consolidation the assets and liabilities of foreign operations are translated into US Dollars at the rate of exchange prevailing at
 the reporting date and their income statements are translated at exchange rates prevailing at the dates of the transactions. Since
 the UAE Dirham is pegged against the US Dollar a single rate of 3.673 per US Dollar is used to translate assets and liabilities and
 balances in the income statement.

 Derivative financial instruments
 The Group used derivative financial instruments such as interest rate swaps and caps to hedge its interest rate risks. Such
 derivative financial instruments were initially recognised at fair value on the date on which a contract is entered into and were
 subsequently remeasured at fair value. The fair value of interest rate swaps were determined by reference to market values for
 similar instruments. Derivatives with positive market values (unrealised gains) were included in other assets and derivatives with
 negative market values (unrealised losses) were included in other liabilities in the consolidated statement of financial position.
 Any gains or losses arising from changes in fair value on derivatives during the year were taken directly to profit or loss. Whilst the
 policy of the Group is not to apply hedge accounting, the derivatives were economic hedges of liabilities in issue and it is therefore
 considered appropriate to show the changes in fair value of derivatives in finance costs in the consolidated statement of
 comprehensive income.

 Fair value measurement
 Fair value is the price that would be received to sell an asset or paid to transfer a liability in an orderly transaction between market
 participants at the measurement date. The fair value measurement is based on the presumption that the transaction to sell the
 asset or transfer the liability takes place either:

 •     In the principal market for the asset or liability, or
 •     In the absence of a principal market, in the most advantageous market for the asset or liability.

 The principal or the most advantageous market must be accessible to by the Group.

 The fair value of an asset or a liability is measured using the assumptions that market participants would use when pricing the
 asset or liability, assuming that market participants act in their economic best interest.

 A fair value measurement of a non-financial asset takes into account a market participant’s ability to generate economic benefits
 by using the asset in its highest and best use or by selling it to another market participant that would use the asset in its highest
 and best use.

 The Group uses valuation techniques that are appropriate in the circumstances and for which sufficient data are available to measure
 fair value, maximising the use of relevant observable inputs and minimising the use of unobservable inputs.

 All assets and liabilities for which fair value is measured or disclosed in the financial statements are categorised within the fair value
 hierarchy, described as follows, based on the lowest level input that is significant to the fair value measurement as a whole:

 •     Level 1 — Quoted (unadjusted) market prices in active markets for identical assets or liabilities.
 •     Level 2 — Valuation techniques for which the lowest level input that is significant to the fair value measurement is directly or
       indirectly observable
 •     Level 3 — Valuation techniques for which the lowest level input that is significant to the fair value measurement is unobservable

 For assets and liabilities that are recognised in the financial statements on a recurring basis, the Group determines whether
 transfers have occurred between levels in the hierarchy by re-assessing categorisation (based on the lowest level input that
 is significant to the fair value measurement as a whole) at the end of each reporting period.

 Impairment of financial assets
 An assessment is made at each consolidated statement of financial position date to determine whether there is objective
 evidence that a specific financial asset may be impaired. If such evidence exists, any impairment loss is recognised in the
 consolidated statement of comprehensive income. Impairment is determined as the difference between carrying value and
 the present value of future cash flows discounted at the current market rate of return for a similar financial asset.




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    3 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
    Leases
    The determination of whether an arrangement is, or contains, a lease is based on the substance of the arrangement at inception
    date, whether fulfilment of the arrangement is dependent on the use of a specific asset or assets or the arrangement conveys
    a right to use the asset, even if that right is not explicitly specified in an arrangement. Operating leases are recognised as an
    operating expense in the consolidated statement of comprehensive income on a straight line basis.

    4 ACCOUNTING STANDARDS AND INTERPRETATIONS ISSUED BUT NOT EFFECTIVE
    The standards and interpretations that are issued, but not yet effective, up to the date of issuance of the Group’s financial
    statements are listed below. The Group intends to adopt these standards, if applicable, when they become effective.

    IFRS 15 Revenue from Contracts with Customers
    IFRS 15 was issued in May 2014 and establishes a new five-step model that will apply to revenue arising from contracts with customers.
    Under IFRS 15 revenue is recognised at an amount that reflects the consideration to which an entity expects to be entitled in exchange
    for transferring goods or services to a customer. The principles in IFRS 15 provide a more structured approach to measuring and
    recognising revenue. The new revenue standard is applicable to all entities and will supersede all current revenue recognition
    requirements under IFRS. Either a full or modified retrospective application is required for annual periods beginning on or after
    1 January 2017 with early adoption permitted. The Group is currently assessing the impact of IFRS 15 and plans to adopt the new
    standard on the required effective date.

    The standards and interpretations that are issued, but not yet effective, up to the date of issuance of the Group’s financial
    statements and not expected to have any impact on the Group are as follows:

    •   IFRS 9 Financial Instruments
    •   IFRS 14 Regulatory Deferral Accounts
    •   Amendments to IAS 19 Defined Benefit Plans: Employee Contributions
    •   Annual improvements 2010-2012 Cycle:

        •   IFRS 3 Business Combinations
        •   IFRS 8 Operating Segments
        •   IAS 16 Property, Plant and Equipment and IAS 38 Intangible Assets
        •   IAS 24 Related Party Disclosures

    •   Annual improvements 2011-2013 Cycle:

        •   IFRS 3 Business Combinations
        •   IFRS 13 Fair Value Measurement
        •   IAS 40 Investment Property

    •   Amendments to IFRS 11 Joint Arrangements: Accounting for Acquisitions of Interests.
    •   Amendments to IAS 16 and IAS 38: Clarification of Acceptable Methods of Depreciation and Amortisation.
    •   Amendments to IAS 16 and IAS 41 Agriculture: Bearer Plants.
    •   Amendments to IAS 27: Equity Method in Separate Financial Statements.

    5 SEGMENT INFORMATION
    For management purposes, the Group is organised into business units based on their products and services and has two
    reportable segments as follows:

    •   The healthcare segment is engaged in providing professional medical services, comprising diagnostic services, in and outpatient
        clinics and retailing of pharmaceutical goods. It also includes the provision of management services in respect of a hospital.
    •   The distribution & services segment is engaged in wholesale trading of pharmaceutical goods, medical equipment, cosmetics
        and food.

    No operating segments have been aggregated to form the above reportable operating segments.

    Management monitors the operating results of its business units separately for the purpose of making decisions about resource
    allocation and performance assessment. Segment performance is evaluated based on EBITDA and profit or loss. These are
    measured consistently with EBITDA and profit or loss excluding finance income and group administrative expenses, unallocated
    depreciation and unallocated other income, in the consolidated financial statements. From the current year, the Group has started
    allocating its finance costs and IT costs to its segments.




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 5 SEGMENT INFORMATION (CONTINUED)
 Group financing and investments (including finance costs and finance income) are managed on a group basis and are not
 allocated to operating segments.

 Transfer prices between operating segments are on an arm’s length basis in a manner similar to transactions with third parties.

 The following tables present revenue and profit and certain asset and liability information regarding the Group‘s business segments
 for the years ended 31 December 2014 and 2013.

                                                                                              Distribution                Adjustments
                                                                                                      and         Total             and
                                                                                Healthcare       services    segments      eliminations Consolidated
                                                                                  US$ ‘000       US$ ‘000      US$ ‘000        US$ ‘000    US$ ‘000

 Year ended 31 December 2014
 Revenue
 External customers                                                               327,714       316,217       643,931               –      643,931
 Inter segment                                                                     4,484        22,675         27,159         (27,159)           –
 Total                                                                           332,198      338,892         671,090         (27,159)     643,931
 (Expenses)/Income
 Depreciation                                                                      (11,215)      (2,349)       (13,564)          (486)      (14,050)
 Finance costs                                                                     (3,927)       (3,396)        (7,323)         (7,174)     (14,497)

 Segment EBITDA                                                                    88,211         34,121      122,332         (19,874)     102,458
 Segment profit                                                                   73,070         28,376        101,446        (23,912)      77,534
 Segment assets                                                                  459,745       208,935       668,680         281,845      950,525
 Segment liabilities                                                              50,497         58,300       108,797        388,701      497,498
 Other disclosures
 Capital expenditure                                                             108,809          3,005         111,814           501       112,315


 Year ended 31 December 2013
 Revenue
 External customers                                                              285,043       265,835       550,878               –      550,878
 Inter segment                                                                     4,252         34,341       38,593         (38,593)           –
 Total                                                                           289,295        300,176       589,471        (38,593)     550,878
 (Expenses)/Income
 Depreciation                                                                      (7,120)        (2,092)       (9,212)           (451)      (9,663)
 Finance costs                                                                          –              –             –        (14,344)      (14,344)

 Segment EBITDA                                                                   81,668        29,908         111,576        (18,636)      92,940
 Segment profit                                                                   74,339         27,815       102,154         (33,011)      69,143
 Segment assets                                                                  338,341        190,407      528,748         286,514       815,262
 Segment liabilities                                                              33,818         47,028       80,846        345,265         426,111
 Other disclosures
 Capital expenditure                                                              80,845           1,220      82,065             587        82,652

 Inter-segment revenues are eliminated upon consolidation and reflected in the ‘adjustments and eliminations’ column. All other
 adjustments and eliminations are part of detailed reconciliations presented further below.

 Adjustments and eliminations
 Finance income and group overheads are not allocated to individual segments as they are managed on a group basis.

 Term loans, bank overdraft and other short term borrowings and certain other assets and liabilities are substantially not allocated
 to segments as they are also managed on a group basis.

 Capital expenditure consists of additions to property and equipment.




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    5 SEGMENT INFORMATION (CONTINUED)
    From current year the Group started allocating finance cost and IT cost to its subsidiaries. Prior period comparatives have not been
    restated, however, segment EBITDA and segment profit for the current period, had these costs not been allocated, are presented
    in the table below:

                                                                                                                              Adjustments
                                                                                                  Distribution        Total             and
                                                                                   Healthcare    and services    segments      eliminations Consolidated
                                                                                     US$ ‘000        US$ ‘000      US$ ‘000        US$ ‘000    US$ ‘000

    Year ended 31 December 2014
    (Expenses)/Income
    Depreciation                                                                      (11,215)        (2,349)      (13,564)          (486)      (14,050)
    Finance costs                                                                           –              –             –        (14,497)      (14,497)

    Segment EBITDA                                                                   89,138           34,416      123,554         (21,096)     102,458
    Segment profit                                                                   77,924          32,067       109,991        (32,457)       77,534

    Reconciliation of Segment EBITDA to Group profit
                                                                                                                                    2014           2013
                                                                                                                                 US$ ‘000       US$ ‘000

    Segment EBITDA                                                                                                               122,332         111,576
     Unallocated group administrative expenses                                                                                    (20,010)      (18,654)
     Unallocated other income                                                                                                         136              18
     Unallocated finance income                                                                                                     3,623          3,814
     Unallocated unamortised finance fees written off                                                                                   –         (3,394)
     Impairment of property and equipment                                                                                               –            (210)
     Finance costs                                                                                                                (14,497)       (14,344)
     Depreciation                                                                                                                 (14,050)        (9,663)
    Group Profit before tax                                                                                                       77,534        69,143

    Reconciliation of Segment profit to Group profit
                                                                                                                                    2014           2013
                                                                                                                                 US$ ‘000       US$ ‘000

    Segment profit                                                                                                                101,446       102,154
     Unallocated finance income                                                                                                    3,623           3,814
     Unallocated finance costs                                                                                                      (7,175)      (14,344)
     Unallocated group administrative expenses                                                                                    (20,010)      (18,654)
     Unallocated unamortised finance fees written off                                                                                    –        (3,394)
     Unallocated depreciation                                                                                                        (486)           (451)
     Unallocated other income                                                                                                          136             18
    Group Profit before tax                                                                                                       77,534        69,143

    Reconciliation of Group assets
                                                                                                                                    2014           2013
                                                                                                                                 US$ ‘000       US$ ‘000

    Segment assets                                                                                                              668,680       528,748
     Unallocated property and equipment                                                                                             9,341      12,365
     Unallocated inventory                                                                                                             26          36
     Unallocated accounts receivable and prepayments                                                                               7,253        5,526
     Unallocated amounts due from related parties                                                                                       –         267
     Unallocated bank balances and cash                                                                                           78,633       74,954
     Unallocated bank deposits                                                                                                   183,577      193,366
     Unallocated intangible assets                                                                                                  3,015           –
    Group assets                                                                                                                950,525        815,262




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 5 SEGMENT INFORMATION (CONTINUED)
 Reconciliation of Group liabilities
                                                                                                                             2014         2013
                                                                                                                          US$ ‘000     US$ ‘000

 Segment liabilities                                                                                                     108,797       80,846
  Unallocated term loans                                                                                                 206,512      250,200
  Unallocated employees’ end of service benefits                                                                              1,101        219
  Unallocated accounts payable and accruals                                                                                11,335       12,547
  Unallocated bank overdraft and other short term borrowings                                                             169,607       82,238
  Unallocated amounts due to related parties                                                                                   146          61
 Group liabilities                                                                                                       497,498       426,111

 Other information
 The following table provides information relating to Group’s major customers who contribute more than 10% towards the Group’s revenues:

                                                                                                                       Distribution
                                                                                                         Healthcare   and services        Total
                                                                                                           US$ ‘000       US$ ‘000     US$ ‘000

 Year ended 31 December 2014
  Customer 1                                                                                               92,246                –     92,246
  Customer 2                                                                                               35,005                –     35,005
                                                                                                           127,251               –     127,251
 Year ended 31 December 2013
  Customer 1                                                                                               75,802                –     75,802
  Customer 2                                                                                                32,715               –      32,715
                                                                                                           108,517               –     108,517

 Geographical information
 The Group has only one geographical segment – United Arab Emirates. All revenues from external customers are generated in the
 United Arab Emirates and all non-current assets are located in the United Arab Emirates.

 Analysis of revenue by category:
                                                                                                                             2014         2013
                                                                                                                          US$ ‘000     US$ ‘000

 Revenue from services:
  Healthcare – clinic                                                                                                   260,938       207,532
  Healthcare – management fees                                                                                             5,717        5,445
                                                                                                                        266,655       212,977
 Sale of goods:
   Distribution                                                                                                           316,217     265,835
   Healthcare                                                                                                              61,059      72,066
                                                                                                                         377,276      337,901
 Total                                                                                                                   643,931      550,878




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    6 EXPENSES BY NATURE
                                                                                                                    2014        2013
                                                                                                                 US$ ‘000    US$ ‘000

    Cost of inventories recognised as an expense                                                                314,408     265,852
    Salary expenses                                                                                             157,990     136,668
    Rent expenses                                                                                                27,728       21,518
    Sales promotion expenses                                                                                      35,174     29,533
    Repair & maintenance expenses                                                                                  7,630       5,796
    Others                                                                                                      28,983        25,531
                                                                                                                 571,913    484,898
    Allocated to :
     Direct costs                                                                                               434,725     365,336
     General and administrative expenses                                                                         137,188     119,562
                                                                                                                 571,913    484,898

    The classifications of the remaining expenses by nature recognised in the consolidated statement of comprehensive income are:

                                                                                                                    2014        2013
                                                                                                                 US$ ‘000    US$ ‘000

    Depreciation                                                                                                  14,050       9,663
    Impairment of property and equipment                                                                               –         210
    Finance costs                                                                                                 14,497      14,344
    Unamortised finance fees written off                                                                               –       3,394
                                                                                                                 28,547       27,611


    7 OTHER INCOME
    Other income includes US$30,180,000 (2013: US$26,771,000) relating to reimbursement of advertisement and promotional expenses
    incurred by the Group. Revenue is recognised following the formal acceptance of the Group’s reimbursement claims by suppliers
    and is measured at the confirmed amount receivable.

    8 FINANCE COSTS
                                                                                                                    2014        2013
                                                                                                                 US$ ‘000    US$ ‘000

    Bank interest                                                                                                 12,324     12,788
    Bank charges                                                                                                   2,173      2,258
    Change in fair value of derivative financial instrument                                                            –       (702)
                                                                                                                  14,497      14,344

    9 FINANCE INCOME
                                                                                                                    2014        2013
                                                                                                                 US$ ‘000    US$ ‘000

    Bank and other interest income                                                                                3,623        3,814
                                                                                                                  3,623        3,814




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 10 PROFIT FOR THE YEAR BEFORE TAX
 The profit for the year before tax is stated after charging:

                                                                                                                       2014        2013
                                                                                                                    US$ ‘000    US$ ‘000

 Cost of inventories recognised as an expense (note 6)                                                             314,408     265,852
 Cost of inventories written off and provided                                                                         2,318       2,381
 Minimum lease payments recognised as operating lease expense                                                       27,728       21,518
 Depreciation (note 15)                                                                                              14,050      9,663
 Net Impairment of accounts receivable (note 18)                                                                     2,498       2,462
 Employees’ end of service benefits (note 25)                                                                        3,492       2,362
 Net foreign exchange loss                                                                                            1,490       3,841
 Loss on disposal of property and equipment                                                                            224         383
 Share based payments expense (note 28)                                                                                 88            –

 11 AUDITOR’S REMUNERATION
 The Group paid the following amounts to its auditor and its associates in respect of the audit of the financial statements and for
 other services provided to the Group.

                                                                                                                       2014        2013
                                                                                                                    US$ ‘000    US$ ‘000

 Fees payable to the Company’s auditor for the audit of the Company’s annual accounts                                  593          615
 Fees payable to the Company’s auditor and its associates for other services:
  – the audit of the company’s subsidiaries pursuant to legislation                                                     149         142
  – audit related assurance services                                                                                    130         155
  – other assurance services                                                                                              –          15
  – Tax compliances services                                                                                             12          25
  – Tax advisory services                                                                                                 8          25
  – non audit services                                                                                                   41          19
                                                                                                                       933         996

 Included in the fees payable to the Company’s auditor for the audit of the Company’s annual accounts is US$NIL (2013: US$100,000)
 which was under-accrued in respect of the prior year audit of the Company’s annual accounts.

 The fees paid to the auditor includes US$92,000 (2013: US$85,000) in respect of out of pocket expenses. There were no benefits in
 kind provided to the auditor or its associates in either 2014 or 2013.

 12 STAFF COSTS AND DIRECTORS’ EMOLUMENTS
 (a) Staff costs
                                                                                                                       2014        2013
                                                                                                                    US$ ‘000    US$ ‘000

 Wages and salaries                                                                                                144,942     126,580
 Employees’ end of service benefits (note 26)                                                                        3,492       2,362
 Share based payments expense (note 28)                                                                                 88           –
 Others                                                                                                              9,468       7,726
                                                                                                                   157,990     136,668




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    12 STAFF COSTS AND DIRECTORS’ EMOLUMENTS (CONTINUED)
    Staff costs include amounts paid to directors, disclosed in part (b) below. The average number of monthly employees during the
    year was made up as follows:

                                                                                                                              2014          2013

    Healthcare                                                                                                             3,874       3,169
    Distribution & services                                                                                                1,846       1,726
    Administration                                                                                                            174         151
                                                                                                                           5,894       5,046

    (b) Directors’ remuneration
                                                                                                                             2014       2013
                                                                                                                          US$ ‘000   US$ ‘000

    Directors’ remuneration                                                                                                  2,141      1,746

    Some of the executive directors are entitled to end of service benefits and to participate in share option plans as disclosed in
    note 28. Further information in respect of this compensation paid to directors is disclosed in the Directors’ Remuneration Report.

    13 TAX
    The Group operates solely in the United Arab Emirates and as there is no corporation tax in the United Arab Emirates, no taxes
    are recognised or payable on the operations in the UAE. It is the opinion of management that there are sufficient expenses in
    the Company to offset taxable income arising in the UK and accordingly any tax liability that could arise is likely to be immaterial.
    The unused tax losses amount to US$5,155,000 as at 31 December 2014 (2013: US $nil).

    14 EARNINGS PER SHARE (EPS)
    Basic EPS amounts are calculated by dividing net profit for the year attributable to ordinary equity holders of the Parent Company
    by the weighted average number of ordinary shares outstanding during the year.

    Diluted EPS amounts are calculated by dividing the profit attributable to ordinary equity holders of the parent by the weighted
    average number of ordinary shares outstanding during the year plus the weighted average number of ordinary shares that would
    be issued on conversion of all the dilutive potential ordinary shares into ordinary shares.

    The following reflects the income and share data used in the basic and diluted earnings per share computations:

                                                                                                                              2014          2013

    Profit attributable to equity holders of the Parent (US$ ‘000)                                                        76,566      68,165
    Weighted average number of ordinary shares in issue (‘000) for basic EPS                                              185,714    185,714
    Effect of dilution from share based payments (‘000)                                                                       56           –
    Weighted average number of ordinary shares (‘000) for diluted EPS                                                    185,770     185,714
    Basic earnings per share (US$)                                                                                          0.412      0.367
    Diluted earnings per share (US$)                                                                                        0.412      0.367

    15 PROPERTY AND EQUIPMENT
    Property and equipment consists of the following:

                                                                                                                             2014       2013
                                                                                                                          US$ ‘000   US$ ‘000

    Property and equipment                                                                                               368,357     273,792
                                                                                                                         368,357     273,792




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 15 PROPERTY AND EQUIPMENT (CONTINUED)
                                                                                                                  Furniture,
                                                                                                                     fixtures
                                                                                      Leasehold                fittings and                        Total
                                                  Freehold    Hospital                 improve-      Motor          medical     Capital work    US$ ‘000
                                                      land    building    Buildings      ments     vehicles    equipment         in progress       Total
                                                  US$ ‘000    US$ ‘000    US$ ‘000      US$ ‘000   US$ ‘000        US$ ‘000         US$ ‘000    US$ ‘000

 31 December 2014
 Cost:
  At 1 January 2014                                19,206      12,343     26,300        17,388      5,887         114,074          171,389     366,587
  Additions                                             –           –          –          1,064      1,576         14,967          94,686       112,293
  Disposals                                             –           –          –              –         (42)        (1,265)               –       (1,307)
  Transfer from CWIP                                    –           –          –        33,407            –         15,712          (49,119)           –
  Transfer to intangible assets                         –           –          –              –           –              –           (3,198)      (3,198)
 At 31 December 2014                               19,206      12,343     26,300        51,859       7,421       143,488          213,758      474,375
 Depreciation:
   At 1 January 2014                                    –       7,804        4,501      10,279      4,868         65,343                  –     92,795
   Charge for the year                                  –         310        1,419       3,451        359           8,511                 –      14,050
   Relating to disposals                                –           –            –           –         (42)         (785)                 –        (827)
 At 31 December 2014                                    –        8,114      5,920       13,730       5,185        73,069                  –     106,018
 Net carrying amount: At 31 December 2014          19,206       4,229     20,380        38,129      2,236          70,419         213,758      368,357
 31 December 2013
 Cost:
   At 1 January 2013                               19,206      12,343     26,269        12,722      5,544         110,594          104,067     290,745
   Additions                                            –           –         31           907         83           8,791           72,840      82,652
   Disposals                                            –           –          –             –         (47)        (6,553)                –      (6,600)
   Transfer from CWIP progress                          –           –          –         3,759        307           1,242           (5,308)            –
   Impairment of property and equipment                 –           –          –             –           –              –              (210)        (210)
 At 31 December 2013                               19,206      12,343     26,300        17,388      5,887         114,074          171,389     366,587
 Depreciation:
   At 1 January 2013                                    –       7,494       3,083        8,932       4,701        64,882                  –     89,092
   Charge for the year                                  –         310        1,418        1,347        214         6,374                  –       9,663
   Relating to disposals                                –           –            –            –        (47)        (5,913)                –      (5,960)
 At 31 December 2013                                    –       7,804        4,501      10,279      4,868         65,343                  –     92,795
 Net carrying amount: At 31 December 2013          19,206       4,539      21,799         7,109       1,019        48,731          171,389     273,792

 As part of the Group’s capital expenditure programme, borrowing costs of US$4,068,000 (2013: US$4,886,000) net of finance income
 of US$NIL (2013: US$54,000) have been capitalised during the year. The rate used to determine the amount of borrowing costs
 eligible for capitalisation was 3.15% (2013: 3.40%) which is the effective rate of the borrowings used to finance the capital expenditure.
 Companies in UAE are not subject to taxation and as such there is no tax relief in respect of capitalised interest.

 Total capital expenditure during the year ended 31 December 2014 was US$112,293,000 (2013: US$82,652,000). Of the total capital
 expenditure spend during the year, US$94,686,000 (2013: US$72,840,000) related to new capital projects and US$17,607,000 (2013:
 US$9,812,000) related to further capital investment in our existing facilities.

 Generally hospital and distribution operations are carried out on land and buildings which are leased from Government authorities
 or certain private parties. The majority of the lease periods range from five to twenty seven years apart from New Medical Centre
 Hospital LLC-Dubai (“Dubai General Hospital”), and the warehouse facilities which had leases renewable on an annual basis (note 2.3).
 As at 31 December 2014 US$1,015,000 (2013: US$50,245,000) of the amounts included in property and equipment related to assets
 with annually renewable leases. During the current year, the lease for the land on which Khalifa City Specialty Hospital is being
 constructed (which as at 31 December 2013 was an annually renewable lease) has been renewed so that it is now a 27 year lease
 expiring in the year 2040.




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    15 PROPERTY AND EQUIPMENT (CONTINUED)
    In accordance with the local laws, except in some specific locations in the UAE the registered title of land and buildings must be
    held in the name of a UAE national. As a result, land and buildings of the Group are legally registered in the name of shareholders
    or previous shareholders of the Group. Certain land and buildings with a carrying amount of US$9,321,000 (31 December 2013:
    US$9,648,000) are held in the name of a previous shareholder for the beneficial interest of the Group. As the beneficial interest of
    such land and buildings resides with the Group, these assets are recorded within land and buildings in the Group’s consolidated
    financial statements. The directors take into account this local legal registration requirement, the Group’s entitlement to
    the beneficial interest arising from these assets, as well as other general business factors, when considering whether such assets
    are impaired. Subsequent to year end US$5,177,000 of the land and buildings which were held in the name of a previous shareholder
    for the beneficial interest of the Group were transferred into the name of a current UAE national shareholder.

    16 INTANGIBLE ASSETS
                                                                                        2014                                2013
                                                                                      US$ ‘000                             US$ ‘000

                                                                          Software   Goodwill         Total   Software   Goodwill        Total

    As at 1 January                                                              –      1,016         1,016          –      1,016        1,016
    Transfer from Capital work in progress (note 15)                         3,198          –        3,198           –          –            –
    Addition during the year                                                    22          –            22          –          –            –
    As at 31 December                                                        3,220      1,016       4,236            –      1,016        1,016

    Software represents work-in-progress on the ERP system of the Group. During the year, an amount of US$3,198,000 in respect of
    ERP software has been transferred from capital work in progress within property and equipment to intangible assets. Management
    is currently in the process of estimating the useful economic life of the software and is still determining the amortization method
    to be applied. Amortization of the software will commence once it is implemented and goes live.

    Management has performed an impairment assessment of ERP software and believes that no impairment is required.

    Goodwill arose on the acquisition of BR Medical Suites FZ LLC on 1 July 2012.

    17 INVENTORIES
                                                                                                                            2014         2013
                                                                                                                         US$ ‘000     US$ ‘000

    Pharmaceuticals and cosmetics                                                                                         58,444       44,959
    Scientific equipment                                                                                                   11,295       11,899
    Consumer products                                                                                                     32,719       27,915
    Food                                                                                                                    6,041        6,796
    Telecommunication equipment                                                                                               231          569
    Consumables                                                                                                                211         290
    Opticals                                                                                                                  333          358
    Goods in transit                                                                                                        1,750        1,594
    Other                                                                                                                     573          459
                                                                                                                          111,597     94,839
    Less: provisions for slow moving and obsolete inventories                                                              (1,388)       (716)
                                                                                                                         110,209       94,123

    The amount of write down of inventories recognised as an expense for the year ended 31 December 2014 is US$1,646,000
    (2013: US$1,781,000). This is recognised in direct costs.

    Charge for the year in respect of provision provided for slow moving and obsolete inventories is US$672,000 (2013: US$600,000).

    Trust receipts issued by banks amounting to US$25,059,000 (2013: US$3,100,000) are secured against the inventories.

    18 ACCOUNTS RECEIVABLE AND PREPAYMENTS
                                                                                                                            2014         2013
                                                                                                                         US$ ‘000     US$ ‘000

    Accounts receivable                                                                                                  168,207      145,993
    Receivable from suppliers for promotional expenses                                                                     9,349        9,696
    Other receivables                                                                                                      6,262        6,845
    Prepayments                                                                                                            12,751       5,848
                                                                                                                         196,569      168,382


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 18 ACCOUNTS RECEIVABLE AND PREPAYMENTS (CONTINUED)
 Receivables from suppliers relate to advertising and promotional expenses incurred by the Group. Accounts receivable are stated
 net of provision for doubtful debts of US$8,996,000 (2013: US$8,241,000). Movements in the provision for doubtful debts are as follows:

                                                                                                                                  2014          2013
                                                                                                                               US$ ‘000      US$ ‘000

 At 1 January                                                                                                                     8,241       6,444
 Written off                                                                                                                     (1,743)       (665)
 Written back (note 10)                                                                                                             (471)      (472)
 Charge for the year (note 10)                                                                                                   2,969        2,934
 At 31 December                                                                                                                  8,996         8,241


 The ageing of unimpaired accounts receivable is as follows:

                                                                                                  Past due but not impaired

                                                                                   Neither past
                                                                                        due nor
                                                                           Total      impaired    < 90 days   91-180 days   181-365 days    >365 days
                                                                        US$ ‘000       US$ ‘000    US$ ‘000      US$ ‘000       US$ ‘000     US$ ‘000

 31 December 2014
  Accounts receivable                                                   168,207       115,379     37,884          9,985          3,777         1,182
 31 December 2013
  Accounts receivable                                                   145,993       104,028      31,658         6,053          2,774         1,480


 Unimpaired receivables are expected, on the basis of past experience, to be fully recoverable. It is not the practice of Group to obtain
 collateral over receivables and they are therefore unsecured. As at 31 December 2014 trade receivables of US$8,996,000 (2013:
 US$8,241,000) were impaired and fully provided for.

 Credit risk is managed through the Group’s established policy, procedures and controls relating to credit risk management (note 29).
 A majority of the receivables that are past due but not impaired are from insurance companies and government-linked entities in
 the United Arab Emirates which are inherently slow payers due to their long invoice verification and approval of payment procedures.
 Payments continue to be received from these customers and accordingly the risk of non-recoverability is considered to be low.

 Of the net trade receivables balance of US$168,207,000 (2013: US$145,993,000) amount of US$73,069,000 is against five customers
 (2013: US$61,353,000 is against five customers).

 The Group’s terms require receivables to be repaid within 90-120 days depending on the type of customer, which is in line with local
 practice in the UAE. Due to the long credit period offered to customers, a significant amount of trade accounts receivable are
 neither past due nor impaired.

 Amounts due from related parties amounting to US$7,985,000 (31 December 2013: US$9,254,000) as disclosed on the face of the
 consolidated statement of financial position are trading in nature and arise in the normal course of business.

 19 CASH AND CASH EQUIVALENTS
 Cash and cash equivalents included in the consolidated statement of cash flows comprise of the following:

                                                                                                                                  2014          2013
                                                                                                                               US$ ‘000      US$ ‘000

 Bank deposits                                                                                                                 183,577      193,366
 Bank balances and cash                                                                                                         79,592       75,329
 Bank overdrafts and other short term borrowings                                                                              (169,607)     (82,238)
                                                                                                                               93,562       186,457
 Adjustments for:
 Short term borrowings                                                                                                        143,875          74,183
 Bank deposits maturing in over 3 months                                                                                      (82,209)      (148,380)
 Restricted cash                                                                                                               (18,909)      (33,059)
 Cash and cash equivalents                                                                                                     136,619        79,201




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    19 CASH AND CASH EQUIVALENTS (CONTINUED)
    Bank deposits of US$183,577,000 (2013: US$193,366,000) are with commercial banks in the United Arab Emirates. These are mainly
    denominated in the UAE Dirhams and earn interest at the respective deposit rates. These deposits have original maturity between
    3 to 12 months (2013: 3 to 12 months).

    Short term borrowings include trust receipts and invoice discounting facilities which mature between 90 and 180 days. Trust receipts
    are short term borrowings to finance imports. The bank overdrafts and short term borrowings are secured by assets of the Group
    up to the amount of the respective borrowings and personal guarantees of the shareholders (H.E. Saeed Mohamed Butti Mohamed
    Al Qebaisi, Dr B.R. Shetty and Khalifa Butti Omair Yousif Ahmad Al Muhairi) and carry interest at EIBOR plus margin rates ranging
    from 1% to 4% (2013: 3% to 4%) per annum.

    At 31 December 2014, the Group had US$19,474,000 (2013: US$18,323,000) of undrawn bank overdraft facilities, which are
    renewable annually.

    Restricted cash mainly represents funds held by a bank in respect of upcoming loan repayment instalments.

    20 SHARE CAPITAL
    As at 31 December 2014 and 31 December 2013:

                                                                                                Number of   Ordinary      Share
                                                                                                   shares    shares    premium        Total
                                                                                              (thousands)   US$ ‘000    US$ ‘000   US$ ‘000

    Issued and fully paid
    (nominal value 10 pence sterling each)                                                       185,714    29,566      179,152    208,718


    21 GROUP RESTRUCTURING RESERVE
    The Group restructuring reserve arises on consolidation under the pooling of interests method used for group restructuring, which
    took place on 28 March 2012 when the Company became the holding company of NMC Healthcare LLC through its wholly owned
    subsidiaries, NMC Holding LLC and NMC Health Holdco Limited .Under this method, the group is treated as a continuation of the NMC
    Healthcare LLC group. The difference between the share capital of NMC Healthcare LLC (US$27,226,000) and the carrying amount of
    the investment in that company (US$37,227,000), which equates to the net assets of NMC Healthcare LLC at the date of reorganisation
    (28 March 2012), amounting to US$10,001,000 (debit), is recorded on consolidation as a group restructuring reserve. This reserve is
    non-distributable.

    22 RETAINED EARNINGS
    As at 31 December 2014, retained earnings of US$16,101,000 (2013: US$14,333,000) are not distributable. This relates to a UAE Companies
    Law requirement to set aside 10% of annual profit of all UAE subsidiaries until their respective reserves equal 50% of their paid up
    share capital. The subsidiaries discontinue such annual transfers once this requirement has been met.

    23 DIVIDEND
    In the AGM on 26 June 2014 the shareholders approved a dividend of 4.4 pence per share, amounting to GBP 8,212,700 (US$13,846,000)
    to be paid to shareholders on the Company’s share register on 31 May 2014. The dividend amount was paid to the shareholders on
    4 July 2014 (2013: a dividend of GBP 7,614,286 equivalent to US$11,598,326 was approved on 25 June 2013 and paid on 4 July 2013).
    No interim dividend was declared during the year. Subject to shareholders’ approval at the Annual General Meeting on 16 June 2015,
    a final dividend of 5.4 pence per share, GBP10,028,600 (US$15,444,000) will be paid to shareholders on the Company’s share register on
    29 May 2015.

    24 TERM LOANS
                                                                                                                           2014       2013
                                                                                                                        US$ ‘000   US$ ‘000

    Current portion                                                                                                     92,055     88,355
    Non-current portion                                                                                                 114,457    161,845
                                                                                                                       206,512     250,200
    Amounts are repayable as follows:
    Within 1 year                                                                                                       92,055     88,355
    Between 1 – 2 years                                                                                                  49,129     50,871
    Between 2 – 5 years                                                                                                 65,328     110,974
                                                                                                                       206,512     250,200




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 24 TERM LOANS (CONTINUED)
 During the year ended 31 December 2014, the Group drew down term loans of US$263,594,000 (Year ended 31 December 2013:
 US$ 524,465,000) and repaid term loans of US$307,282,000 (Year ended 31 December 2013: US$500,627,000).

 During the year ended 31 December 2013, the Group agreed a new syndicated loan facility, led by JP Morgan Chase Bank, of
 US$ 225,000,000 (with an additional available facility of US$75,000,000 which the group has not drawn down to date). The loan facility
 is repayable over 54 monthly instalments with a grace period of six months and carries interest at the rate of 1 month US$ LIBOR +
 3% + mandatory costs; if any, per annum. The new syndicated loan facility was utilised to repay some of the existing debts including
 the debt with JP Morgan Chase Bank against the facility of US$150,000,000 obtained in 2012 and is also being utilised for capital
 expenditures. The Group has utilised an amount of US$ 225,000,000 against the new syndicated loan facility as of 31 December 2014
 (31 December 2013: US$225,000,000).

 This new syndicated loan is guaranteed by corporate guarantees provided by NMC Health plc and operating subsidiaries of
 the Group. The new syndicated loan is secured against a collateral package which includes an assignment of some insurance
 company receivables and their proceeds by the Group and a pledge over certain bank accounts within the Group.

 In addition to the JP Morgan loan facility, term loans also include other short term revolving loans which get drawn down and repaid
 over the year and carry interest at varying rates which include EIBOR + margins ranging from 3% to 3.75% per annum, except for one
 of the loans which carries interest at a fixed rate of 7.5% per annum.

 The Group charged an amount of US$3,394,000 in the previous year to the consolidated statement of comprehensive income with
 respect to unamortised transaction costs of previously existing debts which were settled during the year ended 31 December 2013
 using the proceeds of the new syndicated loan led by JP Morgan Chase Bank.

 25 EMPLOYEES’ END OF SERVICE BENEFITS
 Movements in the provision recognised in the consolidated statement of financial position are as follows:

                                                                                                                         2014        2013
                                                                                                                      US$ ‘000    US$ ‘000

 Balance at 1 January                                                                                                 12,099       10,380
 Charge for the year                                                                                                   3,492        2,362
 Employees’ end of service benefits paid                                                                                (657)        (643)
 Balance at 31 December                                                                                                14,934      12,099
 Current                                                                                                                2,484       2,063
 Non–current                                                                                                           12,450      10,036
 Balance at 31 December                                                                                                14,934      12,099
 Charge for the year comprise of the following
 Current service cost                                                                                                   2,991       1,909
 Interest cost                                                                                                            501         453
 Balance at 31 December                                                                                                3,492       2,362


 In accordance with the provisions of IAS 19 – ‘Employee Benefits’, management has carried out an exercise to assess the present
 value of its obligation at 31 December 2014 and 2013, using the projected unit credit method, in respect of employees’ end of service
 benefits payable under the UAE Labour Law. The impact of the actuarial valuation is not material to the Group, accordingly no
 actuarial gain or losses are recognised in other comprehensive income. Management has assumed an average length of service
 of 5 years (2013: 5 years) and increment/promotion costs of 3.0% (2013: 3.0%). The expected liability at the date of employees’ leaving
 service has been discounted to its net present value using a discount rate of 4.0% (2013: 4.5%). Management also performed a
 sensitivity analysis for changes in discount rate and increment costs; the results of this analysis showed that none of the factors
 had any material impact on the actuarial valuation.




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    26 ACCOUNTS PAYABLE AND ACCRUALS
                                                                                                                        2014       2013
                                                                                                                     US$ ‘000   US$ ‘000

    Trade accounts payable                                                                                           77,906     57,565
    Other payables                                                                                                    16,178     13,416
    Accrued interest                                                                                                   1,532       705
    Accrued expenses                                                                                                  2,428       4,401
                                                                                                                     98,044     76,087

    Trade and other payables are non-interest bearing and are normally settled on 50-60 day terms.

    27 RELATED PARTY TRANSACTIONS
    These represent transactions with related parties, including major shareholders and senior management of the Group, and entities
    controlled, jointly controlled or significantly influenced by such parties, or where such parties are members of the key management
    personnel of the entities. Pricing policies and terms of all transactions are approved by the management of the Group.

    The Company’s immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Bin Butti, Dr B.R. Shetty and
    Mr Khalifa Bin Butti) who are all shareholders and of whom one is a director of the Company and who together have the ability to
    control the company. As the immediate and ultimate controlling party is a group of individuals, it does not produce consolidated
    financial statements.

    Relationship agreement
    The Controlling Shareholders and the Company have entered into a relationship agreement, the principal purpose of which
    is to ensure that the Company is capable of carrying out its business independently of the Controlling Shareholders and that
    transactions and relationships with the Controlling Shareholders are at arm’s length and on a normal commercial basis.

    In accordance with the terms of the relationship agreement, the Controlling Shareholders have a collective right to appoint
    a number of Directors to the Board depending upon the level of their respective shareholdings. This entitlement reduces
    or is removed as the collective shareholdings reduce. The relationship agreement includes provisions to ensure that the Board
    remains independent.

    Transactions with related parties included in the consolidated statement of comprehensive income are as follows:

                                                                                                                        2014       2013
                                                                                                                     US$ ‘000   US$ ‘000

    Entities significantly influenced by a shareholder who is a key management personnel in NMC
     Sales                                                                                                            9,775     8,828
     Purchases                                                                                                       32,336     30,040
     Rent charged                                                                                                       422        418
     Other Income                                                                                                       970       582
    Entities where a shareholder of NMC is a key member of management personnel of such entity
     Management fees received from such entity by NMC                                                                  5,717       5,445
     Sales                                                                                                             2,015       2,608


    Amounts due from and due to related parties disclosed in the consolidated statement of financial position are as follows:

                                                                                                                        2014       2013
                                                                                                                     US$ ‘000   US$ ‘000

    Entities significantly influenced by a shareholder who is a key management personnel in NMC
     Amounts due from related parties                                                                                 3,603        3,619
     Amounts due to related parties                                                                                   8,380        5,018
    Entities where a shareholder of NMC is a key member of management personnel of such entity
     Amounts due from related parties                                                                                  4,382       5,635
    Shareholder:
     Amounts due to related parties                                                                                        –          61


    Outstanding balances with related parties at 31 December 2014 and 31 December 2013 were unsecured, payable on 50-60 days term
    and carried interest at 0% (31 December 2013: 0%) per annum. Settlement occurs in cash. As at 31 December 2014 US$1,998,000 of the
    amounts due from related parties were past due but not impaired (31 December 2013: US$3,249,000).



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 27 RELATED PARTY TRANSACTIONS (CONTINUED)
 The Group has incurred expenses and recharged back an amount of US$3,018,000 (31 December 2013: US$12,340,000) made on behalf
 of a related party where a shareholder who has significant influence over the Group is a key management personnel of that entity.

 With the exception of the JP Morgan Chase syndicated loan facility of US$225,000,000, all credit facilities provided by the bankers
 to the Group are secured by joint and several personal/corporate guarantees of the shareholders (H.E. Saeed Mohamed Butti
 Al Qebaisi, Dr B.R. Shetty and Khalifa Butti Omair Yousif Ahmad Al Muhairi).

 Pharmacy licenses, under which the Group sells its products, are granted to the shareholders or directors of the Company, who are
 UAE nationals. No payments are made in respect of these licenses to shareholders or directors.

 Compensation of key management personnel
                                                                                                                         2014        2013
                                                                                                                      US$ ‘000    US$ ‘000

 Short term benefits                                                                                                    3,074       4,065
 Employees’ end of service benefits                                                                                        20          19
                                                                                                                        3,094       4,084

 The key management personnel include all the Non-Executive Directors, the three Executive Directors (31 December 2013: two)
 and three (31 December 2013: five) senior management personnel.

 Two individuals who are related parties of one of the shareholders are employed by the Group. The total compensation for
 employment received by those related parties in the year ended 31 December 2014 amounts to US$572,000 (2013: US$541,000).

 28 SHARE BASED PAYMENTS
 The Group currently operates two share option schemes:

 Long term incentive plan (LTIP)
 Options awarded under the LTIP are made annually to Executive Directors and other senior management. The exercise prices are
 nil. Options have a life of ten years and a vesting period of three years. The LTIP is subject to performance conditions which can be
 found in the Directors’ Remuneration Report on pages 67 to 85.

 Short term incentive plan (STIP)
 Options awarded under the STIP are made annually to Executive Directors and other senior management. The exercise prices are
 nil. Options have a life of ten years and a vesting period of three years.

 Fair values are determined using the Black-Scholes model. Expected volatility has been based on historical volatility over the period
 since the Company’s shares have been publically traded.

 Administrative expenses include a charge of US$88,000 (2013: US$nil) in respect of the cost of providing share options. The cost
 is calculated by estimating the fair value of the option at grant date and spreading that amount over the vesting period after
 adjusting for an expectation of non-vesting.

 For options granted in the year ended 31 December 2014, the fair value per option granted and the assumptions used in the calculation
 are as follows:

                                                                                                                          2014        2014
                                                                                                                          LTIP        STIP

 Share price at grant date                                                                                            £4.949      £4.570
 Fair value at measurement date                                                                                       £4.769      £4.403
 Exercise price                                                                                                           £nil        £nil
 Expected volatility                                                                                                      35%         35%
 Expected option life                                                                                                3 years     3 years
 Expected dividend yield                                                                                                1.23%       1.23%
 Risk free interest rate                                                                                               0.98%       0.98%




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    28 SHARE BASED PAYMENTS (CONTINUED)
    The options existing at the year-end were as follows:

                                                                                                                    2014                                  2013
                                                                                               Number of        Exercise                             Number of
                                                                                                  shares           price   Period when exercisable      shares

    Long term incentive plan (LTIP)
    October 2014                                                                                160,778            £nil    29/10/17 to 28/10/24              –
    Short term incentive plan (STIP)
    October 2014                                                                                    55,527         £nil    29/10/17 to 28/10/24              –
    Total options subsisting on existing ordinary shares                                        216,305                                                      –
    Percentage of issued share capital                                                                0.1%                                                   –


    Movement of share options during the year is as follows:

                                                                                                                                              2014        2013

    Granted during the year                                                                                                              216,305             –
    Outstanding at 31 December                                                                                                           216,305             –


    No options expired, were exercised or forfeited during the year (2013: nil).

    29 FINANCIAL RISK MANAGEMENT OBJECTIVES AND POLICIES
    The Group’s principal financial liabilities comprise loans and borrowings and trade and other payables. In addition of these financial
    liabilities the Group had an interest rate swap as of 31 December 2013 which matured during the current year. The main purpose
    of these financial liabilities is to finance the Group’s operations. The Group has accounts and other receivables, and cash and
    short-term deposits that arise directly from its operations.

    The Group is exposed to interest rate risk, credit risk, liquidity risk and foreign currency risk.

    The Group’s senior management oversees the management of these risks. The Board of Directors reviews and agrees policies for
    managing each of these risks which are summarised below.

    Interest rate risk
    Interest rate risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in
    market interest rates. The Group is exposed to interest rate risk on its interest bearing assets and liabilities (bank deposits, bank
    overdrafts and other short term borrowings and term loans). Management is of the opinion that the Group’s exposure to interest
    rate risk is limited.

    The following table demonstrates the sensitivity of the statement of comprehensive income to reasonably possible changes
    in interest rates, with all other variables held constant. The sensitivity of the statement of comprehensive income is the effect of
    the assumed changes in interest rates on the Group’s profit for the year based on the floating rate financial assets and financial
    liabilities as of the respective year end. Sensitivity impact as of 31 December 2013 has been calculated after taking into account
    interest rate swap arrangement held at 31 December 2013.

                                                Effect on profit at           Effect on profit at
                                                31 December 2014              31 December 2013
     Increase/(decrease) in basis points                 US$ ‘000                      US$ ‘000

                                    100                    (1,925)                        (1,105)
                                   (100)                    1,925                          1,105


    Credit risk
    Credit risk is the risk that counterparty will not meet its obligations under a financial instrument or customer contract, leading to a
    financial loss. The Group limits its credit risk with respect to customers due to the nature of the customers that it has dealings with.
    Within the Healthcare business the majority of the Group’s customers are Insurance Companies. The largest insurance company
    is fully backed by Sovereign wealth funding from Abu Dhabi. All other insurance companies are required to be listed on a stock
    exchange and therefore are governed by the regulations of their respective markets. Within the distribution business the Group
    deals primarily with large reputable multinational retail companies. The Group further seeks to limit its credit risk by setting credit
    limits for individual customers and monitoring outstanding receivables.




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 29 FINANCIAL RISK MANAGEMENT OBJECTIVES AND POLICIES (CONTINUED)
 The Group limits its credit risk with regard to bank deposits by only dealing with reputable banks. The external credit ratings for the
 banks at which the bank deposits and cash at bank are held are as follows:

                                                                                                                             2014          2013
                                                                                                                          US$ ‘000      US$ ‘000

 B2                                                                                                                          229                –
 AA-/A-1/Aa3                                                                                                                 812            498
 A+/A1                                                                                                                     4,345              701
 A/A2                                                                                                                        267        32,352
 A+/A-1                                                                                                                         –         1,762
 A3/A-                                                                                                                       599           1,188
 Baa2                                                                                                                     16,224            789
 Baa3                                                                                                                    208,694                –
 BBB-                                                                                                                     30,229       187,822
 BBB+/Baa1/Baa1/P-2                                                                                                          280         13,099
 Without external credit rating                                                                                             1,149        30,167
 Total bank deposit and cash at bank                                                                                    262,828        268,378


 With respect to credit risk arising from cash and cash equivalents, the Group’s exposure to credit risk arises from default of the
 counterparty, with a maximum exposure equal to the carrying amount of these instruments.

 Liquidity risk
 The Group’s objective is to maintain a balance between continuity of funding and flexibility through the use of banking facilities.
 The Group limits its liquidity risk by raising funds from its operations and ensuring bank facilities are available. Trade payables are
 normally settled within 50-60 days of the date of purchase.

 The table below summarises the maturities of the Group’s undiscounted financial liabilities, based on contractual payment dates
 and current market interest rates.

                                                                                                Less than     3 to 12
                                                                                  On demand     3 months    months      1 to 5 years       Total
                                                                                     US$ ‘000    US$ ‘000   US$ ‘000       US$ ‘000     US$ ‘000

 At 31 December 2014
 Trade accounts payable                                                                    –     77,906          –               –      77,906
 Amounts due to related parties                                                            –      8,380          –               –       8,380
 Other payables                                                                            –      16,178         –              21       16,199
 Terms loans                                                                               –     21,847     78,342         121,135     221,324
 Bank overdrafts and other short term borrowings                                      26,180     60,136     87,982               –     174,298
 Financial guarantees                                                                  8,311           –         –               –        8,311
 Total                                                                                34,491    184,447     166,324        121,156     506,418
 At 31 December 2013
 Trade accounts payable                                                                    –     57,565           –            –        57,565
 Amounts due to related parties                                                            –      5,079           –            –         5,079
 Other payables                                                                            –      13,416          –          408        13,824
 Terms loans                                                                               –      21,128     75,603      175,803       272,534
 Bank overdrafts and other short term borrowings                                       8,178     42,090      34,048            –        84,316
 Financial guarantees                                                                  7,067           –          –            –         7,067
 Total                                                                                15,245    139,278     109,651        176,211     440,385


 The Group also has future capital commitments for the completion of ongoing capital projects of US$25,012,000 (2013: US$76,402,000)
 (note 31). These are to be financed from the fixed deposits held by the Group.

 Foreign currency risk
 Foreign currency risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes
 in foreign exchange rates. Foreign currency risk comprises of transaction and statement of financial position risk. Transaction risk
 relates to the Group’s cash flow being adversely affected by a change in the exchange rates of foreign currencies against the UAE
 Dirham. Statement of financial position risk relates to the risk of the Group’s monetary assets and liabilities in foreign currencies
 acquiring a lower or higher value, when translated into UAE Dirhams, as a result of currency movements.




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    29 FINANCIAL RISK MANAGEMENT OBJECTIVES AND POLICIES (CONTINUED)
    The Group is exposed to currency risk on its trade accounts payable denominated in foreign currencies, mainly in Euros and Swiss
    Francs. Management believes that the foreign currency risk is not significant for any possible movement in foreign currency rates.

    Capital management
    The primary objective of the Group’s capital management is to ensure that it maintains healthy capital ratios in order to support
    its business and maximise shareholders’ value.

    The Group manages its capital structure and makes adjustments to it in light of changes in business conditions. Capital comprises
    share capital, share premium, Group restructuring reserve and retained earnings and is measured at US$449,023,000 as at
    31 December 2014 (2013: US$ 386,236,000). In order to maintain or adjust the capital structure, the group may adjust the amount of
    dividends paid to shareholders, return capital to shareholders, issue new shares or sell assets to reduce debt. Certain banking
    facilities may also impose covenant requirements on the Group with respect to capital management.

    The Group monitors capital using a gearing ratio, which is net debt divided by capital plus net debt. The Group includes within net
    debt, interest bearing loans and borrowings, accounts payable and accruals and other payables less bank deposits and bank
    balances and cash.

                                                                                                                                 2014        2013
                                                                                                                              US$ ‘000    US$ ‘000

    Interest bearing loans and borrowings                                                                                      376,119    332,438
    Accounts payable and accruals                                                                                              98,065      76,495
    Less: bank deposits, bank balances and cash                                                                              (263,169)   (268,695)
    Net debt                                                                                                                  211,015     140,238
    Capital                                                                                                                  449,023     386,236
    Capital and net debt                                                                                                     660,038      526,474
    Gearing ratio                                                                                                                32%          27%


    30 CONTINGENT LIABILITIES
    The Group had contingent liabilities in respect of bank and other guarantees and other matters arising in the ordinary course of
    business from which it is anticipated that no material liabilities will arise at 31 December 2014 of US$8,311,000 (2013: US$7,067,000).

    31 COMMITMENTS
    Capital commitments
    The Group had future capital commitments of US$25,012,000 at 31 December 2014 (2013: US$76,402,000) principally relating to the
    completion of ongoing capital projects.

    Other commitments
                                                                                                                                 2014        2013
                                                                                                                              US$ ‘000    US$ ‘000

    Future minimum rentals payable under non-cancellable operating leases
     Within one year                                                                                                          10,816        10,491
     After one year but not more than five years                                                                              44,947       43,984
     More than five years                                                                                                     91,003      102,782
                                                                                                                             146,766      157,257

    32 DERIVATIVE FINANCIAL INSTRUMENT
    The Group entered into the following interest rate swap to manage its interest rate exposure:
                                                                                                                Negative      Notional
                                                                                                                fair value    amount       Maturity
                                                                                                                 US$ ‘000     US$ ‘000      profile

    At 31 December 2014
      Interest rate swap US$                                                                                            –           –            –
    At 31 December 2013
      Interest rate swap US$                                                                                        (179)     24,503      Feb-14




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 32 DERIVATIVE FINANCIAL INSTRUMENT (CONTINUED)
 The interest rate swaps were contracted to hedge the interest cash flows on term loans. As these swaps do not qualify for
 hedge accounting in accordance with IAS 39, the movement in fair value gain/loss of US$ NIL for the year ended 31 December 2014
 (2013: gain of US$ 702,000) has been charged to the consolidated statement of comprehensive income.

 During the year the interest rate swap reached maturity and so as at 31 December 2014 the Group no longer had any interest rate swaps.

 The notional amounts indicate the volume of transactions outstanding at year end and are neither indicative of the market risk
 nor credit risk.

 The negative fair value of interest rate swaps was included within accounts payable and accruals as “other payables” as at
 31 December 2013.

 33 FAIR VALUES OF FINANCIAL INSTRUMENTS
 The fair values of the Group’s financial instruments are not materially different from their carrying values at the statement of
 financial position date.

 The Group uses the following hierarchy for determining and disclosing the fair value of financial instruments by valuation technique:

 Level 1: quoted (unadjusted) prices in active markets for identical assets or liabilities.

 Level 2: other techniques for which all inputs which have a significant effect on the recorded fair value are observable, either directly
 or indirectly.

 Level 3: techniques which use inputs which have a significant effect on the recorded fair value that are not based on observable
 market data.

 For financial instruments that are recognized at fair value on a recurring basis, the Group determines whether transfers have
 occurred between Levels in the hierarchy by re-assessing categorization (bases on the lowest level input that is significant to the
 fair value measurement as a whole) at the end of each reporting period.

 Liabilities measured at fair value
                                                                                                                                   Total fair
                                                                                                 Level 1    Level 2     Level 3       value
                                                                                                US$ ‘000   US$ ‘000    US$ ‘000    US$ ‘000

 31 December 2014
  Interest rate swaps                                                                                 –          –           –             –
 31 December 2013
  Interest rate swaps                                                                                 –       (179)          –         (179)

 During the years ended 31 December 2014 and 31 December 2013, there were no transfers between Level 1 and Level 2 fair value
 measurements, and no transfers into or out of Level 3 fair value measurements.

 During the year the interest rate swap reached maturity and so as at 31 December 2014 the Group no longer had any interest rate swaps.

 The fair value of the interest rate swap is determined by reference to market values for similar instruments. It is measured using
 the Forward Price Method; under this method a forward rate or value is determined based on the current market price or value of
 the interest rate and an appropriate rate curve and assuming that the forward price, rate or value will be realized in future periods.




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    34 SUBSEQUENT EVENTS
    New financing facility
    On 16 February 2015, the Company announced that it has obtained underwriting commitments for a new US$825 million financing
    facility from a number of international and regional banks through its subsidiary, NMC Healthcare LLC. The new facility has been
    structured as two separate tranches:
    1) an Amortizing Term Loan Facility of US$350 million equivalent to refinance existing indebtedness of NMC and its subsidiaries
       (including the existing JP Morgan syndicated term loan facility) and to provide additional funds for general corporate purposes;
       and
    2) a Delayed Draw Acquisition Facility of US$475 million equivalent to facilitate NMC’s ongoing strategy of making phased
       acquisitions that will be accretive to the Company’s underlying business and profitability.

    The overall quantum of the new facility, combined with the Group’s robust statement of financial position, is expected to ensure
    adequate available liquidity to capitalize on growth opportunities as they are identified.

    Acquisition of Clinica Eugin
    On 23 February 2015 the Group acquired 86.4% of the issued share capital of Clinica Eugin, a leading global fertility treatment
    provider based in Barcelona, Spain, for a total consideration of €143m which was settled in cash, thereby obtaining control of Clinica
    Eugin. The primary reasons for this acquisition include; Eugin is a leading global IVF centre of excellence, bringing technologies in
    fertility services to NMC’s network in the UAE, accelerating the development of NMC into a centre of clinical excellence for women’s
    health and allowing NMC to establish a foothold in the UAE medical tourism market.

    As this acquisition took place on 23 February 2015 which is the same day that the financial statements were authorised for issue,
    the initial accounting for this business combination is incomplete. Accordingly, the Group has been unable to provide the remaining
    disclosures required by paragraph B64 of IFRS 3 Business Combinations in respect of business combinations which have taken
    place after the end of the reporting period (such as the amount of goodwill or gain on bargain purchase recognised, disclosures
    in respect of acquired receivables, major classes of receivables and contingent liabilities and the amount of the non-controlling
    interest in Clinica Eugin and the measurement basis of that amount).

    Transfer of land and buildings
    Subsequent to year end US$5,177,000 of the land and buildings which were held in the name of a previous shareholder for the
    beneficial interest of the Group were transferred into the name of a current UAE national shareholder.

    There were no other events which would have a material effect on the consolidated financial statements between 31 December
    2014 and the date of this report.




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    STATEMENT OF FINANCIAL POSITION
    As at 31 December 2014



                                                                                                                        2014       2013
                                                                                                            Notes    US$ ‘000   US$ ‘000

    ASSETS
    Non-current assets
    Investment in subsidiary                                                                                   4     204,127    204,127
    Current assets
    Other receivables and prepayments                                                                          5        290          50
    Amounts due from a related party                                                                           6           –      2,875
    Bank balances and cash                                                                                               131        234
                                                                                                                         421      3,159
    TOTAL ASSETS                                                                                                    204,548     207,286
    EQUITY AND LIABILITIES
    Equity
    Share capital                                                                                              7     29,566      29,566
    Share premium                                                                                              7     179,152    179,152
    Accumulated losses                                                                                         9     (12,029)     (2,904)
    Total equity                                                                                                    196,689     205,814
    Non-current liabilities
    Other payables                                                                                                        21           –
    Current liabilities
    Other payables and accruals                                                                                8         261       1,472
    Amount due to related party                                                                                6       7,577           –
                                                                                                                      7,838        1,472
    Total liabilities                                                                                                 7,859        1,472
    TOTAL EQUITY AND LIABILITIES                                                                                    204,548     207,286

    The financial statements were authorised for issue by the board of directors on 23 February 2015 and were signed on its behalf by




    Dr B.R. Shetty                                                      Mr Suresh Krishnamoorthy
    Executive Vice Chairman & Chief Executive Officer                   Chief Financial Officer


    The attached notes 1 to 15 form part of the financial statements.




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 STATEMENT OF CHANGES IN EQUITY
 For the year ended 31 December 2014



                                                                               Share       Share Accumulated
                                                                              Capital   premium       losses       Total
                                                                             US$’000     US$’000     US$’000     US$’000

 Balance as at I January 2013                                                29,566     179,152      (5,938)    202,780
 Total (other) comprehensive income for
 for the year (note 9)                                                             –          –      14,632      14,632
 Dividends paid (note 14)                                                          –          –      (11,598)    (11,598)
 Balance as at 31 December 2013                                              29,566     179,152       (2,904)   205,814
 Total (other) comprehensive income for the year (note 9)                         –           –        4,654      4,654
 Share based payments (note 12)                                                   –           –           67         67
 Dividends paid (note 14)                                                         –           –      (13,846)   (13,846)
 Balance as at 31 December 2014                                              29,566     179,152      (12,029)   196,689

 The attached notes 1 to 15 form part of the financial statements.




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    STATEMENT OF CASH FLOWS
    For the year ended 31 December 2014



                                                                                                                       2013
                                                                                                        2014       US$ ‘000
                                                                                                     US$ ‘000    (restated)

    OPERATING ACTIVITIES
    Profit for the year before tax                                                                    4,654        14,632
    Adjustments for:
     Finance costs                                                                                         2            3
     Share based payments                                                                                 88            –
     Dividends payment (note 6)                                                                      (13,846)     (11,598)
                                                                                                      (9,102)       3,037
    Working capital changes:
     Amounts due from a related party                                                                 2,875       (2,852)
     Other receivables and prepayments                                                                 (240)          (50)
     Amounts due to a related party                                                                   7,577             –
     Other payables and accruals                                                                       (1,211)      (279)
    Net cash used in operations                                                                          (101)        (144)
    FINANCING ACTIVITY
    Finance costs paid                                                                                    (2)           (3)
    Cash used in financing activity                                                                       (2)           (3)
    DECREASE IN CASH AND CASH EQUIVALENTS
    Cash and cash equivalents at 1 January                                                              (103)         (147)
    CASH AND CASH EQUIVALENTS AT 31 DECEMBER                                                             131          234

    The attached notes 1 to 15 form part of the financial statements.




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 NOTES TO THE FINANCIAL STATEMENTS
 At 31 December 2014



 1 CORPORATE INFORMATION
 NMC Health plc (the “Company” or “Parent’’) is a Company which was incorporated in England and Wales on 20 July 2011. The Company
 is a public limited company. The address of the registered office of the Company is 23 Hanover Square, London, W1S 1JB. The registered
 number of the Company is 7712220. The Company’s immediate and ultimate controlling party is a group of three individuals
 (H.E. Saeed Bin Butti, Dr B.R. Shetty and Mr Khalifa Bin Butti) who are all shareholders and of whom one is a director of the company
 and who together have the ability to control the company.

 The Parent and its subsidiaries (collectively the “Group”) are engaged in providing professional medical services, wholesale of
 pharmaceutical goods, medical equipment, cosmetics, food and IT products and services in the United Arab Emirates.

 The financial statements of the Company for the year ended 31 December 2014 were authorised for issue by the board of
 directors on 23 February 2015 and the statement of financial position was signed on the Board’s behalf by Dr B.R. Shetty and
 Mr Suresh Krishnamoorthy.

 2.1 BASIS OF PREPARATION
 The financial statements have been prepared in accordance with International Financial Reporting Standards as adopted by
 the European Union as they apply to the financial statements of the Company for the year ended 31 December 2014 and applied
 in accordance with the Companies Act 2006.

 The financial statements are prepared under the historical cost convention. The principal accounting policies adopted in the
 preparation of these financial statements are set out below.

 No profit and loss account is presented by the Company as permitted by Section 408 of the Companies Act 2006.

 Comparative information
 Statement of Cash Flows Reclassification
 The Company has made the following reclassification in respect of the comparatives included in the Statement of Cash Flows
 to correct the presentation of the dividend paid to shareholders:

 •     An amount of US$11,598,000 included as dividend paid to shareholders within financing activities in the prior year has now
       been included within non-cash adjustments in operating activities given that the dividend was paid, on behalf of the Company,
       by a subsidiary of the Company.

 This reclassification had no impact on previously reported equity, profit or movement in cash of the Company.

 Functional currency
 The UAE Dirham is determined to be the functional currency of the Company. The reporting currency of the Company is
 United States of America Dollar (US$) as this is a more globally recognised currency. The UAE Dirham is pegged against the
 US Dollar at a rate of 3.673 per US Dollar.

 All values are rounded to the nearest thousand dollars ($000) except when otherwise indicated.

 Going concern
 These financial statements have been prepared on a going concern basis. The Company has made a profit of US$4,654,000
 (2013: US$14,632,000) and has equity of US$196,689,000 (2013: US$205,814,000).

 The Company is the parent of NMC Health plc group and is solely a holding company with no business activities of its own. The Company
 earned a dividend and reported a net profit during the year. The Group’s business activities, together with the factors likely to affect
 its future development, performance and position are set out in the Strategic Review on pages 9 to 33. The financial position of the
 Group, its cash flows, liquidity position and borrowing facilities are described in the Strategic Review on pages 24 to 25.

 The Group has considerable financial resources including bank facilities. As a consequence, the directors believe that the Group
 is well placed to manage its business risks successfully. The directors expect that the Group has adequate resources to continue
 in operational existence for the foreseeable future. Thus they continue to adopt the going concern basis in preparing the
 financial statements.




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    2.2 SIGNIFICANT ACCOUNTING JUDGEMENTS AND ESTIMATES
    The key assumptions concerning the future, key sources of estimation uncertainty and critical judgements at the statement of
    financial position date, that have a significant risk of causing a material adjustment to the carrying amounts of assets and liabilities
    within the next financial year are discussed below:

    Significant judgements
    Functional currency
    The UAE Dirham is determined to be the functional currency of the Company.

    Judgement has been used to determine the functional currency of the Company that most appropriately represents the economic
    effects of the Company’s transactions, events and conditions. As part of this assessment, the following information has been taken
    into account:

    The primary economic environment influencing the Company’s income (dividends) is the UAE and the effect of the local
    environment is limited to expenses incurred within the UK. The ability of the Company to meet its obligations and pay dividends
    to its shareholders is dependent on the economy of, and the operation of its subsidiaries in, the UAE.

    2.3 CHANGES IN ACCOUNTING POLICIES
    The accounting policies adopted are consistent with those of the previous financial period.

    New and amended standards and interpretations:
    The Company applied for the first time certain standards and amendments which are effective for annual periods beginning
    on or after 1 January 2014

    The amendments to IFRS, which are effective as of 1 January 2014 and are described in more detail below, have no impact on
    the Company.

    Investment Entities (Amendments to IFRS 10, IFRS 12 and IAS 27)
    These amendments provide an exception to the consolidation requirement for entities that meet the definition of an investment
    entity under IFRS 10 Consolidated Financial Statements and must be applied retrospectively, subject to certain transition relief.
    The exception to consolidation requires investment entities to account for subsidiaries at fair value through profit or loss. These
    amendments have no impact on the Company.

    Offsetting Financial Assets and Financial Liabilities – Amendments to IAS 32
    These amendments clarify the meaning of ’currently has a legally enforceable right to set-off’ and the criteria for non-simultaneous
    settlement mechanisms of clearing houses to qualify for offsetting and is applied retrospectively. These amendments have no
    impact on the Company.

    Novation of Derivatives and Continuation of Hedge Accounting – Amendments to IAS 39
    These amendments provide relief from discontinuing hedge accounting when novation of a derivative designated as a hedging
    instrument meets certain criteria and retrospective application is required. These amendments have no impact on the Company
    as the Company has no derivatives.

    Recoverable Amount Disclosures for Non-Financial Assets – Amendments to IAS 36
    These amendments remove the unintended consequences of IFRS 13 Fair Value Measurement on the disclosures required under
    IAS 36 Impairment of Assets. In addition, these amendments require disclosure of the recoverable amounts for the assets or
    cash–generating units (CGUs) for which an impairment loss has been recognised or reversed during the period. These amendments
    have no impact on the Company as the Company has not recognised or reversed any impairment loss during the period.

    IFRIC 21 Levies
    IFRIC 21 clarifies that an entity recognises a liability for a levy when the activity that triggers payment, as identified by the relevant
    legislation, occurs. For a levy that is triggered upon reaching a minimum threshold, the interpretation clarifies that no liability should
    be anticipated before the specified minimum threshold is reached. Retrospective application is required for IFRIC 21. This interpretation
    has no impact on the Company.

    Annual Improvements 2010-2012 Cycle
    In the 2010-2012 annual improvements cycle, the IASB issued seven amendments to six standards, which included an amendment
    to IFRS 13 Fair Value Measurement. The amendment to IFRS 13 is effective immediately and, thus, for periods beginning at 1 January
    2014, and it clarifies in the Basis for Conclusions that short-term receivables and payables with no stated interest rates can be
    measured at invoice amounts when the effect of discounting is immaterial. This amendment to IFRS 13 has no impact on the
    Company. This amendment to IFRS 13 is relevant to the Company as the Company has determined that the effect of discounting
    is immaterial and so short term receivables and payables have been measured at invoiced amounts.


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 2.3 CHANGES IN ACCOUNTING POLICIES (CONTINUED)
 Annual Improvements 2011-2013 Cycle
 In the 2011-2013 annual improvements cycle, the IASB issued four amendments to four standards, which included an amendment
 to IFRS 1 First-time Adoption of International Financial Reporting Standards. This amendment to IFRS 1 has no impact on the
 Company, since the Company is an existing IFRS preparer.

 2.4 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES
 Investment in subsidiary
 Subsidiaries are entities over which the Company controls the operating and financial policies, generally by owning more than
 50% of voting rights. Investments in subsidiaries are recognised at acquisition cost less any provision for impairment.

 When the Company incurs increases in or return of share capital, to/from its subsidiaries, such movements are recognised within
 the cost of investment in subsidiaries.

 At each reporting date, an assessment is made to determine whether there are any indicators of impairment. Where an indicator
 of impairment exists, a formal estimate of the recoverable amount of the investment in subsidiary is made, which is considered to
 be the higher of the fair value less costs to sell and the value in use. Fair value is determined as the amount that would be obtained
 from the sale of the investment in an arm’s length transaction between knowledgeable and willing parties. When this information
 is not available the fair value is determined based on the net present value of the future cash flows related to its subsidiaries, using
 a discount rate that reflects current market assessments of the time value of money and the risks specific to the asset. If the
 carrying amount of an investment exceeds the recoverable amount, a provision is recorded in the income statement to reflect the
 investment at the recoverable amount.

 Where an impairment charge has previously been recognised, an assessment is made at the end of each reporting period as to
 whether there is any indication that the impairment loss may no longer exist or may have decreased. If any such indication exists,
 an estimate of the recoverable amount is made. An impairment loss is reversed to the income statement to the extent that the
 increased carrying value of the investment in subsidiary does not exceed the carrying value that would have been determined had
 no impairment loss been recognised for the asset in prior years.

 Acquisition of subsidiary under common control
 When the Company acquires a subsidiary under common control, the cost of the investment is deemed to be the Company’s
 share of the net assets of the subsidiary at the date of acquisition,

 Cash and cash equivalents
 For the purpose of the statement of cash flows, cash and cash equivalents consists of cash in hand and bank balances.

 Equity
 The Company has issued ordinary shares that are classified as equity. The difference between the issue price and the par value
 of ordinary share capital is allocated to share premium. The transaction costs incurred for the share issue are accounted for as a
 deduction from share premium, net of any related income tax benefit, to the extent they are incremental costs directly attributable
 to the share issue that would otherwise have been avoided.

 Accounts payable and accruals
 Liabilities are recognised for amounts to be paid in the future for goods and services received whether billed by the supplier or not.
 Accounts payable are classified as current liabilities if payment is due within one year or less (or in the normal operating cycle of
 the business if longer). If not, they are presented as non-current liabilities. Accounts payable are recognised initially at fair value and
 subsequently measured at amortised cost using the effective interest method.

 Provisions
 Provisions are recognised when the Company has an obligation (legal or constructive) arising from a past event, and the costs
 to settle the obligation are both probable and able to be reliably measured.

 Provisions are measured at the present value of the expenditures expected to be required to settle the obligation using a pre-tax
 rate that reflects current market assessments of the time value of money and risks specific to the obligation. Increases in provisions
 due to the passage of time are recognised in the consolidated income statement.

 Share based payments
 Equity-settled share-based payments to employees are measured at the fair value of the equity instruments at the grant date.
 The fair value excludes the effect of non-market-based vesting conditions. Details regarding the determination of the fair value
 of equity-settled share-based transactions are set out in note 12.




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    2.4 SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES (CONTINUED)
    The fair value determined at the grant date of the equity-settled share-based payments is expensed on a straight-line basis
    over the vesting period, based on the Group’s estimate of equity instruments that will eventually vest. At each reporting date, the
    Group revises its estimate of the number of equity instruments expected to vest as a result of the effect of non-market-based
    vesting conditions. The impact of the revision of the original estimates, if any, is recognised in the statement of comprehensive
    income such that the cumulative expense reflects the revised estimate, with a corresponding adjustment to equity reserves/
    other payables.

    No expense is recognised for awards that do not ultimately vest, except for equity-settled transactions for which vesting are
    conditional upon a market or non-vesting condition. These are treated as vesting irrespective of whether or not the market
    or non-vesting condition is satisfied, provided that all other performance and/or service conditions are satisfied.

    Foreign currencies
    Transactions in foreign currencies are recorded in UAE Dirhams at the exchange rate ruling at the date of the transaction. Monetary
    assets and liabilities denominated in foreign currencies are retranslated at the rate of exchange ruling at the balance sheet date.
    All differences are taken to the statement of comprehensive income.

    Impairment of financial assets
    An assessment is made at each statement of financial position date to determine whether there is objective evidence that
    a specific financial asset may be impaired. If such evidence exists, any impairment loss is recognised in the statement of
    comprehensive income. Impairment is determined as the difference between carrying value and the present value of future
    cash flows discounted at the current market rate of return for a similar financial asset.

    Financial guarantee contracts
    Financial guarantee contracts issued by the Company are those contracts that require a payment to be made to reimburse
    the holder for a loss it incurs because the specified debtor fails to make a payment when due in accordance with the terms
    of a debt instrument. Financial guarantee contracts are recognised initially as a liability at fair value, adjusted for transaction
    costs that are directly attributable to the issuance of the guarantee. Subsequently, the liability is measured at the higher of the
    best estimate of the expenditure required to settle the present obligation at the reporting date and the amount recognised less
    cumulative amortisation.

    3 ACCOUNTING STANDARDS AND INTERPRETATIONS ISSUED BUT NOT EFFECTIVE
    The standards and interpretations that are issued, but not yet effective, up to the date of issuance of the Company’s financial
    statements are disclosed below. The Company intends to adopt these standards, if applicable, when they become effective.

    Amendments to IAS 27: Equity Method in Separate Financial Statements
    The amendments will allow entities to use the equity method to account for investments in subsidiaries, joint ventures and
    associates in their separate financial statements. Entities already applying IFRS and electing to change to the equity method in
    its separate financial statements will have to apply that change retrospectively. The amendments are effective for annual periods
    beginning on or after 1 January 2016, with early adoption permitted. The Company is currently assessing the impact of this
    amendment on its financial statements.

    The standards and interpretations that are issued, but not yet effective, up to the date of issuance of the Company’s financial
    statements and not expected to have any impact on the Company are as follows:

    •   IFRS 9 Financial Instruments
    •   IFRS 14 Regulatory Deferral Accounts
    •   Amendments to IAS 19 Defined Benefit Plans: Employee Contributions
    •   Annual improvements 2010-2012 Cycle:

        •   IFRS 3 Business Combinations
        •   IFRS 8 Operating Segments
        •   IAS 16 Property, Plant and Equipment and IAS 38 Intangible Assets
        •   IAS 24 Related Party Disclosures




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 3 ACCOUNTING STANDARDS AND INTERPRETATIONS ISSUED BUT NOT EFFECTIVE (CONTINUED)
 Annual improvements 2011-2013 Cycle:
 • IFRS 3 Business Combinations
 • IFRS 13 Fair Value Measurement
 • IAS 40 Investment Property

 •     IFRS 15 Revenue from Contracts with Customers
 •     Amendments to IFRS 11 Joint Arrangements: Accounting for Acquisitions of Interests
 •     Amendments to IAS 16 and IAS 38: Clarification of Acceptable Methods of Depreciation and Amortisation
 •     Amendments to IAS 16 and IAS 41 Agriculture: Bearer Plants

 4 INVESTMENT IN SUBSIDIARY
                                                                                                                          2014           2013
                                                                                                                       US$ ‘000       US$ ‘000

 As at 1 January                                                                                                      204,127         37,227
 Transfer of amount due from a related party (note 6)                                                                       –        166,900
 As at 31 December                                                                                                    204,127        204,127

 This represents the cost of investment in NMC Healthcare LLC (previous parent company), a wholly owned subsidiary held through
 the holding company subsidiaries NMC Health Holdco Limited and NMC Holding Co LLC. As part of the restructuring of NMC
 Healthcare LLC group, on 28 March 2012, NMC Health plc issued shares to the existing shareholders of NMC Healthcare LLC in
 exchange for shares already held in NMC Healthcare LLC. The cost of investment as at 1 January 2013 represented the Company’s
 share of the net assets of NMC Healthcare LLC at the date of the group restructuring.

 During the year ended 31 December 2013 NMC Healthcare LLC issued a promissory note to the Company in respect of the amount
 that it owed to the Company. Subsequently, during the same year, agreement was reached between the Company and NMC
 Healthcare LLC, that the obligations which NMC Healthcare LLC had under the terms of the promissory note would be released and
 discharged by the Company in return for the Company receiving shares in NMC Healthcare LLC. Accordingly, NMC Healthcare LLC
 issued 14,568 shares to the Company. The market value of the shares issued was equal to the market value of the inter-company
 debt as at the date of the loan capitalisation of US$166,900,000.

 The subsidiaries held by NMC Heath plc are as follows:

                                                                                                                      Percentage of holdings

                                                                                                                   31 December    31 December
                                                                                                                           2014           2013

 Direct subsidiaries:
   NMC Holding Co LLC                                                                                                    100%           100%
   NMC Health Holdco Limited                                                                                             100%           100%
 Indirect subsidiaries:
   NMC Healthcare LLC                                                                                                    100%           100%
   New Pharmacy Company Limited                                                                                           99%            99%
   New Medical Centre Hospital LLC-Dubai                                                                                  99%            99%
   NMC Specialty Hospital LLC-Abu Dhabi                                                                                   99%            99%
   NMC Specialty Hospital LLC-Dubai                                                                                       99%            99%
   New Medical Centre Trading LLC                                                                                         99%            99%
   Bait Al Shifaa Pharmacy LLC-Dubai                                                                                      99%            99%
   New Medical Centre LLC-Sharjah                                                                                         99%            99%
   New Medical Centre Specialty Hospital LLC-Al Ain                                                                       99%            99%
   Reliance Information Technology LLC                                                                                    99%            99%
   BR Medical Suites FZ LLC                                                                                              100%           100%
   Brightpoint Hospital LLC                                                                                               99%            99%
   NMC Day Surgery Centre LLC                                                                                             99%            99%
   NMC Dubai Investment Park LLC                                                                                          99%            99%

 All the above subsidiaries are incorporated in the UAE except for NMC Health Holdco Limited, which is incorporated in England and Wales.




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    5 ACCOUNTS RECEIVABLE AND PREPAYMENTS
                                                                                                                              2014       2013
                                                                                                                           US$ ‘000   US$ ‘000

    Other receivables                                                                                                         263         33
    Prepayments                                                                                                                27          17
                                                                                                                              290          50

    6 RELATED PARTY TRANSACTIONS
    These represent transactions with related parties, i.e. major shareholders and senior management of the Company, and entities
    controlled, jointly controlled or significantly influenced by such parties. Pricing policies and terms of all transactions are approved
    by the management of the Company.

    The Company’s immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Bin Butti, Dr B.R. Shetty and
    Mr Khalifa Bin Butti) who are all shareholders and of whom one is a director of the Company and who together have the ability
    to control the Company. As the immediate and ultimate controlling party is a group of individuals, it does not produce consolidated
    financial statements.

    As referred to in note 4, during the year ended 31 December 2013 the inter-company amount owed to the Company by NMC
    Healthcare LLC was capitalised into share capital in NMC Healthcare LLC.

    During the year the Company was charged a management fees of US$5,506,000 (2013: US$NIL) by NMC Healthcare LLC.

    Dividend amount of US$13,846,000 (2013: US$11,598,000) was paid, on behalf of the Company, by a subsidiary to the shareholders
    of the Company.

                                                                                                                              2014       2013
                                                                                                                           US$ ‘000   US$ ‘000

    Amounts due from Subsidiary
    Amounts due from a related party                                                                                             –      2,875
    Amounts due to Subsidiary
    Amounts due to a related party                                                                                           7,577            –

    The Company is a guarantor along with other fellow subsidiary undertakings for US$166,561,000 (2013: US$225,000,000) of syndicated
    loans from JP Morgan raised by its subsidiary NMC Healthcare LLC.

    Compensation of key management personnel
                                                                                                                              2014       2013
                                                                                                                           US$ ‘000   US$ ‘000

    Short term benefits                                                                                                      1,504      1,586

    Key management personnel include all the Non-Executives Directors (2013: all) and two senior management personnel (2013: two).

    7 SHARE CAPITAL AND SHARE PREMIUM
    As at 31 December 2014 and 31 December 2013:

    Share capital
                                                                                                   Number of   Ordinary      Share
                                                                                                      shares    shares    premium        Total
                                                                                                 (thousands)   US$ ‘000    US$ ‘000   US$ ‘000

    Issued and fully paid
    (nominal value 10 pence sterling)                                                               185,714    29,566      179,152    208,718




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 8 OTHER PAYABLES AND ACCRUALS
                                                                                                                            2014        2013
                                                                                                                         US$ ‘000    US$ ‘000

 Other payables                                                                                                               67        238
 Accrued expenses                                                                                                            194       1,234
                                                                                                                             261       1,472

 9 PROFIT ATTRIBUTABLE TO MEMBERS OF THE PARENT COMPANY
 The Profit for the year in the financial statements of the Company is US$4,654,000 (2013: US$14,362,000).

 10 AUDITOR’S REMUNERATION
 The Company paid US$593,000 to its auditor in respect of the audit of the Company’s annual accounts for the year ended
 31 December 2014 (2013: US$615,000), which includes a portion in respect of the audit of the financial statements of the Company.

 Fees paid to Ernst & Young LLP and its associates for non-audit services to the Company itself are not disclosed in the individual
 accounts of NMC Health plc because group financial statements are prepared which are required to disclose such fees on a
 consolidated basis.

 11 DIRECTORS’ REMUNERATION

                                                                                                                            2014        2013
                                                                                                                         US$ ‘000    US$ ‘000

 Directors’ remuneration                                                                                                    863         944


 Further information in respect of this compensation paid to directors is disclosed in the Directors’ Remuneration Report

 12 SHARE BASED PAYMENTS
 The Company currently operates two share option schemes:

 Long term incentive plan (LTIP)
 Options awarded under the LTIP are made annually to Executive Directors and other senior management. The exercise prices are
 nil. Options have a life of ten years and a vesting period of three years. The LTIP is subject to performance conditions which can be
 found in the Directors’ Remuneration Report on pages 67 to 85.

 Short term incentive plan (STIP)
 Options awarded under the STIP are made annually to Executive Directors and other senior management. The exercise prices are
 nil. Options have a life of ten years and a vesting period of three years.

 Fair values are determined using the Black-Scholes model. Expected volatility has been based on historical volatility over the period
 since the Company’s shares have been publically traded.

 The cost is calculated by estimating the fair value of the option at grant date and spreading that amount over the vesting period
 after adjusting for an expectation of non-vesting.

 For options granted in the year ended 31 December 2014, the fair value per option granted and the assumptions used in the calculation
 are as follows:

                                                                                                                             2014        2014
                                                                                                                             LTIP        STIP

 Share price at grant date                                                                                               £4.949      £4.570
 Fair value at measurement date                                                                                          £4.769      £4.403
 Exercise price                                                                                                              £nil        £nil
 Expected volatility                                                                                                         35%         35%
 Expected option life                                                                                                   3 years     3 years
 Expected dividend yield                                                                                                   1.23%       1.23%
 Risk free interest rate                                                                                                  0.98%       0.98%




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    12 SHARE BASED PAYMENTS (CONTINUED)
    The options existing at the year-end were as follows:

                                                                                                           2014                                  2013
                                                                                        Number of      Exercise                             Number of
                                                                                           shares         price   Period when exercisable      shares

    Long term incentive plan (LTIP)
    October 2014                                                                         160,778          £nil    29/10/17 to 28/10/24             —
    Short term incentive plan (STIP)
    October 2014                                                                          55,527          £nil    29/10/17 to 28/10/24             —
    Total options subsisting on existing ordinary shares                                 216,305                                                   —
    Percentage of issued share capital                                                       0.1%                                                  —


    Movement of share options during the year is as follows:

                                                                                                                                     2014        2013

    Granted during the year                                                                                                     216,305            —
    Outstanding at 31 December                                                                                                  216,305            —


    No options expired, were exercised or forfeited during the year (2013: nil).

    13 FINANCIAL RISK MANAGEMENT
    The Company’s principal financial liabilities are other payables, arising in the normal course of business. The Company’s financial
    assets include an amount due from a related party and bank balances. The company’s activities expose it to a variety of financial
    risks: interest rate risk, credit risk, liquidity risk and foreign currency risk.

    Interest rate risk
    Interest rate risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes
    in market interest rates. The Company is exposed to interest rate risk on its bank balances only, as the balance due from a related
    party is interest free, and therefore the Company’s exposure to interest rate risk is limited.

    Credit risk
    Credit risk is the risk that counterparty will not meet its obligations under a financial instrument, leading to a financial loss.
    The Company’s credit risk arises from amounts due from a related party and bank balances.

    The directors assess the credit quality of the related party by taking into account their financial position, past experience and other
    factors. Management does not expect any losses from non-performance by this counterparty, which is a subsidiary of the Company.

    The Company limits its credit risk with regard to bank balances by only dealing with reputable banks. The credit rating of the bank
    at which the cash at bank is held is AA+.

    The Company’s credit risk exposure against a corporate guarantee provided to NMC Healthcare LLC in respect of the JP Morgan
    Chase loan is US$166,561,000 (2013: US$225,000,000).

    Liquidity risk
    The Company’s objective is to maintain sufficient funding to meet its obligations as they fall due.

    The table below analyses the Company’s undiscounted financial liabilities into relevant maturity groupings based on the
    contractual payment dates.

    Balances due within 12 months equal their carrying balances as the impact of discounting is not significant.




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 13 FINANCIAL RISK MANAGEMENT (CONTINUED)
                                                                                               Less than 3     3 to 12
                                                                                 On demand        months     months      1 to 5 years      Total
                                                                                    US$ ‘000      US$ ‘000   US$ ‘000       US$ ‘000    US$ ‘000

 At 31 December 2014
 Other payables                                                                           —            67           —             21        88
 Total                                                                                    —            67           —             21        88
 At 31 December 2013
 Other payables                                                                           —          238            —              —       238
 Total                                                                                    —          238            —              —       238

 In addition to the above financial liabilities the Company has provided a corporate guarantee of US$166,561,000 (2013: US$225,000,000)
 to NMC Healthcare LLC in respect of the JP Morgan Chase loan. Fair value of corporate guarantee is US$nil as at 31 December 2014
 (2013: US$nil).

 Foreign currency risk
 Foreign currency risk arises when future commercial transactions or recognised assets or liabilities are denominated in a currency
 that is not the entity’s functional currency.

 The Company is exposed to currency risk on its other payables denominated in Pound Sterling. Foreign currency payable balances
 included in the statement of financial position denominated in Pound Sterling are US$144,000 (2013: US$571,000). The impact of
 possible of foreign currency movement is not significant.

 Fair value estimation
 The fair values of the Company’s financial instruments are not materially different from their carrying values at the statement of
 financial position date.

 Financial guarantees
 The company is a guarantor along with other fellow subsidiary undertakings for US$166,561,000 (2013: US$225,000,000) of syndicated
 loans from JP Morgan raised by its subsidiary NMC Healthcare LLC.

 14 DIVIDENDS
 In the AGM on 26 June 2014 the shareholders approved a dividend of 4.4 pence per share, amounting to GBP8,212,700 (US$13,846,000)
 to be paid to shareholders on the Company’s share register on 31 May 2014. The dividend amount was paid to the shareholders
 on 4 July 2014 (31 December 2013: a dividend of GBP 7,614,286 equivalent to US$11,598,326 was approved on 25 June 2013 and paid
 on 4 July 2013). No interim dividend was declared during the year. Subject to shareholder’s approval at the Annual General Meeting
 on 16 June 2015, a final dividend of 5.4 pence per share, GBP10,028,600 (US$15,444,000) will be paid to shareholders on the Company’s
 share register on 29 May 2015.

 15 TAX
 The Group operates solely in the United Arab Emirates and as there is no corporation tax in the United Arab Emirates, no taxes
 are recognised or payable on the operations in the UAE. It is the opinion of management that there are sufficient expenses in
 the Company to offset taxable income arising in the UK and accordingly any tax liability that could arise is likely to be immaterial.
 The unused tax losses amount to US$5,155,000 as at 31 December 2014 (2013: US$nil).




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    Established in 1975, NMC Health plc is now the
    leading private sector healthcare operator in
    the United Arab Emirates, with a nationwide
    network of hospitals and operations in the
    country. The group also operates a UAE wide
    distribution and wholesale business.




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